Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 1 of 199 PAGEID #: 1477

                                                                               1




            · · · ·IN THE UNITED STATES DISTRICT COURT
            · · · · FOR THE SOUTHERN DISTRICT OF OHIO
            · · · · · · · · EASTERN DIVISION

            · · · · · · · · · · - - - - -


            Karl Shaw,· · · · · · · ·:

            · · · ·         Plaintiff,· · · ·:
            · · · ·         · · · · · · · · · ·Case No. 2:18-cv-483
            · · · ·         vs.· · · · · · · : Judge Graham
            · · · ·         · · · · · · · · · ·Magistrate Judge Vascura
            City of         Columbus,· · · · :
            et al.,
            · · · ·         · · · · · · · · ·:
            · · · ·         Defendants.
            · · · ·         · · · · · · · · ·:


            · · · · · · · · · · - - - - -

            · · · · · DEPOSITION OF THOMAS QUINLAN

            · · · · · · · · · · - - - - -


            ·   ·   ·   ·   ·Taken at Spectrum Reporting LLC
            ·   ·   ·   ·   · 400 S. Fifth Street, Ste. 201
            ·   ·   ·   ·   · · · ·Columbus, OH 43215
            ·   ·   ·   ·   · · June 12, 2019, 11:09 a.m.


            · · · · · · · · · · - - - - -

            ·   ·   ·   ·   ·   · ·Spectrum Reporting LLC
            ·   ·   ·   ·   ·   400 S. Fifth Street, Ste. 201
            ·   ·   ·   ·   ·   · · Columbus, Ohio 43215
            ·   ·   ·   ·   ·   614-444-1000 or 800-635-9071
            ·   ·   ·   ·   ·   · www.spectrumreporting.com

            · · · · · · · · · · - - - - -




                Realtime - Videoconferencing - Trial Presentation - Video
                          Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 2 of 199 PAGEID #: 1478

                                                                               2


  ·1· · · · · · · · · ·A P P E A R A N C E S

  ·2
  · ·   · ON BEHALF OF PLAINTIFF:
  ·3
  · ·   ·   ·   ·   ·The Gittes Law Group
  ·4·   ·   ·   ·   ·723 Oak Street
  · ·   ·   ·   ·   ·Columbus, OH 43205-1011
  ·5·   ·   ·   ·   ·By Frederick M. Gittes, Esq. and
  · ·   ·   ·   ·   · · ·Jeffrey P. Vardaro, Esq.
  ·6
  · ·   · · · ·and
  ·7
  · ·   ·   ·   ·   ·Walton & Brown, LLP
  ·8·   ·   ·   ·   ·395 East Broad Street, Ste. 200
  · ·   ·   ·   ·   ·Columbus, OH 43215
  ·9·   ·   ·   ·   ·By Sean L. Walton, Esq.

  10
  · ·   · ON BEHALF OF DEFENDANTS:
  11
  · ·   ·   ·   ·   ·Columbus City Attorney's Office
  12·   ·   ·   ·   ·77 North Front Street, 4th Floor
  · ·   ·   ·   ·   ·Columbus, OH 43215
  13·   ·   ·   ·   ·By Richard N. Coglianese, Esq.

  14
  · · · ALSO PRESENT:
  15
  · · · · · ·Karl Shaw
  16· · · · ·David Rutz - Intern

  17

  18

  19

  20

  21

  22

  23

  24


                Realtime - Videoconferencing - Trial Presentation - Video
                          Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 3 of 199 PAGEID #: 1479

                                                                               3


  ·1· · · · · · · · · · · · ·Wednesday Morning Session

  ·2· · · · · · · · · · · · · June 12, 2019, 11:09 a.m.

  ·3· · · · · · · · · · · · ·- - - - -

  ·4· · · · · · · · · S T I P U L A T I O N S

  ·5· · · · · · · · · · · · ·- - - - -

  ·6· · · · ·It is stipulated by counsel in attendance that

  ·7· · the deposition of Thomas Quinlan, a witness

  ·8· · herein, called by the Plaintiff for

  ·9· · cross-examination, may be taken at this time by

  10· · the notary pursuant to notice and subsequent

  11· · agreement of counsel that said deposition may be

  12· · reduced to writing in stenotypy by the notary,

  13· · whose notes may thereafter be transcribed out of

  14· · the presence of the witness; that proof of the

  15· · official character and qualification of the notary

  16· · is waived.

  17· · · · · · · · · · · · ·- - - - -

  18

  19

  20

  21

  22

  23

  24


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 4 of 199 PAGEID #: 1480

                                                                               4


  ·1· · · · · · · · · · · · ·I N D E X

  ·2· · Examination By· · · · · · · · · · · · · · · · · Page

  ·3· · Mr. Vardaro - Cross· · · · · · · · · · · · · · · · 5

  ·4
  · ·   · Plaintiff's Exhibits· · · · · · · · · · · · · · Page
  ·5
  · ·   · Exhibit 10 - E-mails to Decker from Cameron· · · ·60
  ·6
  · ·   · Exhibit 11 - Informational Summary #9· · · · · · 170
  ·7
  · ·   · Exhibit 38 - Investigative Summary to Knight· · ·154
  ·8·   · · · · · · · ·from Decker, 9/28/15

  ·9· · Exhibit 41 - Routing Sheet for Correspondence,· ·104
  · · · · · · · · · ·10/14/15
  10
  · · · Exhibit 44 - Informational Summary #8· · · · · · 166
  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21· · (Exhibits retained by Spectrum Reporting)

  22

  23

  24


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 5 of 199 PAGEID #: 1481

                                                                               5


  ·1· · · · · · · · · · · THOMAS QUINLAN

  ·2· · being first duly sworn, testifies and says as

  ·3· · follows:

  ·4· · · · · · · · · · ·CROSS-EXAMINATION

  ·5· · BY MR. VARDARO:

  ·6· · Q.· · · · ·Could you state your name for the

  ·7· · record.

  ·8· · A.· · · · ·Thomas Quinlan, Q-U-I-N-L-A-N.

  ·9· · Q.· · · · ·What is your current employment?

  10· · A.· · · · ·City of Columbus.

  11· · Q.· · · · ·All right.· I will -- I guess I'll

  12· · start by introducing myself on the record.· My

  13· · name is Jeff Vardaro.· I'm one of the attorneys

  14· · for Karl Shaw in this case.

  15· · · · · · · ·Have you been in a deposition before?

  16· · A.· · · · ·Yes, sir.

  17· · Q.· · · · ·About how many times?

  18· · A.· · · · ·A dozen.

  19· · Q.· · · · ·Okay.· When was the last time that you

  20· · can remember?

  21· · A.· · · · ·Two, three months ago, maybe.

  22· · Q.· · · · ·Okay.· What was the case?

  23· · A.· · · · ·I'm trying to recall.· I honestly don't

  24· · recall.· I have several overlapping right now and


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 6 of 199 PAGEID #: 1482

                                                                               6


  ·1· · I don't recall the --

  ·2· · Q.· · · · ·Okay.· Related to the work with the

  ·3· · Columbus Police?

  ·4· · A.· · · · ·It is.· It is.

  ·5· · Q.· · · · ·Okay.

  ·6· · A.· · · · ·All of them have been.

  ·7· · Q.· · · · ·Was it a discrimination case?

  ·8· · A.· · · · ·No.· I think -- I think the last one I

  ·9· · was in -- involved in was out of the police

  10· · involved shooting possibly.

  11· · Q.· · · · ·Okay.· And how about before that, last

  12· · time before two or three months ago?

  13· · A.· · · · ·Same, just random times --

  14· · Q.· · · · ·Okay.

  15· · A.· · · · ·-- involved in a deposition work

  16· · related.

  17· · Q.· · · · ·Okay.· Do you remember who was

  18· · conducting the deposition that you did a couple

  19· · months ago?

  20· · A.· · · · ·I don't remember if that was -- that

  21· · wasn't yours.· I would have to check with city

  22· · attorney's office.· I do not know.

  23· · Q.· · · · ·Okay.· Well, since you don't seem to

  24· · remember a whole lot about the -- even the more


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 7 of 199 PAGEID #: 1483

                                                                               7


  ·1· · recent depositions, I will go over some of the

  ·2· · ground rules, at least that I use during

  ·3· · depositions just as a refresh.

  ·4· · A.· · · · ·Yes, sir.

  ·5· · Q.· · · · ·I'm going to be asking you most, if not

  ·6· · all of the questions that you're asked today.· If

  ·7· · I ask a question and you don't understand it, I

  ·8· · would like you to tell me that you don't

  ·9· · understand it and I'll try to rephrase it in a way

  10· · you can understand.· Will you do that for me?

  11· · A.· · · · ·Yes, sir.

  12· · Q.· · · · ·And if you answer a question and you

  13· · don't ask me to clarify it, I'm going to assume

  14· · that you understood the question unless you've

  15· · told me.

  16· · A.· · · · ·I understand that.

  17· · Q.· · · · ·I'm also going to be asking you

  18· · questions about things that are -- at this point

  19· · happened four or five years ago.· I understand

  20· · that nobody's memory is perfect.· So if you

  21· · realize in the course of the deposition that you

  22· · said something wrong or you couldn't remember

  23· · something and then something jogs your memory and

  24· · you do, do you understand that you can interrupt


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 8 of 199 PAGEID #: 1484

                                                                               8


  ·1· · me at any time to correct what you've said or add

  ·2· · to it?

  ·3· · A.· · · · ·Yes, sir.

  ·4· · Q.· · · · ·And will you do that for me?

  ·5· · A.· · · · ·Yes.

  ·6· · Q.· · · · ·All right.· I'm going to ask you a

  ·7· · couple questions that I ask basically everybody

  ·8· · who goes through this.· Are you -- do you have any

  ·9· · medical conditions or are you on any medications

  10· · that would interfere with your ability to testify

  11· · fully and accurately today?

  12· · A.· · · · ·No, sir.

  13· · Q.· · · · ·Do you -- is there any other reason

  14· · that you couldn't testify fully or accurately

  15· · today?

  16· · A.· · · · ·No, sir.

  17· · Q.· · · · ·Okay.· I assume from your position that

  18· · I know the answer to this, but -- have you been

  19· · convicted of a crime at any point?

  20· · A.· · · · ·No, sir.

  21· · Q.· · · · ·Okay.· Did you have an opportunity to

  22· · meet with counsel to prepare for this deposition?

  23· · A.· · · · ·Yes, sir.

  24· · Q.· · · · ·When did that happen?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 9 of 199 PAGEID #: 1485

                                                                               9


  ·1· · A.· · · · ·A week or so ago.

  ·2· · Q.· · · · ·Okay.· Was that the only time?

  ·3· · A.· · · · ·Yes, sir.

  ·4· · Q.· · · · ·Okay.· About how long was that prep?

  ·5· · A.· · · · ·30, 35 minutes.

  ·6· · Q.· · · · ·Okay.· And who did you meet with?· Rich

  ·7· · Coglianese?

  ·8· · A.· · · · ·Yes, sir.· That was my answer.· Sorry.

  ·9· · Pointing doesn't work.· Sorry.

  10· · Q.· · · · ·Yeah.· I will say --

  11· · A.· · · · ·Right.

  12· · Q.· · · · ·-- we're not on video --

  13· · A.· · · · ·Right.

  14· · Q.· · · · ·-- even if we were --

  15· · A.· · · · ·I apologize.

  16· · Q.· · · · ·-- the record needs --

  17· · A.· · · · ·Right.· I understand that.· Slip of the

  18· · mind.

  19· · Q.· · · · ·And now we'll go into another ground

  20· · rule, which is I sometimes, maybe more than other

  21· · attorneys, tend to meander around to my point and

  22· · so --

  23· · · · · · · ·MR. COGLIANESE:· I haven't noticed.

  24· · Q.· · · · ·-- I will say to both you and Rich, if


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                            YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 10 of 199 PAGEID #: 1486

                                                                              10


  ·1· · you could let me get to the end of the question

  ·2· · before you answer, and I will try to let you get

  ·3· · to the end of your answer before I interrupt you.

  ·4· · A.· · · · ·Thank you.

  ·5· · Q.· · · · ·And that will make it easier for Mary.

  ·6· · · · · · · ·All right.· Did you review any

  ·7· · documents to prepare for your deposition today?

  ·8· · A.· · · · ·A few e-mails.

  ·9· · Q.· · · · ·Okay.· Do you remember what e-mails you

  10· · reviewed?

  11· · A.· · · · ·I don't.· They're dated.· They were

  12· · back during the time this occurred, so I don't

  13· · recall.

  14· · Q.· · · · ·Okay.· Do you remember who the

  15· · e-mails -- was it e-mails that you wrote or

  16· · received?

  17· · A.· · · · ·Yes.· I think they're e-mails that I

  18· · wrote to look to see what they -- what the

  19· · contents was or refresh my recollection as I was

  20· · preparing.

  21· · Q.· · · · ·Okay.· And they were about this -- the

  22· · investigation of Eric Moore or about Karl Shaw in

  23· · some other way?

  24· · A.· · · · ·Yes, about the Eric Moore


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 11 of 199 PAGEID #: 1487

                                                                              11


  ·1· · investigation.

  ·2· · Q.· · · · ·Okay.· I could be wrong, but I don't

  ·3· · know that I've actually seen any e-mails to or

  ·4· · from you about this investigation.· Have you been

  ·5· · asked to provide e-mails to counsel about this

  ·6· · investigation?

  ·7· · A.· · · · ·The requests go to our public records

  ·8· · unit and they do a -- they have a software that

  ·9· · does a search.

  10· · Q.· · · · ·Okay.

  11· · A.· · · · ·So I'm never even notified, they just

  12· · go in and grab them and take them.

  13· · Q.· · · · ·Okay.· How did you get the e-mails that

  14· · you were reviewing?

  15· · A.· · · · ·I think I just did a query for Eric

  16· · Moore or something trying to refresh a date in my

  17· · mind.

  18· · Q.· · · · ·Okay.· And at least a few e-mails

  19· · popped up?

  20· · A.· · · · ·Yes, sir.

  21· · Q.· · · · ·Okay.· Were any of them between you and

  22· · Chief Jacobs?

  23· · A.· · · · ·I would have to recall.· I would have

  24· · to go back and look.· I don't recall any.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 12 of 199 PAGEID #: 1488

                                                                              12


  ·1· · Q.· · · · ·Okay.

  ·2· · A.· · · · ·May have been.

  ·3· · Q.· · · · ·How about between you and Jennifer

  ·4· · Knight?

  ·5· · A.· · · · ·There may have been, yes.

  ·6· · Q.· · · · ·Okay.· What about there's -- I'm going

  ·7· · to get the name wrong, a Jeff Lokai?

  ·8· · A.· · · · ·It's Lokai.

  ·9· · Q.· · · · ·What's his first name?

  10· · A.· · · · ·Jeff.

  11· · Q.· · · · ·Oh, okay.

  12· · A.· · · · ·Jeff Lokai.

  13· · Q.· · · · ·Was there e-mails --

  14· · A.· · · · ·I do not recall any with him.

  15· · Q.· · · · ·Okay.· I will ask you once we're done

  16· · with this deposition, if you could do that query

  17· · again and send those --

  18· · A.· · · · ·Provide them?

  19· · Q.· · · · ·-- send what you've got to Rich and he

  20· · can just double check --

  21· · A.· · · · ·Yes, sir.

  22· · Q.· · · · ·-- that those have been provided to us.

  23· · · · · · · ·THE WITNESS:· Please remind me of that.

  24· · · · · · · ·MR. COGLIANESE:· Yeah.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 13 of 199 PAGEID #: 1489

                                                                              13


  ·1· · · · · · · ·THE WITNESS:· Thanks.

  ·2· · Q.· · · · ·Okay.· Anything -- besides those

  ·3· · e-mails, did you review anything else?

  ·4· · A.· · · · ·No.· I've not reviewed the

  ·5· · investigation or anything.

  ·6· · Q.· · · · ·Okay.· Have you seen the complaint in

  ·7· · this case, the lawsuit that Karl Shaw filed?

  ·8· · A.· · · · ·Probably in the very beginning when it

  ·9· · was originally filed, but not since then.

  10· · Q.· · · · ·Okay.· I guess putting aside the

  11· · specific e-mail, like what was in each particular

  12· · e-mail, because I understand you don't remember

  13· · exactly which e-mails you reviewed, was there

  14· · anything in the e-mails that you reviewed in

  15· · preparing for this deposition that helped to

  16· · refresh your memory about some specific thing?

  17· · A.· · · · ·Nothing that I -- have no idea what

  18· · you're going to inquire about, so there's nothing

  19· · in there that said, oh, yeah, I need to remember

  20· · that or -- it was just general information about

  21· · a -- say maybe like a quick direction to Jen

  22· · Knight or something like that that I may do this

  23· · or send me this.· Something like that.

  24· · Q.· · · · ·Okay.· Do you remember the time


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 14 of 199 PAGEID #: 1490

                                                                              14


  ·1· · frame -- I mean, I'm not asking for dates, but the

  ·2· · time frame in terms of what stage of the Moore

  ·3· · investigation that these e-mails would have been

  ·4· · from?

  ·5· · A.· · · · ·I have no recollection of that.

  ·6· · Q.· · · · ·Okay.· We'll get back into those

  ·7· · questions in a little bit, I'll switch subjects

  ·8· · for a second.

  ·9· · · · · · · ·I may have asked this already, but

  10· · other than the e-mails, any other documents you

  11· · reviewed to prepare?

  12· · A.· · · · ·No, sir.

  13· · Q.· · · · ·Okay.· Can you tell me what is your

  14· · highest level of education?

  15· · A.· · · · ·Master's degree.

  16· · Q.· · · · ·Where did you get that?

  17· · A.· · · · ·Central Michigan University.

  18· · Q.· · · · ·Okay.· And when was that?

  19· · A.· · · · ·2001, as I recall.

  20· · Q.· · · · ·Okay.· Was that in criminal justice or

  21· · something else?

  22· · A.· · · · ·No.· Human resource administration.

  23· · Q.· · · · ·Okay.· And where did you get your

  24· · bachelor's degree?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 15 of 199 PAGEID #: 1491

                                                                              15


  ·1· · A.· · · · ·The Ohio State University.

  ·2· · Q.· · · · ·Okay.· When was that?

  ·3· · A.· · · · ·1993.

  ·4· · Q.· · · · ·Okay.

  ·5· · A.· · · · ·I believe.

  ·6· · Q.· · · · ·And where did you go to high school?

  ·7· · A.· · · · ·East Liverpool.

  ·8· · Q.· · · · ·Okay.· Graduation?

  ·9· · A.· · · · ·1984.

  10· · Q.· · · · ·Okay.· When did you join the Columbus

  11· · Police?

  12· · A.· · · · ·December of 1989, 24th.

  13· · Q.· · · · ·Okay.· So you were -- you were going to

  14· · school at Ohio State as you were in the police

  15· · department?

  16· · A.· · · · ·I was sitting out at that time until I

  17· · got through my one-year probation, then I went

  18· · back to school.· I had been going to school

  19· · previous to that.

  20· · Q.· · · · ·Okay.· Do you have a major in -- at

  21· · Ohio State?

  22· · A.· · · · ·Yes, sir.· Criminal justice.

  23· · Q.· · · · ·Okay.· All right.· Okay.· And so what's

  24· · your current title with the Columbus Police?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 16 of 199 PAGEID #: 1492

                                                                              16


  ·1· · A.· · · · ·Interim chief of police.

  ·2· · Q.· · · · ·Okay.· When did you become interim

  ·3· · chief?

  ·4· · A.· · · · ·February 8th, 2019.

  ·5· · Q.· · · · ·Okay.· And that was when Chief Jacobs

  ·6· · required?

  ·7· · A.· · · · ·Yes, sir.

  ·8· · Q.· · · · ·Okay.· Prior to being interim chief,

  ·9· · what was your assignment?

  10· · A.· · · · ·Deputy chief of police.

  11· · Q.· · · · ·Okay.· How long had you been deputy

  12· · chief?

  13· · A.· · · · ·Since October of 2013, as I recall.

  14· · Right thereabouts.

  15· · Q.· · · · ·And my understanding is the deputy

  16· · chiefs, at least under Chief Jacobs'

  17· · administration, were assigned -- they have a

  18· · particular divisions of the police department that

  19· · were under each deputy chief?

  20· · A.· · · · ·Some divisions, yes, sir.

  21· · Q.· · · · ·Okay.· And did -- were your

  22· · subdivisions the same throughout your time as

  23· · deputy chief or did they change?

  24· · A.· · · · ·No.· They stayed the same.· I was


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 17 of 199 PAGEID #: 1493

                                                                              17


  ·1· · patrol north deputy chief the whole time.

  ·2· · Q.· · · · ·Okay.· Prior to being -- actually, I'm

  ·3· · sorry.

  ·4· · · · · · · ·In October 2013 when you became deputy

  ·5· · chief, was Chief Jacobs already the chief?

  ·6· · A.· · · · ·Yes, sir.

  ·7· · Q.· · · · ·Okay.· What was your assignment prior

  ·8· · to being deputy chief?

  ·9· · A.· · · · ·Police commander.

  10· · Q.· · · · ·Okay.· And what was your -- what were

  11· · you the commander over?

  12· · A.· · · · ·Before I was promoted, training bureau.

  13· · Q.· · · · ·Training bureau?· Okay.

  14· · · · · · · ·When were you promoted to commander?

  15· · A.· · · · ·It was about September of 2009, as I

  16· · recall, right around that September, October time

  17· · frame.

  18· · Q.· · · · ·Okay.· Prior to that, you were a

  19· · lieutenant?

  20· · A.· · · · ·Yes, sir.

  21· · Q.· · · · ·How long were you a lieutenant?

  22· · A.· · · · ·2001 -- February 2001, I believe, until

  23· · 2009.

  24· · Q.· · · · ·Okay.· When -- and prior to that I


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 18 of 199 PAGEID #: 1494

                                                                              18


  ·1· · assume a sergeant?

  ·2· · A.· · · · ·Yes, sir.

  ·3· · Q.· · · · ·When did you get promoted to sergeant?

  ·4· · A.· · · · ·February 2006 -- or 1996.

  ·5· · Q.· · · · ·Okay.· I don't want to go through every

  ·6· · single assignment that you had.

  ·7· · A.· · · · ·I understand.

  ·8· · Q.· · · · ·Were you in internal affairs at this

  ·9· · point?

  10· · A.· · · · ·No, sir.

  11· · Q.· · · · ·Okay.· Were you ever over internal

  12· · affairs?

  13· · A.· · · · ·No.· I was companion to it,

  14· · professional standards bureau, which is -- handles

  15· · all the cases internal affairs puts out to the

  16· · chief for departmental charges.

  17· · Q.· · · · ·When you say you were "companion," did

  18· · you mean you were in the professional standards

  19· · bureau?

  20· · A.· · · · ·Yes, sir.

  21· · Q.· · · · ·Okay.

  22· · A.· · · · ·It's different than internal affairs,

  23· · internal affairs bureau and professional standards

  24· · bureau.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 19 of 199 PAGEID #: 1495

                                                                              19


  ·1· · Q.· · · · ·When were you in professional

  ·2· · standards?

  ·3· · A.· · · · ·It was roughly some month in 2002,

  ·4· · early 2002 until April 2005 or '6.

  ·5· · Q.· · · · ·Okay.· And that was under Chief Jackson

  ·6· · or --

  ·7· · A.· · · · ·That was under Chief Jackson.

  ·8· · Q.· · · · ·Okay.

  ·9· · A.· · · · ·Might even have been 2004.                  I

  10· · apologize.· I don't recall.· I think it was 2004,

  11· · actually.

  12· · Q.· · · · ·Okay.· When you started or when you

  13· · finished?

  14· · A.· · · · ·When I finished and when I went to

  15· · patrol.

  16· · Q.· · · · ·A couple years?

  17· · A.· · · · ·So February of 2004 I went to patrol.

  18· · Q.· · · · ·Okay.· So a couple of years?

  19· · A.· · · · ·Yes, sir.

  20· · Q.· · · · ·Okay.· Is there a deputy chief, or was

  21· · there at the time that you were a deputy chief

  22· · that is over internal affairs?

  23· · A.· · · · ·I don't recall at what point, but the

  24· · most recently internal affairs was a direct report


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 20 of 199 PAGEID #: 1496

                                                                              20


  ·1· · to the chief of police.

  ·2· · Q.· · · · ·Okay.· But that was throughout the time

  ·3· · that Chief Jacobs was chief or --

  ·4· · A.· · · · ·Yes.

  ·5· · Q.· · · · ·Okay.· I want to talk a little bit

  ·6· · about your training in EEO, equal employment

  ·7· · opportunity.

  ·8· · A.· · · · ·Yes, sir.

  ·9· · Q.· · · · ·I guess I'll start with:· Did you get

  10· · special training as part of your master's degree

  11· · in human resources administration in equal

  12· · employment opportunity?

  13· · A.· · · · ·I don't know if I would classify it as

  14· · specialized training.· I had courses between labor

  15· · law, administrative law and regulatory processes,

  16· · and other courses in human resources like that

  17· · that would -- that part of the course spoke on

  18· · EEO.

  19· · Q.· · · · ·Okay.· No individual course just about

  20· · discrimination or retaliation or anything like

  21· · that?

  22· · A.· · · · ·No, sir.

  23· · Q.· · · · ·Okay.· While you were with the Columbus

  24· · Division of Police, have you had training in


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 21 of 199 PAGEID #: 1497

                                                                              21


  ·1· · discrimination, retaliation or other EEO

  ·2· · procedures?

  ·3· · A.· · · · ·In-service training, yes, sir.

  ·4· · Q.· · · · ·Okay.· When was your last in-service

  ·5· · training?

  ·6· · A.· · · · ·I would have to review records.· I do

  ·7· · not know.

  ·8· · Q.· · · · ·Okay.· Was it this year?

  ·9· · A.· · · · ·We tend to do something at least every

  10· · other year at a minimum.

  11· · Q.· · · · ·Okay.· Who provided the last in-service

  12· · training that you did on EEO if you remember?

  13· · A.· · · · ·I would have to review records.                   I

  14· · don't remember.· But we also do ethics training

  15· · every year, which kind of touches on it as well.

  16· · And Ohio Ethics Commission comes in and provides

  17· · that training.

  18· · Q.· · · · ·Okay.· Do you remember whether your

  19· · last ethics training dealt with discrimination or

  20· · retaliation?

  21· · A.· · · · ·I don't recall specifically.

  22· · Q.· · · · ·Okay.· Do you remember whether your

  23· · last EEO training with the CPD was done by folks

  24· · from Columbus -- city of Columbus HR or Columbus


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 22 of 199 PAGEID #: 1498

                                                                              22


  ·1· · Police HR or somebody from the outside?

  ·2· · A.· · · · ·That course is usually team taught by a

  ·3· · regular police instructor and a human resources

  ·4· · manager.

  ·5· · Q.· · · · ·Okay.· When you say, "a regular police

  ·6· · instructor," you mean internal instructor from

  ·7· · CPD?

  ·8· · A.· · · · ·Yes, sir.

  ·9· · Q.· · · · ·Okay.· Who's the person at CPD who does

  10· · that?

  11· · A.· · · · ·I've done a lot of training.· I don't

  12· · remember which one handles which activity.

  13· · Q.· · · · ·Okay.· Have you ever been the person

  14· · that provided the training?

  15· · A.· · · · ·No, sir.

  16· · Q.· · · · ·Okay.· In any of the positions that we

  17· · just walked through, was it your responsibility

  18· · to, I guess other than as a general command staff

  19· · officer, was it your responsibility to administer

  20· · CPD's EEO policies?

  21· · A.· · · · ·No.· I just want to add to what you

  22· · said, other than it's all our responsibility to

  23· · report.· I don't administer any of the policies.

  24· · Q.· · · · ·Okay.· So your understanding as a CPD


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 23 of 199 PAGEID #: 1499

                                                                              23


  ·1· · officer is that if you see or learn about some

  ·2· · kind of discrimination or retaliation going on

  ·3· · within the CPD, you're obligated to report it to

  ·4· · somebody?

  ·5· · A.· · · · ·Report to human resources manager and

  ·6· · to internal affairs.

  ·7· · Q.· · · · ·Okay.· Have you ever done that?

  ·8· · A.· · · · ·Yes.

  ·9· · Q.· · · · ·When did you do that?

  10· · A.· · · · ·I would have to review records and go

  11· · through IA files.· I don't recall, but it's --

  12· · this is one of the cases I sent forward.                   I

  13· · mean --

  14· · Q.· · · · ·When you say, "this is one of the

  15· · cases," you mean Eric Moore's investigation?

  16· · A.· · · · ·Sorrell, Eric Moore investigation.· Any

  17· · other paperwork that came through on these

  18· · allegations that would come to the deputy chief, I

  19· · would send them to IA and instruct them to

  20· · investigate.· IA works with HR and decides who's

  21· · going to specifically handle it, if it's going to

  22· · be someone in the city administration or if IA

  23· · specifically is going to.

  24· · Q.· · · · ·Okay.· So you would have been the one


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 24 of 199 PAGEID #: 1500

                                                                              24


  ·1· · that sent this to IA to be investigated in the

  ·2· · first place as an EEO?

  ·3· · A.· · · · ·Yes, I -- as I recall.· I don't have

  ·4· · the record to reflect on right here, but as I

  ·5· · recall, yes.

  ·6· · Q.· · · · ·Okay.· And I'm going to delve into this

  ·7· · in a couple of minutes, but just to try to get it

  ·8· · established, I guess.· At the time that the first

  ·9· · allegations from Wes Sorrell came out about Eric

  10· · Moore and discriminatory comments he allegedly

  11· · made, Eric Moore and Wes Sorrell were in your

  12· · chain of command?

  13· · A.· · · · ·At the time they surfaced, yes.

  14· · Q.· · · · ·Okay.· And I just want -- we've had

  15· · some confusion over this, but at the time Eric

  16· · Moore allegedly made the discriminatory comments,

  17· · he was in SRB?

  18· · A.· · · · ·Yes, sir.

  19· · Q.· · · · ·Was SRB under your chain of command?

  20· · A.· · · · ·Yes, sir.

  21· · Q.· · · · ·Okay.

  22· · A.· · · · ·Now, I want to clarify real quick.· At

  23· · the time they were reported, I was there.· At the

  24· · time they actually occurred, I don't recall if I


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 25 of 199 PAGEID #: 1501

                                                                              25


  ·1· · was in that assignment yet or not.

  ·2· · Q.· · · · ·Because you weren't deputy chief yet?

  ·3· · A.· · · · ·Correct.

  ·4· · Q.· · · · ·Okay.· All right.· So stepping back to

  ·5· · EEO training.· Is -- is it your understanding that

  ·6· · Columbus Police has its own EEO rules and

  ·7· · regulations separate from the laws that apply to

  ·8· · everybody?

  ·9· · A.· · · · ·They're complimentary to the laws.

  10· · Q.· · · · ·Okay.· What do you mean by that?

  11· · A.· · · · ·They use the language of statute to

  12· · direct our employees of what the responsibilities

  13· · and expectations are, policy.

  14· · Q.· · · · ·Okay.· Can there be violations of CPD

  15· · EEO policy that don't necessarily rise to the

  16· · level of a legal violation?

  17· · A.· · · · ·Yes.

  18· · Q.· · · · ·Okay.· But pretty much if it violates

  19· · state and federal EEO laws, it's also going to

  20· · violate CPD policy?

  21· · A.· · · · ·Yes.· Not only the EEO policy, but we

  22· · also have a rule of conduct to obey laws and

  23· · ordinances.

  24· · Q.· · · · ·So just in general, any CPD officer


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 26 of 199 PAGEID #: 1502

                                                                              26


  ·1· · that does something that violates the law, it's

  ·2· · going to violate CPD policy always basically?

  ·3· · A.· · · · ·Yes.· With the condition that we have

  ·4· · to first investigate and determine just cause.

  ·5· · Because the contract requires, you know, a full

  ·6· · just cause determination prior to determining

  ·7· · sustained finding.

  ·8· · Q.· · · · ·Okay.· And in your experience or to

  ·9· · your understanding, while you were deputy chief

  10· · under Chief Jacobs, was -- was it CPD's policy to

  11· · treat EEO violations as particularly serious?

  12· · A.· · · · ·Yes.

  13· · Q.· · · · ·Okay.· Are you familiar with the term

  14· · "critical misconduct" as it applies to the CPD?

  15· · A.· · · · ·Yes.

  16· · Q.· · · · ·What is critical misconduct?

  17· · A.· · · · ·Conduct that would likely result in

  18· · departmental charges or some substantial job

  19· · action.

  20· · Q.· · · · ·Okay.· Would an EEO violation typically

  21· · be treated as critical misconduct?

  22· · A.· · · · ·Depends on the nature of it.· There are

  23· · some that are very -- relatively innocuous in

  24· · nature that someone may report.· There's others


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 27 of 199 PAGEID #: 1503

                                                                              27


  ·1· · that are blatant and need immediate, you know,

  ·2· · follow up.

  ·3· · Q.· · · · ·Okay.· Can you give me an example of an

  ·4· · innocuous EEO violation?

  ·5· · A.· · · · ·Someone is typing out something on a

  ·6· · computer screen, an e-mail to somebody and

  ·7· · somebody passes by behind them and sees something

  ·8· · that -- that, you know, says something that --

  ·9· · says something that's more of say a sexual nature

  10· · or whatever.· Someone takes offense to it.· That's

  11· · not directed towards that person; wasn't meant to

  12· · be seen by that person.· It's not something that's

  13· · horrendous, you know, just something that whatever

  14· · the term was an individual took offensively, even

  15· · though we don't know that it was intended that way

  16· · or it's used in maybe common language.

  17· · · · · · · ·But if someone took offense to that,

  18· · then we would investigate that.· But that could be

  19· · innocuous.· It's not particularly harmful on its

  20· · face.· You have to understand what the person --

  21· · how the person received it.

  22· · Q.· · · · ·Okay.· Is it also fair to say that if

  23· · something already violates some kind of CPD rule

  24· · on its own, but also is determined to be an EEO


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 28 of 199 PAGEID #: 1504

                                                                              28


  ·1· · violation, that that would make it more serious?

  ·2· · A.· · · · ·Again, you can violate CPD rule and

  ·3· · EEO, but there's a spectrum or a continuum of how

  ·4· · critical that particular phrase, comment, action

  ·5· · was compared to others.

  ·6· · Q.· · · · ·Okay.· Do CPD rules also prohibit

  ·7· · retaliation against officers who participate in

  ·8· · EEO investigations?

  ·9· · A.· · · · ·Yes.

  10· · Q.· · · · ·And they also prohibit retaliation

  11· · against officers who participate in internal

  12· · affairs investigations and other forms of

  13· · investigation, correct?

  14· · A.· · · · ·Be more specific, all employees.

  15· · Q.· · · · ·Okay.· Not just officers.

  16· · A.· · · · ·Correct.

  17· · Q.· · · · ·Would retaliation against an officer

  18· · who participated in the EEO investigation

  19· · typically be considered critical misconduct?

  20· · A.· · · · ·Retaliation, yes.

  21· · Q.· · · · ·Okay.· And how about retaliation

  22· · against an officer who participated in an IA

  23· · investigation?

  24· · A.· · · · ·Let me phrase it in maybe a slightly


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 29 of 199 PAGEID #: 1505

                                                                              29


  ·1· · different way.· Not rephrase it, but answer it in

  ·2· · a slightly different way.· We take them to be

  ·3· · critical on their face.· We do not take job action

  ·4· · against someone without proof, so we have to

  ·5· · investigate first, because the contract requires a

  ·6· · person suffers no career disadvantage except for

  ·7· · just cause, and there's seven steps that we have

  ·8· · to prove before we can take a particular action

  ·9· · against them.

  10· · Q.· · · · ·Did you say seven steps or some steps?

  11· · I didn't hear what --

  12· · A.· · · · ·Well, there's seven steps typically

  13· · associated with just cause.

  14· · Q.· · · · ·Okay.· Can you run me through quick

  15· · what those seven steps are?

  16· · A.· · · · ·I know you know them, you're just

  17· · testing me, so...

  18· · Q.· · · · ·I literally don't.· We don't do a lot

  19· · of FOP arbitrations, so...

  20· · A.· · · · ·The seven steps are there must be a

  21· · rule.

  22· · · · · · · ·The rule must be -- number two, the

  23· · rule must be reasonably related to the efficient,

  24· · effective operation of the workplace.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 30 of 199 PAGEID #: 1506

                                                                              30


  ·1· · · · · · · ·There has to be notice, number three.

  ·2· · Notice of a rule to the employee so you know it's

  ·3· · a rule.

  ·4· · · · · · · ·Number four, there has to be an

  ·5· · investigation conducted.

  ·6· · · · · · · ·Number five, the investigation must

  ·7· · provide sufficient proof that the rule was

  ·8· · violated by a preponderance of the evidence, or

  ·9· · sometimes it's looked at as clear and convincing

  10· · evidence.

  11· · · · · · · ·Number six, you have to take into

  12· · consideration what you've done to other employees

  13· · who have done the same thing.

  14· · · · · · · ·And number seven, you have to consider

  15· · the employee that's -- that's at fault or accused,

  16· · their specific work record, compliments, past

  17· · discipline, awards, stuff like that to see, have

  18· · we treated everybody the same?· Is there a reason

  19· · to progress this for this employee but not

  20· · another?· So you have to compare them.· That's the

  21· · seventh step.

  22· · Q.· · · · ·Okay.· And those seven steps are what

  23· · you have to --

  24· · · · · · · ·THE WITNESS:· Pass?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 31 of 199 PAGEID #: 1507

                                                                              31


  ·1· · · · · · · ·MR. COGLIANESE:· You did.

  ·2· · Q.· · · · ·That was impressive, by the way.

  ·3· · A.· · · · ·That may be the only one I get.

  ·4· · Q.· · · · ·Those seven steps are what you have to

  ·5· · go through to justify departmental charges against

  ·6· · somebody?· Is that -- is that what there are steps

  ·7· · for?

  ·8· · A.· · · · ·Departmental charges, or to take some

  ·9· · type of action that could cause someone a career

  10· · disadvantage.· Sometimes it could be just

  11· · relieving a person of duty can impact their

  12· · career, because they're not able to work special,

  13· · they can't maybe go to court and earn overtime or

  14· · schedule for other overtime assignments, so they

  15· · are losing pay without any just cause.· So there's

  16· · many issues that we have to think of.

  17· · Q.· · · · ·Okay.· All right.· I want to just walk

  18· · through some of your relationships with people who

  19· · are involved in this case, witnesses and

  20· · decision-makers, things like that.

  21· · A.· · · · ·Yes.

  22· · Q.· · · · ·First of all, can you tell me your

  23· · relationship with retired Chief Jacobs?

  24· · A.· · · · ·A mentor to me.· Has helped progress my


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 32 of 199 PAGEID #: 1508

                                                                              32


  ·1· · career from the time I made lieutenant.· Has, you

  ·2· · know, worked with me and helped develop me along

  ·3· · the way.· I have a lot of respect for Chief

  ·4· · Jacobs.

  ·5· · Q.· · · · ·Okay.· Would you consider her a

  ·6· · personal friend?

  ·7· · A.· · · · ·We haven't done anything outside of

  ·8· · work together as far as any type of interaction,

  ·9· · but I would consider her a friend.

  10· · Q.· · · · ·Okay.· When did you first meet Chief

  11· · Jacobs?

  12· · A.· · · · ·Throughout my career, throughout -- I

  13· · mean, she was a patrol lieutenant.· And when I was

  14· · an officer, I believe, and I had opportunities to

  15· · encounter her in the patrol admin office

  16· · periodically, didn't really get to know her much

  17· · until she was a commander over radio.

  18· · · · · · · ·When I was promoted to lieutenant, she

  19· · called me in.· I was first on the list, so I had a

  20· · choice between three jobs that were open, because

  21· · three of us were being promoted.· And she invited

  22· · me to come work for her at radio room since I had

  23· · a choice of three jobs, and I accepted that

  24· · request.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 33 of 199 PAGEID #: 1509

                                                                              33


  ·1· · Q.· · · · ·Okay.· So she's been your direct

  ·2· · supervisor several different times over the course

  ·3· · of your career?

  ·4· · A.· · · · ·Yes.· In radio room for a short time

  ·5· · period before she was moved to internal affairs.

  ·6· · And C4 and I was L4, so patrol.· Then as a deputy

  ·7· · chief -- actually, I'm sorry, she was a deputy

  ·8· · chief over me in training bureau for a short time

  ·9· · before she was made chief.· And then as chief, she

  10· · promoted me to deputy chief.

  11· · Q.· · · · ·Okay.· When -- you said she was over

  12· · internal affairs at some point?

  13· · A.· · · · ·Yes, sir.

  14· · Q.· · · · ·And you were in that role, you had some

  15· · direct relationship with her?

  16· · A.· · · · ·No, not direct relationship with her.

  17· · I, again, was assigned to professional standards.

  18· · I -- all the investigators, sergeants that

  19· · completed cases would bring their case to me for a

  20· · just cause review, and I would draft the

  21· · departmental charges against an officer, present

  22· · those charges to the chief and to the director for

  23· · suspension or termination for officer misconduct.

  24· · I had little to no interaction with Chief Jacobs


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 34 of 199 PAGEID #: 1510

                                                                              34


  ·1· · as she was the internal affairs commander.

  ·2· · Q.· · · · ·Okay.· But you were -- you were in

  ·3· · professional standards when she was internal

  ·4· · affairs commander?

  ·5· · A.· · · · ·Yes.

  ·6· · Q.· · · · ·Okay.· What is the role -- you said you

  ·7· · would deal directly with the sergeants who did the

  ·8· · investigations when you were in professional

  ·9· · standards.· What is the role of the commander of

  10· · internal affairs in relation to professional

  11· · standards bureau?

  12· · A.· · · · ·To assign cases, direct the cases as

  13· · they progress, and to review and approve the case

  14· · as it's finalized before it goes to chain of

  15· · command for decisions.

  16· · Q.· · · · ·Okay.· Does the commander of IAB

  17· · participate in the decision-making process about

  18· · what things rise to the level of departmental

  19· · charges?

  20· · A.· · · · ·They would -- sorry, they would have

  21· · input.

  22· · Q.· · · · ·Okay.· Does professional standards

  23· · bureau -- go the other way around.· Does the

  24· · professional standards bureau have input into the


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 35 of 199 PAGEID #: 1511

                                                                              35


  ·1· · scope of an internal affairs investigation in

  ·2· · terms of what things are worth investigating and

  ·3· · what things are not?

  ·4· · A.· · · · ·Not at that stage that you described.

  ·5· · Q.· · · · ·What is -- is there a stage at which

  ·6· · they would?

  ·7· · A.· · · · ·After the case comes to the chain of

  ·8· · command and the chief approves departmental

  ·9· · charges, it would come to the discipline grievance

  10· · liaison lieutenant, which was my role.· And I

  11· · would review it for just cause.· And I may say, if

  12· · we are going to prove this case to the standard we

  13· · need to meet, I will need this additional

  14· · information so I could send it back for additional

  15· · investigation at that point in order to close

  16· · gaps.

  17· · Q.· · · · ·Okay.· So professional standards would

  18· · never basically be in a position of saying, don't

  19· · bother following up on this, this isn't worth

  20· · reviewing, that kind of thing.· But they might be

  21· · in the opposite position of saying, we need to do

  22· · more follow up on a particular issue in order to

  23· · justify such and such action?

  24· · A.· · · · ·That virtually sounds correct.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 36 of 199 PAGEID #: 1512

                                                                              36


  ·1· · Q.· · · · ·Okay.

  ·2· · A.· · · · ·I don't want to say never.· You said

  ·3· · never.

  ·4· · Q.· · · · ·Yeah.

  ·5· · A.· · · · ·I can't say never would be involved,

  ·6· · but virtually, that would be a correct statement.

  ·7· · Q.· · · · ·Okay.· All right.· Thank you for

  ·8· · clarifying.

  ·9· · · · · · · ·How about Deputy Chief Ronald Gray,

  10· · what's your relationship with him?

  11· · A.· · · · ·Colleague.

  12· · Q.· · · · ·Okay.· Is Deputy Chief Gray still with

  13· · the department or --

  14· · A.· · · · ·He's retired.

  15· · Q.· · · · ·Okay.· Did you ever report directly to

  16· · Deputy Chief Gray or vice versa?

  17· · A.· · · · ·No, sir.

  18· · Q.· · · · ·Okay.· Consider him a friend?

  19· · A.· · · · ·Colleague.· Again, I don't do anything

  20· · outside of work.· I've never had interaction with

  21· · him outside of work, but I consider him a friend

  22· · through work.

  23· · Q.· · · · ·Okay.· How about Deputy Chief Kuebler?

  24· · A.· · · · ·I'm familiar with him.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 37 of 199 PAGEID #: 1513

                                                                               37


  ·1· · Q.· · · · ·He's still with the department?

  ·2· · A.· · · · ·He is.

  ·3· · Q.· · · · ·Okay.· Is he a friend of yours?

  ·4· · A.· · · · ·Again, never anything outside of work,

  ·5· · professional acquaintance and friend through work.

  ·6· · Q.· · · · ·Okay.· Did either of you report to the

  ·7· · other directly at any point in your careers?

  ·8· · A.· · · · ·We were both street lieutenants at the

  ·9· · same time.· Other than right now, I'm interim

  10· · chief, he reports to me as the deputy chief, I

  11· · can't think of any other time.

  12· · Q.· · · · ·Okay.· How about Commander Gary

  13· · Cameron?

  14· · A.· · · · ·Yes, sir.

  15· · Q.· · · · ·I'm just going to go through those same

  16· · basic questions.· Are they a personal friend, are

  17· · they a colleague, are they --

  18· · A.· · · · ·Yeah.

  19· · Q.· · · · ·-- your arch nemesis, and, you know,

  20· · did you report to them or did they report to you.

  21· · A.· · · · ·Okay.

  22· · Q.· · · · ·Cameron?

  23· · A.· · · · ·Or Cameron?· Not a personal friend.                     I

  24· · have been to his house for a birthday party for


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 38 of 199 PAGEID #: 1514

                                                                              38


  ·1· · his sister-in-law, who was my secretary.· I've

  ·2· · been on one motorcycle ride with him with a group

  ·3· · of 20 people.· Other than that, no other direct

  ·4· · relationship.

  ·5· · Q.· · · · ·Okay.· Are you in some kind of police

  ·6· · motorcycle club or group or something?

  ·7· · A.· · · · ·No, no group like that that I know of.

  ·8· · Q.· · · · ·Okay.· I understand from previous

  ·9· · depositions that a couple different family members

  10· · of Gary Cameron are secretaries in the department?

  11· · A.· · · · ·His spouse and his mother -- his spouse

  12· · and his sister-in-law.

  13· · Q.· · · · ·Okay.· Is one of them your secretary

  14· · currently?

  15· · A.· · · · ·Not currently.

  16· · Q.· · · · ·Okay.· Have they been at some point?

  17· · A.· · · · ·Yes.· Both of them actually were at one

  18· · point.· As deputy chief, Nancy Cameron was my

  19· · first secretary and then Donna Custer was my

  20· · second secretary.

  21· · Q.· · · · ·All right.· But they're both still

  22· · secretaries in the department?

  23· · A.· · · · ·Yes.

  24· · Q.· · · · ·Okay.· And no direct reporting


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 39 of 199 PAGEID #: 1515

                                                                              39


  ·1· · relationship between you and Cameron at any point?

  ·2· · A.· · · · ·Yes.· He directly reported to me.

  ·3· · Q.· · · · ·Okay.· When he was commander or --

  ·4· · A.· · · · ·Yeah.· As a commander, I was deputy

  ·5· · chief, he was patrol zone one, he directly

  ·6· · reported to me.

  ·7· · Q.· · · · ·Do you remember the time frame?

  ·8· · A.· · · · ·He came over to zone one after he was

  ·9· · removed from narcotics vice, which would have

  10· · been, I don't know, 2016 maybe.· I don't recall.

  11· · Q.· · · · ·Okay.

  12· · A.· · · · ·'17 maybe, 2017.· Don't recall the time

  13· · frame.

  14· · Q.· · · · ·Do you know why he was removed from

  15· · narcotics vice?

  16· · A.· · · · ·Chief did not advise me.

  17· · Q.· · · · ·Okay.· The same questions Commander --

  18· · or I guess she's acting -- or interim Deputy Chief

  19· · Jennifer Knight?

  20· · A.· · · · ·Yes.

  21· · Q.· · · · ·Go ahead.

  22· · A.· · · · ·Yeah.· She's a direct report to me now.

  23· · I'm trying to think if she's ever been a direct

  24· · report other times.· I don't recall her ever being


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 40 of 199 PAGEID #: 1516

                                                                              40


  ·1· · a direct report to me or me to her.· Little to no

  ·2· · outside interaction.· We've been to a couple FOP

  ·3· · events after work hours where she was there, I was

  ·4· · there, her husband was there.· And other than

  ·5· · that, really nothing else that stands out with

  ·6· · acting Deputy Chief Knight.

  ·7· · Q.· · · · ·Okay.· Is acting Deputy Chief Knight's

  ·8· · husband a police officer also?

  ·9· · A.· · · · ·Police sergeant.

  10· · Q.· · · · ·A police sergeant with CPD?

  11· · A.· · · · ·Yes, sir.

  12· · Q.· · · · ·Okay.· Has he ever been your direct

  13· · report?

  14· · A.· · · · ·No, sir.

  15· · Q.· · · · ·Okay.· What's his assignment?

  16· · A.· · · · ·Internal affairs currently.

  17· · Q.· · · · ·Okay.· Like the family business, I

  18· · guess.

  19· · · · · · · ·Lieutenant Ty Brust?

  20· · A.· · · · ·Yes, he's a classmate of mine.

  21· · Q.· · · · ·Okay.· Consider him a friend?

  22· · A.· · · · ·I consider him a friend.· We're

  23· · classmates.· We've spent a lot of time together.

  24· · But, again, over the last 30 years, since the


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 41 of 199 PAGEID #: 1517

                                                                              41


  ·1· · academy, other than a few reunions or

  ·2· · get-togethers, nothing outside of work.

  ·3· · Q.· · · · ·Okay.· Lieutenant Echenrode -- or is he

  ·4· · commander now?

  ·5· · A.· · · · ·He's commander now.

  ·6· · Q.· · · · ·Okay.· Commander Echenrode?

  ·7· · A.· · · · ·A great deal of respect for Commander

  ·8· · Echenrode.· No outside of work relationship or

  ·9· · activity.· He was a direct report to me when I was

  10· · deputy chief, and he was commander over SRB.· No

  11· · other direct report that I recall.

  12· · Q.· · · · ·Okay.· When you say you have a great

  13· · deal of respect for him, does that come from

  14· · something in particular or you just --

  15· · A.· · · · ·I think he's a straight shooter and

  16· · calls shots like he sees them.· And he was in SWAT

  17· · for years and had a reputation of being very level

  18· · headed and just an all around -- shortest way to

  19· · say it, everybody likes Joe Echenrode.

  20· · Q.· · · · ·Okay.

  21· · A.· · · · ·Not the arch nemesis you described.

  22· · Q.· · · · ·Okay.· Any of these people that we

  23· · described previously not fit those descriptions?

  24· · I mean --


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 42 of 199 PAGEID #: 1518

                                                                              42


  ·1· · A.· · · · ·None of them that you've said so far

  ·2· · are arch nemesis, no.

  ·3· · Q.· · · · ·Okay.· Lieutenant Kemmerling?

  ·4· · A.· · · · ·I know Lieutenant Kemmerling.

  ·5· · Q.· · · · ·Okay.· Friend of yours?

  ·6· · A.· · · · ·Absolutely not.

  ·7· · Q.· · · · ·Okay.· Arch nemesis?

  ·8· · A.· · · · ·Not a nemesis.

  ·9· · Q.· · · · ·Okay.· What made you say, "absolutely

  10· · not"?

  11· · A.· · · · ·I -- again, I explained Commander

  12· · Echenrode I have a great deal of respect for.                    I

  13· · would describe Lieutenant Kemmerling as the

  14· · opposite.

  15· · Q.· · · · ·Okay.· What -- any particular bad

  16· · experiences or --

  17· · A.· · · · ·I think he's failed as a supervisor.

  18· · Q.· · · · ·Okay.· In what sense?

  19· · A.· · · · ·He's failed to supervise.

  20· · Q.· · · · ·Okay.

  21· · A.· · · · ·He had a job to do.· And he's had

  22· · multiple assignments and has not performed those

  23· · assignments to the expectations that I would have.

  24· · Q.· · · · ·Okay.· Can you give me an example?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 43 of 199 PAGEID #: 1519

                                                                              43


  ·1· · A.· · · · ·Most recent one would be the Stormy

  ·2· · Daniels case.

  ·3· · Q.· · · · ·Okay.· He was over vice?

  ·4· · A.· · · · ·Yes.

  ·5· · Q.· · · · ·Okay.

  ·6· · A.· · · · ·He oversaw the operation.

  ·7· · Q.· · · · ·Okay.· And what would you say he did

  ·8· · that didn't -- that he failed as a supervisor now?

  ·9· · · · · · · ·MR. COGLIANESE:· And I'm just going to

  10· · jump in with an objection to the extent that it is

  11· · not privileged either through FBI investigations

  12· · that may or may not still be ongoing or anything

  13· · else, you can answer the question, but do not

  14· · divulge any information that is still privileged.

  15· · A.· · · · ·Certainly understand that.

  16· · · · · · · ·What did he do or didn't he do?· He did

  17· · not act as a supervisor over that particular

  18· · incident.· He was at scene.· He allowed officers

  19· · to make decisions that have greatly impacted the

  20· · division.· And he was aware of those decisions.

  21· · Did not do his job as the supervisor.· And he knew

  22· · about the operation in advance and was the acting

  23· · commander at the time and made no notification to

  24· · anyone for someone else to say time out.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 44 of 199 PAGEID #: 1520

                                                                              44


  ·1· · Q.· · · · ·Okay.· What about with respect to this

  ·2· · situation that we're talking about today and the

  ·3· · Eric Moore investigation, Karl Shaw's situation.

  ·4· · Do you feel like he had similar failures when he

  ·5· · was over -- he was over SRB at some point?

  ·6· · A.· · · · ·He was.· The enforcement team, and I

  ·7· · named him, even though the original complaint did

  ·8· · not, I added him as a focus for failure to

  ·9· · supervise Eric Moore properly.· Eric Moore was

  10· · ultimately charged and terminated for theft of

  11· · time basically, overtime, but he turned a blind

  12· · eye to.· Arbitrator ultimately ruled to give

  13· · Sergeant Moore's position back, and a lot of that

  14· · was because Lieutenant Kemmerling failed in his

  15· · duties and signed the slips and asked no

  16· · questions, and that was his job to do.

  17· · Q.· · · · ·Okay.· Was Lieutenant Kemmerling --

  18· · actually did he have anything sustained against

  19· · him in this investigation?

  20· · A.· · · · ·The allegation I made against him was

  21· · determined by internal affairs to be not

  22· · sustained, which means that neither prove nor

  23· · disprove it.

  24· · Q.· · · · ·Okay.· When internal affairs says, "not


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 45 of 199 PAGEID #: 1521

                                                                              45


  ·1· · sustained" on an investigation, the chain of

  ·2· · command can still overturn that and sustain it,

  ·3· · right?

  ·4· · A.· · · · ·The chain of command can recommend and

  ·5· · argue more harsh or more lenient.· The deputy

  ·6· · chief will make the final determination.

  ·7· · Q.· · · · ·Okay.· When you say, "more harsh or

  ·8· · more lenient," that can include turning something

  ·9· · from unfounded or not sustained to sustained?

  10· · A.· · · · ·Yes, they can recommend that.

  11· · Q.· · · · ·Okay.· You didn't do that in this

  12· · particular situation?

  13· · A.· · · · ·I did not, because as the case was

  14· · presented to me without sending it back for -- he

  15· · was secondary to the main issue.· I wanted to move

  16· · forward with the termination case against Sergeant

  17· · Moore.· To have sent that back to get more

  18· · information, because IA did not obtain adequate

  19· · information in my opinion to have sustained it.

  20· · Had they done that, I think there would have been

  21· · a case to be made for failure to supervise,

  22· · mis-mal or nonfeasance.· The real issue at that

  23· · time was Sergeant Eric Moore and dealing with his

  24· · misconduct, so it would have taken several months


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 46 of 199 PAGEID #: 1522

                                                                              46


  ·1· · to send it back, which means this would have been

  ·2· · lingering, Eric Moore, so I left it not sustained

  ·3· · and went after the employee who I felt needed

  ·4· · terminated.

  ·5· · Q.· · · · ·Okay.· And there was another employee

  ·6· · also who had charges sustained against him --

  ·7· · A.· · · · ·Wes Sorrell.

  ·8· · Q.· · · · ·-- which was Wes Sorrell?

  ·9· · A.· · · · ·Yes, sir.

  10· · Q.· · · · ·Okay.· All right.· Well, that's a good

  11· · segue into what's your relationship, then, with

  12· · Eric Moore?

  13· · A.· · · · ·There is zero relationship other than

  14· · supervisor/subordinate.

  15· · Q.· · · · ·Okay.· Did you ever supervise him

  16· · directly?

  17· · A.· · · · ·Never directly.

  18· · Q.· · · · ·Okay.· He was just several links down

  19· · in the chain at some points?

  20· · A.· · · · ·At some point he was in my chain of

  21· · command, but several links down as you said.

  22· · Q.· · · · ·How about Wes Sorrell?

  23· · A.· · · · ·Never had any direct supervision of

  24· · him.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 47 of 199 PAGEID #: 1523

                                                                              47


  ·1· · Q.· · · · ·Okay.· And no personal relationship?

  ·2· · A.· · · · ·No.

  ·3· · Q.· · · · ·Okay.· How about Scott Watkins?

  ·4· · A.· · · · ·Same, no -- at one point in the links

  ·5· · of the chain of command, but never direct report.

  ·6· · Q.· · · · ·Okay.· Larry Wilson?

  ·7· · A.· · · · ·I coached Larry Wilson as an FTO.

  ·8· · Other than that, I have no interaction or

  ·9· · throughout his career had very little

  10· · interaction --

  11· · Q.· · · · ·Okay.

  12· · A.· · · · ·-- dealings with him.

  13· · Q.· · · · ·When were you his FTO?

  14· · A.· · · · ·1992 maybe.

  15· · Q.· · · · ·Okay.· How about Sergeant Doug

  16· · Williams?

  17· · A.· · · · ·Only through the links of the chain of

  18· · command that I have interaction with him there.

  19· · Q.· · · · ·Okay.· Eric Cornett?

  20· · A.· · · · ·Again, through the chain of command.

  21· · Q.· · · · ·Okay.· Stephanie Gibson?

  22· · A.· · · · ·Supervised her once directly as a

  23· · forgery fraud sergeant.· She was a forgery fraud

  24· · detective.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 48 of 199 PAGEID #: 1524

                                                                              48


  ·1· · Q.· · · · ·Okay.

  ·2· · A.· · · · ·And then again in the chain of command

  ·3· · later in her career.

  ·4· · Q.· · · · ·Okay.· In your -- and not a personal

  ·5· · friend of yours?

  ·6· · A.· · · · ·No.

  ·7· · Q.· · · · ·Okay.· Did you have any negative

  ·8· · interactions with her when you were supervising

  ·9· · her?

  10· · A.· · · · ·Nothing other than supervisory

  11· · corrective action.· Nothing, no serious

  12· · discipline, nothing that was -- would have maybe

  13· · questioned her competency or anything like that.

  14· · Q.· · · · ·Okay.

  15· · A.· · · · ·And just to clarify, all these I say

  16· · there's no personal relationship, it's not that I

  17· · dislike any of them, I just have no outside work

  18· · relationship with any of them.

  19· · Q.· · · · ·Sure.· Just going back to Stephanie

  20· · Gibson for a second.· In your dealings with her,

  21· · you found her to be truthful, reliable?

  22· · A.· · · · ·Interactions I had with her, yes.

  23· · Q.· · · · ·Okay.· Is there some -- I mean --

  24· · A.· · · · ·Nothing I know of.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 49 of 199 PAGEID #: 1525

                                                                              49


  ·1· · Q.· · · · ·Okay.

  ·2· · A.· · · · ·I'm just --

  ·3· · Q.· · · · ·Okay.

  ·4· · A.· · · · ·-- for me, I've always had reliable

  ·5· · interactions with her.

  ·6· · Q.· · · · ·Okay.· Mary Battle, do you know her?

  ·7· · A.· · · · ·Same, yes.

  ·8· · Q.· · · · ·Okay.· Just a -- some kind of indirect

  ·9· · supervisory relationship at some point?

  10· · A.· · · · ·Yes.

  11· · Q.· · · · ·Okay.· Falacia Dragin?

  12· · A.· · · · ·I know of her.

  13· · Q.· · · · ·Ever supervise her?

  14· · A.· · · · ·I was -- at one point I was ultimately

  15· · over patrol admin and she was assigned.· I don't

  16· · recall what -- I think she was patrol south, so

  17· · she was assigned to deputy chief.· But when she

  18· · was administrative unassigned or just assigned to

  19· · patrol admin office in a restricted duty capacity,

  20· · my chain of command supervised her on a daily

  21· · basis, but she was permanently assigned patrol

  22· · south.

  23· · Q.· · · · ·For a short period of time, long period

  24· · of time?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 50 of 199 PAGEID #: 1526

                                                                              50


  ·1· · A.· · · · ·Long period of time.

  ·2· · Q.· · · · ·Okay.· So you know her relatively well?

  ·3· · A.· · · · ·I don't know that I would even know her

  ·4· · to see her.

  ·5· · Q.· · · · ·Okay.

  ·6· · A.· · · · ·But I know the name.

  ·7· · Q.· · · · ·Okay.· Karl Shaw?

  ·8· · A.· · · · ·I know him.

  ·9· · Q.· · · · ·Okay.· What -- how would you describe

  10· · your relationship?

  11· · A.· · · · ·Same as with everyone else,

  12· · professional acquaintance.

  13· · Q.· · · · ·Okay.· Never supervised him directly?

  14· · A.· · · · ·No, not directly.

  15· · Q.· · · · ·Okay.· Whitney Lancaster?

  16· · A.· · · · ·I know him.

  17· · Q.· · · · ·Okay.· Ever supervise him directly?

  18· · A.· · · · ·Not directly.

  19· · Q.· · · · ·Okay.· Not a personal friend?

  20· · A.· · · · ·No.

  21· · Q.· · · · ·Okay.· All right.· I think I'm finished

  22· · with that list.

  23· · · · · · · ·I --

  24· · A.· · · · ·There's 1,900 people, come on.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 51 of 199 PAGEID #: 1527

                                                                              51


  ·1· · Q.· · · · ·No, I know.· I could keep going and

  ·2· · going, but I think I'll stop.

  ·3· · A.· · · · ·Okay.

  ·4· · Q.· · · · ·We started getting into this and I'll

  ·5· · jump back to it.· When was the first that you

  ·6· · heard -- or what was the first that you heard

  ·7· · about what became the investigation of Eric Moore

  ·8· · that we were talking about?

  ·9· · A.· · · · ·As I recall, this could be off a little

  10· · bit, but as I recall at the time, Lieutenant

  11· · Echenrode was assigned, came in and discovered

  12· · some irregularities and brought it to my

  13· · attention, or through the chain of command.

  14· · Q.· · · · ·Okay.· Do you remember whether the

  15· · irregularities had to do with discriminatory

  16· · comments that Eric Moore made or whether it was

  17· · something else?

  18· · A.· · · · ·I think the very first thing started

  19· · out with the Sorrell/Moore investigation.· And as

  20· · that progressed and Sorrell was under -- as I

  21· · recall it, when Sorrell felt he was under

  22· · suspicion of critical misconduct, he started

  23· · making allegations from years earlier that then

  24· · were brought to my attention that involved an EEO


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 52 of 199 PAGEID #: 1528

                                                                              52


  ·1· · nature.

  ·2· · Q.· · · · ·Okay.· And when you say the

  ·3· · Sorrell/Moore investigation, you're talking about

  ·4· · the theft of time, theft of equipment, that kind

  ·5· · of --

  ·6· · A.· · · · ·Yes, sir.

  ·7· · Q.· · · · ·Okay.· And I will say most of the

  ·8· · questions that I have for you today obviously are

  ·9· · about the EEO aspect of things.

  10· · A.· · · · ·I understand.

  11· · Q.· · · · ·As opposed to the theft of time.· I may

  12· · get into some of that stuff one way or the other,

  13· · but -- but I will try to separate those out for

  14· · you.

  15· · · · · · · ·What did you do when you first became

  16· · aware of this -- these allegations against Moore?

  17· · A.· · · · ·Directed Lieutenant Echenrode to

  18· · conduct some interviews to get the facts of what

  19· · we were dealing with and put it in writing and

  20· · forward it.

  21· · Q.· · · · ·Okay.· Who did you direct him to

  22· · interview?

  23· · A.· · · · ·I don't recall the exact list of

  24· · people.· I think, you know, you mentioned --


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 53 of 199 PAGEID #: 1529

                                                                              53


  ·1· · sorry, I'm not supposed to look -- Watkins, that's

  ·2· · it.· Watkins, Doug Williams, might have been

  ·3· · Stephanie Gibson, people that would have been

  ·4· · around whatever Wes Sorrell had reported that may

  ·5· · have overheard or had knowledge of the allegation

  ·6· · of, if you will, hostile work environment.

  ·7· · Q.· · · · ·Did you direct Echenrode to interview

  ·8· · Eric Moore?

  ·9· · A.· · · · ·He was -- would have been the person --

  10· · I'm trying to remember.· We're speaking about the

  11· · EEO part of it?

  12· · Q.· · · · ·Yeah.

  13· · A.· · · · ·He would have -- I think I -- no, I

  14· · think what I did was direct him to gather the

  15· · information, what the allegation is from who might

  16· · have -- may have been witnesses and send it

  17· · forward.· Then I would assign it to IA who would

  18· · conduct a full investigation, which would have

  19· · involved an interview with the person that is

  20· · accused of misconduct.

  21· · Q.· · · · ·Okay.· So this was after -- I mean, at

  22· · that point, you had already received the other

  23· · allegations, the property and time issues?

  24· · A.· · · · ·I did.· I did.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 54 of 199 PAGEID #: 1530

                                                                              54


  ·1· · Q.· · · · ·What did you do when you learned about

  ·2· · those allegations?

  ·3· · A.· · · · ·Well, the theft of time I assigned for

  ·4· · investigation as well, and directed that Commander

  ·5· · Curmode tighten up the oversight or the failure to

  ·6· · oversee the use of time.· And the allegation that

  ·7· · was forwarded to me included a self-disclosure of

  ·8· · what was, on its face, criminal conduct by Wes

  ·9· · Sorrell.· Since it was a self-admission, I ordered

  10· · him relieved of duty and a criminal investigation

  11· · be conducted against him.

  12· · Q.· · · · ·Okay.· And I think you sort of

  13· · partially answered this.· You didn't direct for

  14· · Eric Moore to be relieved of duty at that point?

  15· · A.· · · · ·Not at that time.· It was an allegation

  16· · from the years prior.

  17· · Q.· · · · ·Okay.

  18· · A.· · · · ·And theft of time was something that,

  19· · again, ranged over time that there was -- it

  20· · needed to have an investigation before, because he

  21· · denied it.· It wasn't a self-admission.

  22· · Q.· · · · ·Okay.

  23· · A.· · · · ·They needed proof first.

  24· · Q.· · · · ·At the time that this stuff was coming


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 55 of 199 PAGEID #: 1531

                                                                              55


  ·1· · up, I mean, I'll represent to you my understanding

  ·2· · is the first indication that there was some

  ·3· · alleged misconduct by Moore or Sorrell would have

  ·4· · been August of 2014.· Does that sound about right?

  ·5· · A.· · · · ·I'll go by your recollection that you

  ·6· · have in front of you better than my recollection.

  ·7· · Q.· · · · ·At that point, you -- SRB was in your

  ·8· · chain of command as deputy chief?

  ·9· · A.· · · · ·At that point, yes.

  10· · Q.· · · · ·Okay.· Was narcotics in your chain of

  11· · command?

  12· · A.· · · · ·No, sir.

  13· · Q.· · · · ·Okay.· Do you remember that Eric Moore

  14· · at that -- by that time had transferred from SRB

  15· · to narcotics?

  16· · A.· · · · ·I don't remember if it was by that

  17· · time.

  18· · Q.· · · · ·Okay.

  19· · A.· · · · ·At some point, I know he did.

  20· · Q.· · · · ·Is it possible that he would have

  21· · already transferred?

  22· · A.· · · · ·I would have to review records, but

  23· · it's possible.

  24· · Q.· · · · ·Okay.· Assuming that Moore was already


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 56 of 199 PAGEID #: 1532

                                                                              56


  ·1· · in narcotics at the time these allegations came

  ·2· · up, would it have been your call about whether or

  ·3· · not to relieve him of duty?

  ·4· · A.· · · · ·If evidence was brought to my attention

  ·5· · that we had corroboration of a theft offense in

  ·6· · the SRB chain of command, it would have been -- I

  ·7· · could have ordered that.· It would have been one

  ·8· · of the -- one of the decisions I was allowed to

  ·9· · make.· If it was a hostile work relation or

  10· · retaliation claim or anything like that, his

  11· · current chain of command would make that.

  12· · Q.· · · · ·Why the distinction?

  13· · A.· · · · ·Because we have to have spans of

  14· · control and unity of command.· It's hard to have

  15· · multiple people making decisions when there's

  16· · other deputy chiefs where I'm making decisions of

  17· · -- career-impacting decisions against their

  18· · members.· I can go to them and say, here's what we

  19· · know, here's what I recommend, but it's their

  20· · decision to make.

  21· · Q.· · · · ·Okay.

  22· · A.· · · · ·And Deputy Chief Mike Woods at the

  23· · time, I believe over narcotics.

  24· · Q.· · · · ·Is it possible it was Ron Gray?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 57 of 199 PAGEID #: 1533

                                                                              57


  ·1· · A.· · · · ·At that time it could have been Ron

  ·2· · Gray.· I'm sorry.· It was a transition period

  ·3· · there.

  ·4· · Q.· · · · ·Okay.· Woods supervised narcotics

  ·5· · previous to Gray or after?

  ·6· · A.· · · · ·Super -- previous to Gray, you mean

  ·7· · Woods?

  ·8· · Q.· · · · ·Yeah.· Woods -- that's what I'm saying,

  ·9· · was Deputy Chief Woods over narcotics before Gray

  10· · or after Gray?

  11· · A.· · · · ·Okay.· Here's where there's just a

  12· · little bit of confusion and I've got to remember

  13· · myself.

  14· · Q.· · · · ·Sure.

  15· · A.· · · · ·We had an executive staff retreat where

  16· · I don't remember all the reporting chains, because

  17· · Gray was over narcotics at some point.· At some

  18· · point Chief Jacobs changed narcotics bureau to

  19· · place under the Homeland Security subdivision,

  20· · which Mike Woods was over.· I don't remember if

  21· · that's while Deputy Chief Gray was still here or

  22· · if he had retired and Mike Woods -- I don't

  23· · remember dates of all those.· But Deputy Chief

  24· · Gray had it originally and at some point Mike


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 58 of 199 PAGEID #: 1534

                                                                                58


  ·1· · Woods had it.· I don't remember the -- who had it

  ·2· · at what point.

  ·3· · Q.· · · · ·Okay.· So let me step back for a

  ·4· · second, because I think I might be confused about

  ·5· · something.

  ·6· · · · · · · ·So you had said if there was a theft

  ·7· · offense in the SRB chain of command, you would

  ·8· · have responsibility for relieving a person of duty

  ·9· · if it was corroborated.· But if it was a hostile

  10· · work environment or discrimination of some kind,

  11· · then that person's current chain of command would

  12· · handle it?

  13· · A.· · · · ·Let me be maybe a little more clear

  14· · about it.· If someone else was in another chain of

  15· · command and I did have corroboration, although as

  16· · a deputy chief I may have the authority to

  17· · ultimately do that, I would not have done that.                     I

  18· · would have gone to the deputy chief, and the two

  19· · of us, if there was a disagreement, would have

  20· · gone to the chief and made a decision whether to

  21· · relieve the person or leave them in their -- in

  22· · their position.· So I would not have ultimately

  23· · made that decision at that time.

  24· · Q.· · · · ·Okay.· So assuming that Moore was


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 59 of 199 PAGEID #: 1535

                                                                              59


  ·1· · already out of SRB and was in narcotics, it would

  ·2· · have been something where at minimum, you would

  ·3· · have had to consult with whoever the deputy chief

  ·4· · was over narcotics?· And then if there was any

  ·5· · disagreement, it would have gone to Chief Jacobs?

  ·6· · A.· · · · ·Again, to be very specific, not that I

  ·7· · would have had to, I would have.

  ·8· · Q.· · · · ·Okay.· Because any deputy chief

  ·9· · could -- would have the authority to take

  10· · virtually any officer --

  11· · A.· · · · ·Yes.

  12· · Q.· · · · ·-- out of service --

  13· · A.· · · · ·Yes.

  14· · Q.· · · · ·-- but --

  15· · A.· · · · ·The way it works, just so you

  16· · understand, I can take that person as an

  17· · intervening action as immediate, because there's a

  18· · threat or something going on.· Then it would go to

  19· · -- the relief of duty paperwork would go to that

  20· · deputy chief and the chief, and then they would

  21· · decide whether to reinstate or to uphold the

  22· · relief of duty.

  23· · Q.· · · · ·Okay.· Chief Quinlan, I'm handing you

  24· · what's been previously marked as Plaintiff's


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 60 of 199 PAGEID #: 1536

                                                                              60


  ·1· · Exhibit 10, which I'll represent to you is an

  ·2· · e-mail chain that we were provided by the city in

  ·3· · this case.

  ·4· · · · · · · ·I just want to ask if that clarifies

  ·5· · for you at all whose chain of command Sergeant

  ·6· · Moore was in at the point when the internal

  ·7· · affairs investigation, at least the portion of it

  ·8· · that had to do with EEO, came up?

  ·9· · A.· · · · ·It would appear to be narcotics,

  10· · because this e-mail is from Commander Gary

  11· · Cameron, who was over narcotics, to Sergeant Ken

  12· · Decker, who was the internal affairs investigation

  13· · and --

  14· · Q.· · · · ·And it looks like at the top he's

  15· · copying Chief Gray?

  16· · A.· · · · ·Okay.

  17· · Q.· · · · ·So does that -- I mean, does that

  18· · square with the idea that Deputy Chief Gray was

  19· · likely over narcotics, at least at that particular

  20· · time?

  21· · A.· · · · ·Yes, that's what it would indicate to

  22· · me.

  23· · Q.· · · · ·Okay.

  24· · A.· · · · ·Now, when these became known, Sergeant


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 61 of 199 PAGEID #: 1537

                                                                              61


  ·1· · Eric Moore was in a new chain of command.

  ·2· · Q.· · · · ·Okay.· And we're going to talk to Chief

  ·3· · Gray in a couple days, but I think at least for

  ·4· · our purposes today, I'll assume that Deputy Chief

  ·5· · Gray was over narcotics at the point when this

  ·6· · particular decision was being made about relieving

  ·7· · him from duty at the beginning of the

  ·8· · investigation.

  ·9· · · · · · · ·So in terms of that decision, do you

  10· · remember one way or the other whether you were

  11· · involved in discussions about whether or not to

  12· · take Sergeant Moore off duty?

  13· · A.· · · · ·I don't recall.

  14· · Q.· · · · ·Okay.· Do you remember any discussion

  15· · that you had with Deputy Chief Gray about Sergeant

  16· · Moore's duty status?

  17· · A.· · · · ·It's certainly possible, but I -- it's

  18· · been so long, and I've had so many others, there's

  19· · so many tentacles to this, I don't recall which

  20· · one is which.

  21· · Q.· · · · ·Okay.· Were there any of the e-mails

  22· · that you reviewed in preparation for the

  23· · deposition about Sergeant Moore's on duty or off

  24· · duty status?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 62 of 199 PAGEID #: 1538

                                                                              62


  ·1· · A.· · · · ·No, not to my recollection.· I mean,

  ·2· · there were like two e-mails or something that I

  ·3· · looked at, so I don't recall.

  ·4· · Q.· · · · ·Okay.· Do you remember any

  ·5· · conversations you had with Chief Jacobs about

  ·6· · decisions to leave Sergeant Moore on active duty

  ·7· · or relieve him of duty or assign him to

  ·8· · administrative duty or anything like that?

  ·9· · A.· · · · ·It's possible, but I don't recall as I

  10· · sit here today that I had that discussion.

  11· · Especially if he was in a different chain of

  12· · command.

  13· · Q.· · · · ·Okay.· During the course of this

  14· · investigation of Sorrell and Moore over the theft

  15· · of time, theft of property issues and/or over the

  16· · discrimination, retaliation issues, first of all,

  17· · all of those -- the whole investigation was

  18· · principally conducted by Sergeant Ken Decker?

  19· · A.· · · · ·As I recall.

  20· · Q.· · · · ·Did you have any conversations with

  21· · Sergeant Decker while the investigation was going

  22· · on before it was -- before Decker made his

  23· · findings?

  24· · A.· · · · ·I'm sure I did.· But I'm also


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 63 of 199 PAGEID #: 1539

                                                                              63


  ·1· · reasonably certain they would have been focused on

  ·2· · the theft of time and the theft of equipment, not

  ·3· · on the EEO if that portion was being overseen by

  ·4· · IA and under employees under a different chain of

  ·5· · command.

  ·6· · Q.· · · · ·Okay.· What would your conversations

  ·7· · have been with Decker about the theft of time and

  ·8· · equipment issues?

  ·9· · A.· · · · ·Just general status updates.

  10· · Q.· · · · ·Okay.

  11· · A.· · · · ·Witnesses still to be interviewed,

  12· · evidence being discovered.

  13· · Q.· · · · ·Was that typical of IA practice or your

  14· · practice in terms of investigations going on under

  15· · your chain of command?

  16· · A.· · · · ·Not typical, but not unheard of.· On

  17· · complex cases, you can see there's a thousand

  18· · pages of -- that it would be.· A sergeant would

  19· · come in and get clarification or direction on how

  20· · much further do you want us to pursue this avenue

  21· · or et cetera.

  22· · Q.· · · · ·Okay.· Did you have update type

  23· · conversations like that with Commander Knight

  24· · while this was going on?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 64 of 199 PAGEID #: 1540

                                                                              64


  ·1· · A.· · · · ·I would have to ask her if she

  ·2· · remembers, because I don't recall.· There's

  ·3· · certainly times she was in my office discussing

  ·4· · cases during this time frame, but, again, there's

  ·5· · multiple cases going on.· I don't recall if it was

  ·6· · this case or others.

  ·7· · Q.· · · · ·Okay.· In a case under your chain of

  ·8· · command, would you expect that if internal affairs

  ·9· · came up with some new evidence that changed the

  10· · nature of the case or established some critical

  11· · fact that you would be updated on it?

  12· · A.· · · · ·Not particularly.

  13· · Q.· · · · ·Okay.

  14· · A.· · · · ·Their job would be to notify the chief

  15· · of police probably.

  16· · Q.· · · · ·Okay.

  17· · A.· · · · ·Because that's their direct supervisor.

  18· · And as the deputy chief over that chain of

  19· · command, I'm going to only be making the decision

  20· · at the end, so my preference is to remain neutral

  21· · and out of the loop to the extent reasonable so I

  22· · don't have a lot of pre-drawn conclusions or

  23· · pieces of information.· I can get a case in full

  24· · after the chain of command's reviewed it and then


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 65 of 199 PAGEID #: 1541

                                                                              65


  ·1· · make my own determination based on the totality,

  ·2· · so I try to stay somewhat neutral and independent

  ·3· · in it.

  ·4· · Q.· · · · ·Okay.· So what -- I mean, do you

  ·5· · remember what Decker was telling you about the

  ·6· · status of the case as it was going on?

  ·7· · A.· · · · ·I don't remember what he was telling

  ·8· · me.· It was -- I'm sure it was case related at the

  ·9· · time, but with so much going on, I don't remember

  10· · what the focus was.

  11· · Q.· · · · ·Okay.· I mean, was he telling you what

  12· · he was finding or was he telling you what he still

  13· · needed to do or what he was thinking about doing?

  14· · A.· · · · ·The one thing that I specifically

  15· · recall discussing at some point was that he had

  16· · evidence that Eric Moore was being untruthful to

  17· · him during interviews.· And that in his words, as

  18· · I recall, it was basically virtually everything he

  19· · says is a lie.

  20· · Q.· · · · ·Okay.

  21· · A.· · · · ·And so we were pursuing that course.

  22· · Q.· · · · ·Okay.

  23· · A.· · · · ·Because that changes an investigation

  24· · into a clear termination case.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 66 of 199 PAGEID #: 1542

                                                                              66


  ·1· · Q.· · · · ·Okay.· Do you remember what stage he

  ·2· · told you that?

  ·3· · A.· · · · ·I do not.

  ·4· · Q.· · · · ·Okay.· Do you remember whether it was

  ·5· · before or after he finished his report?

  ·6· · A.· · · · ·I do not.

  ·7· · Q.· · · · ·Okay.· Was that an in-person

  ·8· · conversation or a phone call or an e-mail?

  ·9· · A.· · · · ·In person.

  10· · Q.· · · · ·Okay.· This was in your office or --

  11· · A.· · · · ·In my office.

  12· · Q.· · · · ·Okay.· Where was your office at the

  13· · time in relation to IA?

  14· · A.· · · · ·8th floor.· IA is out on Long Street.

  15· · So 8th floor central police headquarters.· Totally

  16· · different buildings, facilities.

  17· · Q.· · · · ·Okay.· So he would have had to

  18· · especially come over to headquarters?

  19· · A.· · · · ·He would have been in headquarters to

  20· · gain records from HR, to talk to the chief.

  21· · Internal affairs are frequently on the 8th floor

  22· · dropping off packages, picking up packages.

  23· · Q.· · · · ·Okay.· Was the chief involved in that

  24· · conversation as well when Decker was telling you


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 67 of 199 PAGEID #: 1543

                                                                              67


  ·1· · about the dishonesty?

  ·2· · A.· · · · ·No, sir.

  ·3· · Q.· · · · ·Okay.· Did you have -- did you convey

  ·4· · that over to the chief when Decker told you that?

  ·5· · A.· · · · ·I'm sure at some point we had

  ·6· · discussion.· We either had private meetings,

  ·7· · sometimes we'll discuss a case in an executive

  ·8· · staff.· So I don't remember what point, but at

  ·9· · some point I'm sure we had some general discussion

  10· · on that.

  11· · Q.· · · · ·Okay.· What was it about what Decker

  12· · told you that would have turned this into what you

  13· · called a clear termination case?

  14· · A.· · · · ·Any untruthfulness in an administrative

  15· · matter when you're under orders to answer

  16· · questions truthfully, and that's just a hallmark

  17· · of our profession.· That turns it into a

  18· · termination case.

  19· · Q.· · · · ·Okay.· Was it Chief Jacobs' policy,

  20· · written or unwritten or formal or informal, I

  21· · guess, during her administration that any

  22· · untruthfulness on duty was a termination offense?

  23· · A.· · · · ·I'm not going to say it's a policy.· It

  24· · is a standing practice that if we sustain


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 68 of 199 PAGEID #: 1544

                                                                              68


  ·1· · allegations of untruthfulness -- remember during

  ·2· · the IA case, they're not sustained, there's an IAB

  ·3· · investigator saying this is what I'm seeing.· That

  ·4· · investigator still has to connect the dots.

  ·5· · Here's what we know to be true, here's what the

  ·6· · person reported, here's how we know it's false.

  ·7· · You have to connect those dots.· It's a standing

  ·8· · practice that when that happens, we're going to

  ·9· · recommend termination.

  10· · Q.· · · · ·Okay.· Did you do anything in response

  11· · to what Decker told you about the untruthfulness?

  12· · A.· · · · ·The only thing I would have done is to

  13· · tell him to keep pursuing that line and to make

  14· · sure he can lay out in the investigation the --

  15· · what we know to be factual and how we can prove

  16· · it's factual, and what he said and how we can

  17· · prove that's false.· And as I recall reviewing the

  18· · investigation, it wasn't as clear in the

  19· · investigation as what I felt it needed to be to

  20· · show A is true and B is false.

  21· · Q.· · · · ·Okay.· Was there consideration at that

  22· · point when Decker told you about the

  23· · untruthfulness that he believed was happening to

  24· · take Moore off duty?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 69 of 199 PAGEID #: 1545

                                                                              69


  ·1· · A.· · · · ·Again, not a policy, but our practice

  ·2· · is on untruthfulness, once an allegation is

  ·3· · sustained, in many cases, in other cases once

  ·4· · there's an actual department hearing, a divisional

  ·5· · hearing, chief's hearing and a formal

  ·6· · recommendation for termination, then we relieve of

  ·7· · duty.

  ·8· · Q.· · · · ·Okay.· The document I showed you

  ·9· · earlier, Plaintiff's Exhibit 10, I don't -- did

  10· · you have an opportunity to read it when you --

  11· · when I just showed it to you or did --

  12· · A.· · · · ·I scanned the headlines on from the

  13· · back to the front.

  14· · Q.· · · · ·Can you take a look at the top of it

  15· · where I think it's an e-mail from Cameron to

  16· · Decker copying Chief Gray.· Would you take a

  17· · moment and read that and let me know when you're

  18· · done.

  19· · A.· · · · ·Yep.· Yes, sir.

  20· · Q.· · · · ·In that e-mail, Cameron is instructing

  21· · Decker basically to keep him posted about any

  22· · developments in the investigation that would

  23· · warrant relieving Sergeant Moore of duty?

  24· · A.· · · · ·It essentially says the same thing that


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 70 of 199 PAGEID #: 1546

                                                                              70


  ·1· · I said, that he's reporting A and B is accused to

  ·2· · be untruthful.· The lack of existing corroborating

  ·3· · evidence.· He's telling him to connect those dots.

  ·4· · Q.· · · · ·Right.· But he's also saying, if you

  ·5· · connect the dots at some point in your

  ·6· · investigation, let me know and we can reconsider

  ·7· · the decision to take him off duty on an interim

  ·8· · basis?

  ·9· · A.· · · · ·Yes.· How that typically works, again,

  10· · is on an allegation that is -- of this nature and

  11· · is dated, we are very careful, because we have

  12· · other ongoing lawsuits right now about relieving

  13· · officers of duty and putting in what others, we do

  14· · not call the fish bowl, but there -- in a lawsuit

  15· · it's alleging we put them in a fish bowl and

  16· · they're suffering a career disadvantage.· So we

  17· · are very careful to make that determination only

  18· · in the cases where we're extraordinarily

  19· · confident, or the chief has already recommended

  20· · termination.

  21· · · · · · · ·So in this, he says should credible

  22· · evidence develop supporting the alleged critical

  23· · misconduct, advise me so I might reconsider this

  24· · decision.· When he says reconsider this decision,


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 71 of 199 PAGEID #: 1547

                                                                              71


  ·1· · I would assume that means that he's going to

  ·2· · consult with his deputy chief and the chief of

  ·3· · police to decide if we have enough strength to the

  ·4· · allegation to potentially disrupt someone's

  ·5· · career, cause a disadvantage to their career to do

  ·6· · the right thing.

  ·7· · Q.· · · · ·Okay.· Is fish bowl the same thing as

  ·8· · 580?

  ·9· · A.· · · · ·It is.

  10· · Q.· · · · ·Okay.

  11· · A.· · · · ·I do not call it fish bowl.· I was

  12· · repeating what others -- what the lawsuits allege

  13· · and that's what it's referred to.· But we as the

  14· · patrol administrative office --

  15· · Q.· · · · ·Okay.

  16· · A.· · · · ·-- is where all restricted duty

  17· · officers go for the most part and officers that

  18· · are awaiting discipline outcomes.

  19· · Q.· · · · ·Okay.· And there are other -- there are

  20· · other options besides 580 if you have concerns

  21· · about an officer's maintaining their duty status,

  22· · like they can be put on administrative assignment,

  23· · is that different?

  24· · A.· · · · ·They're all administrative assignments.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 72 of 199 PAGEID #: 1548

                                                                              72


  ·1· · Q.· · · · ·Okay.

  ·2· · A.· · · · ·We -- by default, typically we'll

  ·3· · assign to the patrol admin.· Others who are in a

  ·4· · restricted duty status for medical, let's say

  ·5· · they're pregnant, they're going to be off duty

  ·6· · for, just say nine months, whatever, we may place

  ·7· · them at the academy or in another position where

  ·8· · we have some consistent workflow for a nine-month

  ·9· · period versus someone that may be there

  10· · intermittently.

  11· · Q.· · · · ·Okay.· You're familiar with an officer

  12· · Melissa McFadden?

  13· · A.· · · · ·I am.

  14· · Q.· · · · ·Okay.· Were you involved at all in

  15· · her -- in the investigation of her that --

  16· · A.· · · · ·I was not.

  17· · Q.· · · · ·Okay.· Were you aware of her -- there

  18· · was a period of time, fairly lengthy period of

  19· · time where she was assigned to the property room

  20· · rather than her regular assignment?

  21· · A.· · · · ·Yes.

  22· · Q.· · · · ·It was because of some allegations that

  23· · had been made against her?

  24· · A.· · · · ·Yes.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 73 of 199 PAGEID #: 1549

                                                                              73


  ·1· · Q.· · · · ·How does that differ from the 580

  ·2· · assignment?

  ·3· · A.· · · · ·I don't know what went into that

  ·4· · decision.· I was not privy to that.· I don't know.

  ·5· · Was not privy to that.

  ·6· · Q.· · · · ·Okay.· But you were aware that you and

  ·7· · other command officers have the option, at least,

  ·8· · of reassigning officers to duties where they might

  ·9· · not have a direct supervisory authority or

  10· · wouldn't have contact with civilians, that kind of

  11· · thing?

  12· · A.· · · · ·If they're relieved of duty, they do

  13· · not have police or supervisory authority.· And we

  14· · make a decision on where to place them based on

  15· · the needs and interests of the division and the

  16· · membership.· And those decisions are always

  17· · subject to review.

  18· · Q.· · · · ·And I guess I'm just getting at

  19· · something a little in between, because my

  20· · understanding was McFadden was not actually

  21· · relieved of duty, she was just reassigned to

  22· · different duties.· She still had her service

  23· · weapon and things like that.

  24· · A.· · · · ·As -- and, again, I'm speaking based on


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 74 of 199 PAGEID #: 1550

                                                                              74


  ·1· · our general practice, because I don't know the

  ·2· · specifics of that case.· As a general practice, if

  ·3· · someone's accused of misconduct and supervises

  ·4· · that individual, then the accused must be moved to

  ·5· · a different workstation so there is no ability to

  ·6· · have impact on the other party.

  ·7· · · · · · · ·In the -- to draw a comparison with the

  ·8· · Eric Moore case, he was already in a different

  ·9· · assignment in a different workstation, so that

  10· · satisfied that.· Where Lieutenant McFadden was

  11· · overseeing the patrol sergeants and officers, so

  12· · we have to move that person, just like we did

  13· · Lieutenant Brian Lance and Sergeant Frencz when

  14· · they had an allegation.· We moved them out of

  15· · their patrol assignment to another work location

  16· · but did not relieve them of duty.· So that's how

  17· · that works as a general practice.

  18· · Q.· · · · ·Okay.· Going back to the update that

  19· · you got from Ken Decker about alleged

  20· · untruthfulness.· Did you have any conversations

  21· · with Jeff Lokai about what you had heard from

  22· · Decker?

  23· · A.· · · · ·It's possible at the time he was -- he

  24· · was a grievance liaison.· It's possible, but I


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 75 of 199 PAGEID #: 1551

                                                                              75


  ·1· · don't recall.

  ·2· · Q.· · · · ·Okay.· And I'll jump back for a second.

  ·3· · In terms of 580 assignments or relief of duty,

  ·4· · there are concerns on both sides of that, right?

  ·5· · I mean, in terms of -- you would be concerned

  ·6· · about disrupting an officer's career for purposes

  ·7· · of grievance filing and things like that, but

  ·8· · there were also reasons to be concerned about

  ·9· · other -- other officers that might be affected by

  10· · their conduct or civilians that might be affected

  11· · by their conduct, the department might be affected

  12· · by their conduct if they remain on duty?

  13· · A.· · · · ·I apologize.· Can you -- I did not

  14· · understand the question.

  15· · Q.· · · · ·That's fair.

  16· · · · · · · ·You mentioned that you are very careful

  17· · as a department about removing people from active

  18· · duty with the CPD because of disciplinary

  19· · allegations and that the concern is --

  20· · A.· · · · ·Thoughtful decisions.

  21· · Q.· · · · ·Okay.· All I'm getting at is:· Is it

  22· · fair to say that -- well, let me ask it a

  23· · different way.

  24· · · · · · · ·What is the purpose of relieving an


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 76 of 199 PAGEID #: 1552

                                                                              76


  ·1· · officer of duty?

  ·2· · A.· · · · ·Well, again, there's a difference

  ·3· · between relieving an officer and moving an

  ·4· · officer.· You move an officer as you were

  ·5· · describing with Lieutenant McFadden and others to

  ·6· · make sure that the person is not continuing to

  ·7· · have supervisory authority over the person who's

  ·8· · accused them of wrongdoing.· You relieve an

  ·9· · officer of duty as typically an intervening action

  10· · to safeguard the public or other officers while a

  11· · case is investigated to determine if there's

  12· · sufficient just cause to bring departmental

  13· · charges or other action against that employee.

  14· · · · · · · ·And not to disrupt you there, but you

  15· · asked me to clarify anything I've said in the

  16· · past.· I thought of one thing I do want to

  17· · clarify.

  18· · Q.· · · · ·Yes.

  19· · A.· · · · ·When you asked about e-mails, as I try

  20· · to think back, I think what I was looking at was

  21· · not e-mails, but a calendar that I was looking to

  22· · see when I had -- usually like Ken Decker comes in

  23· · my office, I would usually put a note on my

  24· · calendar, I spoke to Ken Decker on this date and


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 77 of 199 PAGEID #: 1553

                                                                              77


  ·1· · time.· Commander Curmode, C-U-R-M-O-D-E, so

  ·2· · that's -- I believe when I was talking to Richard,

  ·3· · I was looking at dates that I may have had

  ·4· · interactions with either Sergeant Decker,

  ·5· · Commander Curmode or Joe Echenrode.· I think

  ·6· · that's what I was looking for, not e-mails.· Just

  ·7· · to clarify my previous testimony.

  ·8· · Q.· · · · ·Okay.· Then I will revise my previous

  ·9· · request --

  10· · A.· · · · ·I understand.

  11· · Q.· · · · ·-- and say, if you can get that --

  12· · those -- I don't know whether they're separate --

  13· · A.· · · · ·I can answer that.

  14· · Q.· · · · ·-- notations or whatever, but if you

  15· · can get that calendar to Rich --

  16· · A.· · · · ·Yeah, I can answer that.

  17· · Q.· · · · ·-- so he can provide it.

  18· · A.· · · · ·I tried to look it up while we were

  19· · having the meeting.· I went to my desk and looked

  20· · it up and could not find what I was looking for.

  21· · Q.· · · · ·Okay.

  22· · A.· · · · ·So that's the review I did.· I looked

  23· · up different comments where I maybe had an

  24· · interaction with Curmode or Officer Shaw or


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 78 of 199 PAGEID #: 1554

                                                                               78


  ·1· · something.· But they were based on a notation

  ·2· · unrelated to the investigation, and I could not

  ·3· · locate the one Decker that I recall, but I will

  ·4· · look.

  ·5· · Q.· · · · ·Okay.· So the e-mails that you

  ·6· · described early on as the documents that you

  ·7· · reviewed in preparation for the deposition, there

  ·8· · were no e-mails?

  ·9· · A.· · · · ·There may be, I would have to look.                     I

  10· · don't recall.· But what I'm saying is what I was

  11· · looking for is to try to confirm dates that I

  12· · made -- I gave directions or had notification of

  13· · certain issues, and I could not find -- because at

  14· · the time I may make a note, but I may not -- I may

  15· · say something generically, met with Commander

  16· · Curmode on the investigation issue.· But I may not

  17· · say Shaw investigation or Moore investigation, I

  18· · may have.· Sometimes I do, sometimes I don't.                    I

  19· · was trying to find it by a search for Moore's name

  20· · or whatever and did not see it.

  21· · Q.· · · · ·Okay.· So when you said that you

  22· · reviewed documents to prepare for the deposition,

  23· · you really just -- you looked through -- you

  24· · looked for documents that might prepare you for


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 79 of 199 PAGEID #: 1555

                                                                              79


  ·1· · the deposition, but you didn't actually find any?

  ·2· · A.· · · · ·That's my recollection.

  ·3· · Q.· · · · ·Okay.· About when did you do that?

  ·4· · A.· · · · ·It would have been within the last

  ·5· · couple weeks that I met with Richard.

  ·6· · Q.· · · · ·Okay.· And I just want to clarify

  ·7· · whenever we're talking about that, I don't want to

  ·8· · know anything that you --

  ·9· · A.· · · · ·I understand.

  10· · Q.· · · · ·-- talked about during that meeting.

  11· · A.· · · · ·I understand.

  12· · Q.· · · · ·That's all privileged stuff.

  13· · · · · · · ·Okay.· So that was -- before you

  14· · remembered that, we were talking about the purpose

  15· · of relieving.· And, again, I'm separating it from

  16· · what happened with McFadden and maybe other

  17· · officers.· When you're relieving an officer of

  18· · duty, the purpose is -- one of the purposes is to

  19· · protect the public and protect other officers.

  20· · What are you -- what are you protecting them from?

  21· · A.· · · · ·If there is an indication that there

  22· · could be an immediate threat to the public or to

  23· · an officer, then we may make that decision to

  24· · relieve until we get enough facts to know one


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 80 of 199 PAGEID #: 1556

                                                                              80


  ·1· · direction or another.

  ·2· · · · · · · ·In this case, as I recall, the -- the

  ·3· · allegation that was brought to me was two or

  ·4· · three years old at the time, or something to that

  ·5· · effect.· And there had been a continuing

  ·6· · commingled work environment with no evidence of

  ·7· · any hostility or action or derogatory interaction,

  ·8· · so there was no reason to take an intervening

  ·9· · action if there was no evidence that someone may

  10· · be actually in harm versus speech versus action.

  11· · Q.· · · · ·A couple things, first of all, do you

  12· · remember for sure how long before -- how long

  13· · between when the statements that Moore made were

  14· · made and when they were reported?· You said a

  15· · couple different times during the deposition that

  16· · it was a period of years?

  17· · A.· · · · ·I don't recall.· Because, again, we

  18· · have so many things going on.· Like I said,

  19· · tentacles.· We have Wes Sorrell making allegations

  20· · about overtime abuse.· We have another allegation

  21· · that Joe Echenrode developed where there was

  22· · allegations made of comments or derogatory or, if

  23· · you will, racist comments.· Those I don't remember

  24· · the sequence of timing and when it was.· But as I


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 81 of 199 PAGEID #: 1557

                                                                              81


  ·1· · recall, it had been a substantial time gap,

  ·2· · whether it was weeks, months or years, there was a

  ·3· · gap where there was no evidence since they were

  ·4· · working in the same environment.· Or currently

  ·5· · when I found out if at that time Moore was already

  ·6· · in a different work environment that there would

  ·7· · be any opportunity for workplace violence, because

  ·8· · they're not in the same workplace.

  ·9· · Q.· · · · ·Okay.· But the reason I ask the

  10· · question is that all the information that we've

  11· · been provided that the comments took place in

  12· · April of 2014 and the report was like August,

  13· · September 2014.

  14· · A.· · · · ·Okay.· That's possible.

  15· · Q.· · · · ·So that -- I just want to make sure

  16· · you're not trying to dispute that.

  17· · A.· · · · ·I'm not trying to dispute.· I'm saying

  18· · I don't recall, because there's so many

  19· · allegations coming from so many different angles.

  20· · If it -- if going by your timetable, my thinking

  21· · would have been, it's April, it's now September,

  22· · they worked in the same work environment during

  23· · that time, there's -- there may be speech that

  24· · we're investigating, but there's clearly no


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 82 of 199 PAGEID #: 1558

                                                                              82


  ·1· · action, nothing had happened.· So there's no

  ·2· · imminent threat.· Where if there was -- if someone

  ·3· · said -- separate from this case, if someone came

  ·4· · to me and said, that person needs to watch

  ·5· · themselves, you know, I'm going to end this or

  ·6· · something, as a future act, then that would be

  ·7· · something I would want to take action on until we

  ·8· · can get to the bottom of it.· Because there's a

  ·9· · belief that something may be imminently likely to

  10· · occur.· That was not the case here.

  11· · Q.· · · · ·Okay.· And I'll address another thing

  12· · that you said was about in the same working

  13· · environment.· Again, the information that we've

  14· · been provided, it appeared that Sergeant Moore

  15· · transferred to narcotics sometime in the spring of

  16· · 2014, so they wouldn't have still been working --

  17· · there would not have been the kind of relationship

  18· · that you're talking about where they continued

  19· · working together peacefully over some additional

  20· · period.

  21· · A.· · · · ·And that all seems to make sense.

  22· · Because as I'm trying to refresh my memory, I

  23· · think some of the allegations that Sorrell made,

  24· · is that after he left SRB, he had taken equipment


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 83 of 199 PAGEID #: 1559

                                                                              83


  ·1· · with him and other things, and so that would

  ·2· · refresh my memory that he had already moved to a

  ·3· · new assignment with a new position when some of

  ·4· · these things from the Sorrell allegations, to

  ·5· · other individuals that say they overheard Moore

  ·6· · make either racist or inflammatory comments, not

  ·7· · directed at them personally, but to others about

  ·8· · either Sergeant Williams or Officer Shaw or --

  ·9· · Q.· · · · ·Okay.· And, again, this was not --

  10· · you're sort of describing a thought process of

  11· · somebody else, I guess, because you were not the

  12· · person who would have been actually making the

  13· · decision about whether to take Sergeant Moore off

  14· · duty, because he wasn't in your chain of command.

  15· · A.· · · · ·Yeah.· I guess I'm explaining that's

  16· · how I would have processed it.· Or if I consulted

  17· · with another deputy chief, those would have been

  18· · the issues that I would have been talking about.

  19· · Q.· · · · ·Okay.

  20· · A.· · · · ·Again, as I said, I don't remember the

  21· · sequence of events.· So as my memory is being

  22· · refreshed through those dates, it would make sense

  23· · that it would never have been my decision as an

  24· · extreme circumstance to have made a decision to


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 84 of 199 PAGEID #: 1560

                                                                              84


  ·1· · relieve of duty.· It may have been a discussion,

  ·2· · but it would not have been an action I would have

  ·3· · taken.

  ·4· · Q.· · · · ·Okay.· But as long as we're going into

  ·5· · that thought process of whoever's thought process

  ·6· · it would have been, there would be a concern,

  ·7· · wouldn't there, for an officer like Sergeant

  ·8· · Moore, who's got personal supervisory authority

  ·9· · over officers of all different races and who

  10· · has -- is directing investigations, narcotics

  11· · investigations involving individuals of all

  12· · different races, there would be a concern if there

  13· · was an allegation that the department felt that

  14· · would be sustained about discrimination, racial

  15· · bias?

  16· · A.· · · · ·I would --

  17· · Q.· · · · ·Wouldn't there?

  18· · A.· · · · ·I would look at it differently.                   I

  19· · would say that the persons accused, no proof of,

  20· · accused of and being investigated making -- to use

  21· · your kind of setup -- threatening remarks.

  22· · There's opportunity, and clearly nothing had

  23· · occurred, so that would allow me to believe that

  24· · this is just hyperbole or talk, not something a


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 85 of 199 PAGEID #: 1561

                                                                              85


  ·1· · person's actually contemplating.

  ·2· · Q.· · · · ·Okay.· But putting aside the threats,

  ·3· · he was also being accused of making racially

  ·4· · discriminatory comments using the N word, using

  ·5· · descriptions like monkeys or apes to describe

  ·6· · black people, black officers.· Calling black

  ·7· · officers -- calling black people in general lazy.

  ·8· · Wouldn't that by itself, without any of the

  ·9· · threats, wouldn't that be -- itself be a concern

  10· · for leaving an officer on duty in a position where

  11· · they're supervising black officers?· Where they're

  12· · investigating black civilians?· Wouldn't that pose

  13· · a threat?

  14· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  15· · A.· · · · ·Sorry.· I will use your words, there's

  16· · an allegation.· Again, there was no evidence of

  17· · that and no current allegation that this was a

  18· · realtime activity.· This is something, according

  19· · to this timeline, four, five, six months in

  20· · advance.· There was no concern that an immediate

  21· · action needed to be taken without having facts to

  22· · support it.· Because, again, the contract requires

  23· · us to -- that an employee not suffer a career

  24· · disadvantage except for just cause.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 86 of 199 PAGEID #: 1562

                                                                              86


  ·1· · Q.· · · · ·Okay.· And I guess I'll go back to one

  ·2· · of the purposes of relieving an officer of duty is

  ·3· · in -- on an interim basis is that sometimes an

  ·4· · officer is in a position to take actions during

  ·5· · the course of an investigation that might not be

  ·6· · easy to fix later basically; that you would want

  ·7· · to prevent.· And so the department decides in

  ·8· · certain circumstances, even before an allegation

  ·9· · is actually formally sustained, that if there's a

  10· · certain level of evidence to support that conduct,

  11· · you're going to take him off duty even while the

  12· · investigation is going on?

  13· · A.· · · · ·What I said was if we have reason to

  14· · believe, a reasonable belief that there is an

  15· · imminent threat that we need to take an

  16· · intervening action on, in this case, there was

  17· · allegations from a third party who did not

  18· · personally see or hear it, overheard it from

  19· · another party about something that happened

  20· · several months in the rear.· And nothing had

  21· · happened to act on those allegations, so we had no

  22· · reason to believe it was more than idle,

  23· · inappropriate, disciplinary worthy, chatter.

  24· · Q.· · · · ·Okay.· And I want you to try -- I mean,


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 87 of 199 PAGEID #: 1563

                                                                              87


  ·1· · I'm asking you to sort of, again, even your

  ·2· · descriptions of what happened in Moore's case in

  ·3· · terms of taking him off duty or not taking him off

  ·4· · duty.· It's kind of a hypothetical scenario,

  ·5· · because you're not the person -- from everything

  ·6· · that said, you're not the person that made that

  ·7· · decision.

  ·8· · A.· · · · ·Okay.

  ·9· · Q.· · · · ·I'm asking you to be a little bit more

  10· · hypothetical than that.· I'm talking about in

  11· · general in terms of the decision-making process

  12· · that you use and the decision-making process that

  13· · the division in general uses for taking officers

  14· · off duty.· Putting aside Eric Moore -- not Eric

  15· · Moore.· I guess I'm asking whether what you're

  16· · talking about in terms of imminent threats extends

  17· · to things beyond threats to a person's physical

  18· · safety and would extend to things like a threat

  19· · that a command officer might not treat officers

  20· · under their command appropriately or might not

  21· · handle investigations of civilians appropriately.

  22· · Isn't that a consideration that can come into play

  23· · in taking an officer off duty?

  24· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 88 of 199 PAGEID #: 1564

                                                                              88


  ·1· · A.· · · · ·With the right information in realtime

  ·2· · be made aware to parties in the chain of command,

  ·3· · it may drive that action.

  ·4· · Q.· · · · ·Okay.

  ·5· · A.· · · · ·Again, in a third-party case, not this

  ·6· · specific case, if I'm confronted with information

  ·7· · that is relayed by someone else that overheard

  ·8· · someone else and there's an allegation, I would

  ·9· · wait until at least we had some corroboration

  10· · that -- that there was some truth to the matter

  11· · and that someone in the future may be impacted if

  12· · we do not act.

  13· · Q.· · · · ·Okay.

  14· · A.· · · · ·And I did -- in any case I've been

  15· · involved in, regardless of the case, I -- when I

  16· · felt that, I took that action.· If I did not have

  17· · that knowledge, then I allowed the investigation

  18· · to continue to unfold until we got to that point.

  19· · Q.· · · · ·Okay.· Let me give you a hypothetical

  20· · scenario.· And I'm not trying to represent to you

  21· · that this happened in this case by any means,

  22· · because I don't believe -- as far as I know, I

  23· · don't believe it did.

  24· · · · · · · ·Let's say you've got a command officer,


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 89 of 199 PAGEID #: 1565

                                                                              89


  ·1· · sergeant or above, who's another officer, comes to

  ·2· · you with an allegation they're making racially

  ·3· · derogatory remarks about other officers or about a

  ·4· · race in general.· And I've got a recording of this

  ·5· · officer making those remarks, this officer's using

  ·6· · the N word, this officer's calling black people

  ·7· · monkeys and apes, officer is saying that black

  ·8· · people are lazy.

  ·9· · · · · · · ·You've got a recording, so you know it

  10· · seems like a reliable recording.· You know that

  11· · the officer did what they're accused of doing.· Is

  12· · that a situation where it would be justified to

  13· · take the officer off duty while the investigation

  14· · is proceeding?

  15· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  16· · A.· · · · ·In your hypothetical, that would be

  17· · information worthy serious consideration to take

  18· · that action.· But, again, it would be a

  19· · case-by-case, fact-driven decision.

  20· · Q.· · · · ·Okay.· Is one of the reasons -- well,

  21· · first of all, let me go back.

  22· · · · · · · ·You took Sorrell off duty based on his

  23· · admission that he had done something that might be

  24· · considered criminal?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 90 of 199 PAGEID #: 1566

                                                                              90


  ·1· · A.· · · · ·Yes.

  ·2· · Q.· · · · ·What's the threat there?· What was

  ·3· · the -- what would be the reason to take them off

  ·4· · duty on an interim basis?

  ·5· · A.· · · · ·It's what's in the best interest of the

  ·6· · division.· If he self-admitted that he committed a

  ·7· · crime, that would be a theft, a theft in office,

  ·8· · theft of division equipment.· That would be

  ·9· · something I could foresee recommending termination

  10· · for if the facts play out.

  11· · · · · · · ·If I have that belief and I let him

  12· · continue working and he gets into a shooting, for

  13· · instance, of a citizen, and it comes out that I

  14· · was planning on wanting to terminate this officer

  15· · or recommend that, because of criminal conduct, if

  16· · I continue to let that person work, and as a

  17· · result this person ended up getting shot in an

  18· · unrelated incident, then that could create

  19· · liability for the city.· And part of my position

  20· · is try to limit the liability of the city.

  21· · Q.· · · · ·Okay.· So even if the crime itself

  22· · wasn't necessarily threatening to somebody's

  23· · safety, because you basically could see a

  24· · situation where the person should be fired as a


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 91 of 199 PAGEID #: 1567

                                                                              91


  ·1· · result of their admission, it puts the city in a

  ·2· · liability situation that you would feel like they

  ·3· · should be taken off duty while the investigation's

  ·4· · going forward?

  ·5· · A.· · · · ·In the fact pattern as you laid out,

  ·6· · yes.· If it was a self-admission to a criminal

  ·7· · act, it's not an allegation, then that's the time

  ·8· · I would make a decision until -- which in this

  ·9· · particular case, I did.· I had a criminal

  10· · investigation conducted.· As soon as I was

  11· · notified that this will not reach the level of

  12· · criminal burden of proof, I returned the officer

  13· · to duty.

  14· · Q.· · · · ·Okay.· Who informed you that it

  15· · wouldn't reach the level of criminal burden of

  16· · proof?

  17· · A.· · · · ·It's the subdivision chain of command.

  18· · I believe it was Deputy Chief Bash, but I believe

  19· · the inquiry, the investigation was conducted by

  20· · Sergeant Chris Bond.

  21· · Q.· · · · ·Okay.· So it was an internal CPD

  22· · determination?

  23· · A.· · · · ·Yes.

  24· · Q.· · · · ·Okay.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 92 of 199 PAGEID #: 1568

                                                                              92


  ·1· · A.· · · · ·And that does not mean there's not an

  ·2· · administrative wrongdoing.· It means this doesn't

  ·3· · reach the bar to file a criminal charge.

  ·4· · Q.· · · · ·Okay.· Once -- but once it was

  ·5· · determined that it didn't reach the bar of

  ·6· · criminal charge, immediately Sorrell was placed

  ·7· · back on duty?

  ·8· · A.· · · · ·Yes.· Because, again, at that point, I

  ·9· · don't have justification to have Officer Sorrell

  10· · suffer career disadvantage without just cause.

  11· · Because at that point, I'm being told he's not

  12· · going to be criminally charged.

  13· · Q.· · · · ·Okay.· Putting aside the criminal

  14· · nature of -- of the issue, the principle would

  15· · still apply that if you feel like you've got a

  16· · self-admission of what would qualify as critical

  17· · misconduct that is likely to result in

  18· · termination, there's still going to be a basis to

  19· · take the person off duty?

  20· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  21· · A.· · · · ·No.· The -- once the criminal aspect of

  22· · it has been removed, then the administrative

  23· · investigation will be conducted to determine

  24· · policy violation, not legal violations.· If a


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 93 of 199 PAGEID #: 1569

                                                                              93


  ·1· · policy violation is sustained and heard in a

  ·2· · departmental hearing by a -- by the chief, who has

  ·3· · the authority to recommend termination, if she, at

  ·4· · that time, would recommend termination on that,

  ·5· · then, again, termination would be on the table.

  ·6· · He would have been relieved of duty.

  ·7· · · · · · · ·In the meantime, we did not have

  ·8· · sufficient grounds to have him, in the FOP's view,

  ·9· · suffer career disadvantage without just cause.

  10· · Nothing had been sustained at that point.

  11· · Q.· · · · ·Okay.

  12· · A.· · · · ·It was a mere admin allegation.

  13· · Q.· · · · ·Was there some intervention by the FOP

  14· · to get Sorrell put back on duty, or was that just

  15· · basically once the criminal charge was not being

  16· · pursued?

  17· · A.· · · · ·I would say they probably -- I'm just

  18· · spit balling this, probably called weekly or

  19· · biweekly to say, what's going on with the criminal

  20· · case?

  21· · Q.· · · · ·Okay.· Did that factor in to your

  22· · determination to put him back on duty?· Or was it

  23· · just that would have been your decision even

  24· · without the FOP's involvement?


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 94 of 199 PAGEID #: 1570

                                                                              94


  ·1· · A.· · · · ·That would have been a decision -- once

  ·2· · I was told there was no criminal going to be

  ·3· · filed, that would have been my decision whether

  ·4· · they ever talked to me.

  ·5· · Q.· · · · ·Okay.· If you've got an investigation

  ·6· · going on and you -- well, I'm -- I don't mean you.

  ·7· · If there's an investigation, an internal affairs

  ·8· · investigation going on after an officer who's

  ·9· · within your chain of command and information comes

  10· · to your attention that the officer's doing

  11· · something to interfere with the investigation or

  12· · retaliate against officers who are involved in the

  13· · investigation, would that be a reason to consider

  14· · taking them off duty?

  15· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  16· · A.· · · · ·I'll repeat my previous answer.· It

  17· · would be a reason or a justification, but it,

  18· · again, would be fact driven.

  19· · Q.· · · · ·Okay.· Meaning you would have to be

  20· · very confident that it had happened?

  21· · A.· · · · ·Not necessarily confident that it

  22· · happened.· I would have to be briefed on what the

  23· · investigation -- what facts were known, and if

  24· · there's an ongoing threat or if there's a concern


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 95 of 199 PAGEID #: 1571

                                                                              95


  ·1· · for liability to the city if we do not take some

  ·2· · intervening action until the case was resolved.

  ·3· · Q.· · · · ·So integrity of the investigation would

  ·4· · not be a basis for taking somebody off duty if

  ·5· · they're using their command authority as a command

  ·6· · officer, at least to interfere with the

  ·7· · investigation that's going on?

  ·8· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  ·9· · A.· · · · ·I will repeat the previous answer.· It

  10· · would be a justification, but it would have to be

  11· · based on the specific facts known, not arbitrary

  12· · or capricious.

  13· · Q.· · · · ·Okay.· I guess I'm just trying to

  14· · figure out what the specific facts would have to

  15· · be to get to the point where you would consider

  16· · taking somebody off duty for interfering with an

  17· · investigation?

  18· · A.· · · · ·That's -- I guess what I'm trying to

  19· · explain is that every individual case is fact

  20· · specific.· And until you look at the facts known

  21· · in that case or the facts are being revealed in

  22· · that case at that point in time, you won't know.

  23· · It is not a policy or something you can use a

  24· · checklist on.· It is specifically driven by what


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 96 of 199 PAGEID #: 1572

                                                                              96


  ·1· · we know at the time and what we feel is the right

  ·2· · thing to do.

  ·3· · Q.· · · · ·So case by case is what you're trying

  ·4· · to say?

  ·5· · A.· · · · ·That would be a shorter way of saying

  ·6· · it.

  ·7· · Q.· · · · ·Okay.· Did Chief Jacobs -- and I think

  ·8· · we'll take a break in a couple minutes.

  ·9· · A.· · · · ·That's fine.· Use the bathroom real

  10· · quick.

  11· · Q.· · · · ·Just figure this -- you know what, I

  12· · should have said this at the beginning, but this

  13· · is not an endurance contest.

  14· · A.· · · · ·Oh, I know.

  15· · Q.· · · · ·I know we are trying to cover a lot of

  16· · ground before you have to go.

  17· · A.· · · · ·I know.· I respect that.

  18· · Q.· · · · ·But if you need a break at any point --

  19· · A.· · · · ·I can wait a few minutes --

  20· · Q.· · · · ·-- just tell me.

  21· · A.· · · · ·-- just to get rid of some water.

  22· · Q.· · · · ·Okay.· All I was going to ask is did

  23· · Chief Jacobs at any point instruct you during this

  24· · investigation to keep tabs of what was happening


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 97 of 199 PAGEID #: 1573

                                                                              97


  ·1· · in the investigation so she could make a

  ·2· · determination of whether to keep Sergeant Moore on

  ·3· · duty or not?

  ·4· · A.· · · · ·I can't say yes or no.· I don't

  ·5· · specifically recall either way.

  ·6· · Q.· · · · ·Okay.· Did she instruct you to do

  ·7· · anything with respect to this investigation?

  ·8· · A.· · · · ·Let me answer it this way:· Please keep

  ·9· · in mind there are multiple investigations going

  10· · on.· What direction she gave me on this specific

  11· · case versus the five, six, seven, ten others that

  12· · were balancing and juggling at the same time, I

  13· · can't say --

  14· · Q.· · · · ·Okay.

  15· · A.· · · · ·-- as I sit here today.

  16· · · · · · · ·MR. VARDARO:· All right.· We'll leave

  17· · that as a stopping point for a break.

  18· · · · · · · ·(A recess is taken.)

  19· · Q.· · · · ·I have a general question about what I

  20· · was just asking you about, which is Chief Jacobs

  21· · and her oversight of you during this investigation

  22· · process, which is:· During the time that you were

  23· · deputy chief for Chief Jacobs, what was her

  24· · approach to ongoing internal affairs


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 98 of 199 PAGEID #: 1574

                                                                              98


  ·1· · investigations?· Did she get updates?· Did she

  ·2· · want to know what was going on with particularly

  ·3· · large or serious investigations?

  ·4· · A.· · · · ·Since internal affairs was a direct

  ·5· · report to the chief, you would have to ask her,

  ·6· · because I don't know -- I was not included in this

  ·7· · loop.

  ·8· · Q.· · · · ·Okay.· Even when it was an

  ·9· · investigation of an officer in your chain?

  10· · A.· · · · ·What she did with people that were

  11· · direct reports to her, I don't know.· She would

  12· · have talked directly to internal affairs.· If she

  13· · did that, she would not have come to me as the

  14· · deputy chief, even if it was my chain of command,

  15· · because I didn't know what was going on typically.

  16· · Because, again, I said I tried to stay neutral and

  17· · disinterested in it.· So the investigation wasn't

  18· · impeded or interfered with or trying to steer it.

  19· · Q.· · · · ·Okay.· There was a -- part of this

  20· · obviously was an allegation that Eric Moore had

  21· · threatened the life of a couple different black

  22· · officers while he was in SRB, one of who was Eric

  23· · Cornett.· Do you remember that?

  24· · A.· · · · ·I don't remember the exact wording.


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 99 of 199 PAGEID #: 1575

                                                                              99


  ·1· · When you said threatening life, I don't remember

  ·2· · what the phrase was.

  ·3· · Q.· · · · ·Well, I -- I mean, I'll just represent

  ·4· · to you the phrase as it was described in the

  ·5· · original report was that he needed to -- referring

  ·6· · to Eric Cornett and Doug Williams, that he needed

  ·7· · to, quote, take their monkey asses out back and

  ·8· · kill them.

  ·9· · A.· · · · ·I don't remember.

  10· · · · · · · ·MR. COGLIANESE:· Objection.

  11· · Q.· · · · ·It's not material to my question.

  12· · A.· · · · ·Okay.

  13· · Q.· · · · ·You remember there was a threat against

  14· · two black officers as part of this investigation?

  15· · That was the allegation?

  16· · A.· · · · ·The allegation was -- I don't remember

  17· · the word "kill" being used, but I -- I don't

  18· · remember that.· It's been awhile.

  19· · Q.· · · · ·Okay.

  20· · A.· · · · ·But there was a threat -- or some could

  21· · interpret as a threat.

  22· · Q.· · · · ·And strictly I'm asking you this as the

  23· · background to the real question I want to ask,

  24· · which is:· Do you remember that one of the


              Realtime - Videoconferencing - Trial Presentation - Video
                        Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 100 of 199 PAGEID #: 1576

                                                                              100


   ·1· · officers who was threatened in some way was Eric

   ·2· · Cornett?

   ·3· · A.· · · · ·I believe so.· I don't specifically

   ·4· · recall the details, but I believe so.

   ·5· · Q.· · · · ·Right.· And that may be an answer to

   ·6· · the next question I have.· Do you remember at some

   ·7· · point Eric Cornett asked to speak with Chief

   ·8· · Jacobs about the threat that he had learned had

   ·9· · been made against him?

   10· · A.· · · · ·Sounds vaguely familiar, but I don't

   11· · recall the specifics.

   12· · Q.· · · · ·Okay.· Do you remember one way or the

   13· · other if you actually had a conversation with Eric

   14· · Cornett about the threat and his request to speak

   15· · with Chief Jacobs?

   16· · A.· · · · ·I may have, but I don't recall the

   17· · specifics.

   18· · Q.· · · · ·Okay.· And that as part of that Eric --

   19· · you actually were in a phone call with Eric

   20· · Cornett where you then put Chief Jacobs on the

   21· · line and talked to him about the threat and the

   22· · precautions that were being taken?

   23· · A.· · · · ·It's quite -- I'm sorry.

   24· · Q.· · · · ·Your safety is also important to us, so


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 101 of 199 PAGEID #: 1577

                                                                              101


   ·1· · I do want to make sure you don't choke in the

   ·2· · middle of the deposition.· I would feel

   ·3· · responsible for that.

   ·4· · A.· · · · ·I apologize.

   ·5· · · · · · · ·That certainly sounds familiar.

   ·6· · Q.· · · · ·Okay.

   ·7· · A.· · · · ·That certainly sounds familiar.

   ·8· · Q.· · · · ·What would have been the circumstance

   ·9· · there where an officer was asking to speak to the

   10· · chief about something like that and you would have

   11· · been involved in it?

   12· · A.· · · · ·By policy, any officer is allowed to

   13· · request to speak to the chief.· It's up to the

   14· · chief whether to grant the request.

   15· · Q.· · · · ·Okay.· But why would the deputy chief

   16· · be involved in that?

   17· · A.· · · · ·The request must go through the chain

   18· · of command.

   19· · Q.· · · · ·Okay.· All right.· And then the

   20· · other -- the other question I have about Chief

   21· · Jacobs in this investigation is there was a --

   22· · there was a point during this process where

   23· · Sergeant Decker had asked for permission to do a

   24· · polygraph examination of Sergeant Moore regarding


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 102 of 199 PAGEID #: 1578

                                                                              102


   ·1· · a couple of different allegations that Officer

   ·2· · Sorrell had made?

   ·3· · A.· · · · ·He may have.

   ·4· · Q.· · · · ·Were you involved at all in determining

   ·5· · whether or not a polygraph would be conducted?

   ·6· · A.· · · · ·Not that I recall.· The -- that's

   ·7· · typically something the chief, by contract, has to

   ·8· · order.

   ·9· · Q.· · · · ·Okay.· And I -- we do have records

   10· · indicating that Chief Jacobs told Commander Knight

   11· · that there would be no polygraph authorized in

   12· · this situation, and so I'm just trying to refresh

   13· · your recollection as to whether or not you were

   14· · involved in any discussions with the chief about

   15· · that?

   16· · A.· · · · ·Not that I recall.

   17· · Q.· · · · ·Okay.· At the conclusion of this

   18· · investigation, your -- well, first of all, as a

   19· · general matter, any time -- any time there's a

   20· · disciplinary charge against somebody or

   21· · departmental charges, I'm actual -- maybe you can

   22· · clarify for me.· What is the deputy chief's role

   23· · in reviewing a completed internal affairs

   24· · investigation?


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 103 of 199 PAGEID #: 1579

                                                                               103


   ·1· · A.· · · · ·The role of the deputy chief is to make

   ·2· · a final disposition of whether the allegation is

   ·3· · sustained or not.· And if it is sustained, what

   ·4· · level discipline should occur.· If it is anything

   ·5· · above what's called documented constructive

   ·6· · counseling, the deputy chief must take it to the

   ·7· · chief of police and get permission to issue a

   ·8· · written reprimand or file departmental charges.

   ·9· · The professional standards bureau lieutenant will

   10· · decide what charges will be filed.

   11· · Q.· · · · ·Okay.· And we've seen documents in this

   12· · case indicating that you were the deputy chief who

   13· · made those determinations with respect to the Eric

   14· · Moore, Wes Sorrell investigation?

   15· · A.· · · · ·Okay.

   16· · Q.· · · · ·Does that sound right?

   17· · A.· · · · ·I -- partially.· I would have only made

   18· · decisions on the disposition for the allegation

   19· · that occurred while under my chain of command.                    I

   20· · recall there was some additional allegations made

   21· · under the narcotics chain of command and I

   22· · forwarded it to that chain of command to decide on

   23· · those issues.

   24· · Q.· · · · ·I'm handing you what's been previously


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 104 of 199 PAGEID #: 1580

                                                                              104


   ·1· · marked -- what's previously been marked as

   ·2· · Plaintiff's Exhibit 41, which is a number of

   ·3· · collected documents about this investigation at

   ·4· · the conclusion of it.· And I want you to turn

   ·5· · particularly to the last few pages, which -- which

   ·6· · is -- well, at the -- actually the last, let's say

   ·7· · seven pages of this are a memo addressed to you

   ·8· · from Commander Knight dated September 28th, 2015?

   ·9· · A.· · · · ·Curmode you mean?

   10· · Q.· · · · ·No, from Commander Knight.

   11· · · · · · · ·MR. COGLIANESE:· Which page are you on?

   12· · Q.· · · · ·It's -- there are Bates stamp -- thank

   13· · you, Rich.

   14· · · · · · · ·It's starting on Bates stamped pages

   15· · 014421?

   16· · A.· · · · ·Yes.· I have it now, sir.

   17· · Q.· · · · ·At the end of the document, the very

   18· · last page of Exhibit 41, Bates stamped page

   19· · 014427, it says, deputy chief signature, and I

   20· · assume that's your signature?

   21· · A.· · · · ·Yes.

   22· · Q.· · · · ·And throughout that document, there are

   23· · handwritten notes next to deputy chief's

   24· · determination.


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 105 of 199 PAGEID #: 1581

                                                                              105


   ·1· · A.· · · · ·Okay.

   ·2· · Q.· · · · ·And I want you to go through this

   ·3· · document and tell me if there's any other deputy

   ·4· · chief that you see making any determinations on

   ·5· · these charges?

   ·6· · A.· · · · ·Not on these -- I'm sorry, there is.

   ·7· · Okay.· You want me to go through them from the

   ·8· · beginning?

   ·9· · Q.· · · · ·Yeah.· I think -- I think we need to do

   10· · that in this situation unless you -- well, I guess

   11· · I'll direct you to a couple particular ones.

   12· · There's allegations numbered Roman numerals I

   13· · through XXI against Eric Moore.

   14· · · · · · · ·MR. COGLIANESE:· Just objection for

   15· · purposes of the record.· And the pages that you're

   16· · pointing him to actually start in allegation

   17· · three.

   18· · Q.· · · · ·Oh, interesting.· Sure.· Let's go with

   19· · there's -- there's Roman numerals of charges that

   20· · refer to Eric Moore, and the earliest one, as Rich

   21· · points out, seems to be allegation three, and then

   22· · it goes all the way up through allegation 21 on

   23· · page 5 of the document.

   24· · A.· · · · ·Let me look back for a second at


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 106 of 199 PAGEID #: 1582

                                                                              106


   ·1· · something else.

   ·2· · · · · · · ·MR. COGLIANESE:· And, again, just for

   ·3· · purposes of the record, actually there are some

   ·4· · numbers that are skipped in there as well.

   ·5· · Q.· · · · ·Does it -- just to clarify this, would

   ·6· · it match your recollection and what you're seeing

   ·7· · in this document that these allegations are

   ·8· · grouped against three different officers, Moore,

   ·9· · Sorrell, Kemmerling like we talked about earlier?

   10· · And they are somewhat out of order because they're

   11· · grouped by which officer they're against rather

   12· · than put in numerical order?

   13· · A.· · · · ·That would be correct.

   14· · Q.· · · · ·Okay.· Like allegations 1 and 2 are

   15· · against -- 1, 2, 11, 13 and 18 are against

   16· · Sorrell?

   17· · A.· · · · ·That is correct.

   18· · Q.· · · · ·Allegation 15 is against Kemmerling?

   19· · A.· · · · ·Yes.

   20· · Q.· · · · ·And then all the rest of them are

   21· · against Moore?

   22· · A.· · · · ·Yes.

   23· · Q.· · · · ·And all of that is a long windup to

   24· · saying, there's some allegations on the fifth page


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 107 of 199 PAGEID #: 1583

                                                                              107


   ·1· · of this portion of the document, Bates stamp

   ·2· · 014425, allegation 20 has to do with Eric Moore

   ·3· · not following an order from Commander Cameron?

   ·4· · A.· · · · ·Yes.

   ·5· · Q.· · · · ·And then the page before that there's

   ·6· · allegation 19 that says Eric Moore did not fairly

   ·7· · and equitably fill a narcotics bureau assignment

   ·8· · vacancy?

   ·9· · A.· · · · ·Correct.

   10· · Q.· · · · ·And I guess I'm trying to figure out,

   11· · is it -- there's a -- there's some initials there?

   12· · A.· · · · ·Yes.

   13· · Q.· · · · ·Are those your initials?

   14· · A.· · · · ·No.

   15· · Q.· · · · ·Whose initials are they?

   16· · A.· · · · ·Can't tell, but it would be somebody in

   17· · the narcotics chain of command.

   18· · Q.· · · · ·Is it possible it would be Deputy Chief

   19· · Gray or would it be somebody else?

   20· · A.· · · · ·I see Terry Moore on here.· If he was

   21· · acting deputy chief, it could have been Terry

   22· · Moore.· Looking at the initial -- the initials,

   23· · doesn't look like it would be Gray.· Could have

   24· · been Mike Woods.· I don't know if that's a W.                    I


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 108 of 199 PAGEID #: 1584

                                                                              108


   ·1· · don't know.

   ·2· · · · · · · ·But, again, those were allegations that

   ·3· · were in a different chain of command, so I ruled

   ·4· · on -- as I recall it, I ruled on the ones that you

   ·5· · see my handwriting and I signed off on.· And then

   ·6· · I handed the entire case over to the narcotics

   ·7· · chain of command, which I believe was possibly

   ·8· · Mike Woods at that point, and that he made the

   ·9· · final dispositions on those that occurred while

   10· · assigned under his command.

   11· · Q.· · · · ·Okay.· And after you signed this

   12· · document for the -- I mean, was this forwarded to

   13· · Chief Jacobs?

   14· · A.· · · · ·No.

   15· · Q.· · · · ·What happens after you sign this

   16· · document?

   17· · A.· · · · ·So the deputy chief makes the decision

   18· · on whether the policy violation occurred.· As the

   19· · allegation specified, you know, 7, 8, 9.· If we

   20· · sustain it -- if the deputy chief sustains it, the

   21· · deputy chief would identify which rule of conduct

   22· · or work rule is being cited.· And then they'll

   23· · decide what the level of charge -- what the level

   24· · of discipline is.


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 109 of 199 PAGEID #: 1585

                                                                              109


   ·1· · · · · · · ·If it's a DCC, as you see on some of

   ·2· · these, they're allowed to make that decision at

   ·3· · their level.· Or if it's a written reprimand as a

   ·4· · result of progressive discipline, they can issue a

   ·5· · written reprimand.· If it's bypass and progressive

   ·6· · and going to a written or a departmental charges,

   ·7· · it must go to the chief of police.· Which if you

   ·8· · notice on the back sheet, 014408 of the routing

   ·9· · sheet, it states that I have discussed this with

   10· · the chief at executive staff and with PSB on

   11· · different occasions, the last one being 2/25/16,

   12· · and the chief approved bypassing progressive

   13· · discipline and filing departmental charges as

   14· · noted.· And then I forward it to professional

   15· · standards to have them create the charges and

   16· · specifications.

   17· · Q.· · · · ·Okay.

   18· · A.· · · · ·That's the process.

   19· · Q.· · · · ·All right.· And it's possible that it's

   20· · in some document that I'm not seeing, but the --

   21· · can you tell from the routing sheet at the front

   22· · of this Plaintiff's Exhibit 41, the first page and

   23· · the attachment on the back, was this routing sheet

   24· · strictly about the -- the SRB faced charges


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 110 of 199 PAGEID #: 1586

                                                                              110


   ·1· · against Moore and Sorrell and Kemmerling or did

   ·2· · this cover the whole investigation, including the

   ·3· · stuff that happened while Moore was in narcotics?

   ·4· · A.· · · · ·This appears that it would have been

   ·5· · inclusive of both chains of command investigation

   ·6· · findings, because it has Commander Curmode's

   ·7· · letter outlining the allegations pertinent to that

   ·8· · chain of command, and Lieutenant Brust's letter

   ·9· · outlining the allegations unique to the narcotics

   10· · chain of command.

   11· · Q.· · · · ·Okay.· And same question as before:· Do

   12· · you see any other deputy chief's signature on here

   13· · or initials or comments?

   14· · A.· · · · ·I see the initials on the cover sheet

   15· · from IAB that we already discussed.

   16· · Q.· · · · ·I'm sorry, did you say you do or you

   17· · don't see initials?

   18· · A.· · · · ·I said on the cover -- this is called

   19· · the cover sheet.

   20· · Q.· · · · ·Oh, I see.

   21· · A.· · · · ·So this is -- this has the initials on

   22· · the 19 and 20 allegations.· That's a different

   23· · chain of command.· And I'm reasonably certain that

   24· · would have been Mike Woods, because as you notice


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 111 of 199 PAGEID #: 1587

                                                                              111


   ·1· · here, it goes through Lieutenant Brust and

   ·2· · Commander Terry Moore, just like it went through

   ·3· · Commander Curmode, then to me.· Because it goes

   ·4· · through the other chain -- through the commanders,

   ·5· · then to me.· I sent it over to PSB for a just

   ·6· · cause review.· They confirmed just cause.· I took

   ·7· · it to the chief, she approved departmental

   ·8· · charges.· And that's where I made my final finding

   ·9· · on here.

   10· · · · · · · ·So what -- what I would have assumed

   11· · happened just based on practice with other cases

   12· · is I ruled on mine, sent it over to the chain.

   13· · The deputy chief there has a routing sheet that

   14· · shows what the lieutenant and the commander wanted

   15· · and signed off on it, on the allegation pertinent

   16· · to that chain of command to make the ruling for

   17· · that chain of command.

   18· · · · · · · ·And, again, I certainly would have

   19· · preferred that there either be initials and a

   20· · badge number or a name legible.· But in this case,

   21· · there's not.· That doesn't make it any less

   22· · binding that the -- that they go to a different

   23· · chain of command.· You can clearly see it's

   24· · different handwriting than anybody else's.· You


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 112 of 199 PAGEID #: 1588

                                                                              112


   ·1· · can see Terry Moore's handwriting on here, you can

   ·2· · see Lieutenant Brust's handwriting, Commander

   ·3· · Curmode's and mine.· Clearly somebody else's

   ·4· · handwriting, probably Deputy Chief Woods or

   ·5· · possibly Gray, but I don't think so.· And -- well,

   ·6· · this actually didn't come through until 2016, so

   ·7· · it would have been Mike Woods.

   ·8· · · · · · · ·So he signed off on his portion,

   ·9· · returned it to me, and that's when I took it to

   10· · the chief.· Because his, if you notice, both the

   11· · ones he signed off on the DCC on the two

   12· · allegations, which he had the authority to issue

   13· · at his level without chief of police review and

   14· · approval.· So he ordered the DCCs, and that was

   15· · the final disposition.· No further review needed

   16· · on those allegations.· He had the authority to

   17· · issue the DCC.· The only thing that needed to go

   18· · to the chief were my allegations that I sustained

   19· · and wanted departmental charges on.

   20· · Q.· · · · ·Okay.· Certainly in a case where the

   21· · deputy chief approves a DCC, if the chief's got it

   22· · in front of her, she's got the authority to say, I

   23· · want you to look at this harder and think about

   24· · departmental charges on this?


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 113 of 199 PAGEID #: 1589

                                                                              113


   ·1· · A.· · · · ·She has the authority to do that.

   ·2· · Q.· · · · ·Okay.· I mean, you've seen cases where

   ·3· · she did that?

   ·4· · A.· · · · ·I have, yes.

   ·5· · Q.· · · · ·Okay.

   ·6· · A.· · · · ·Yeah.

   ·7· · Q.· · · · ·And that by itself was not in those

   ·8· · cases that you saw, it wasn't like the FOP could

   ·9· · just come in and say, no, the chief overruled the

   10· · deputy chief on the DCC and took it to

   11· · departmental charges and so we're grieving it just

   12· · on that basis?

   13· · A.· · · · ·What I can say -- I'm not really clear

   14· · exactly on the question, but what I can say, and

   15· · you can correct me if I'm misinterpreting the

   16· · question, is that the deputy chief on allegation

   17· · 19 and 20 would have conferred, in all likelihood,

   18· · with Lieutenant Lokai and made sure that the

   19· · comparables for this violation would have been

   20· · supported by this level of discipline.

   21· · · · · · · ·And if he, I assume, got confirmation

   22· · of that, because he did rule that way if the

   23· · lieutenant said, no, no, no, this has to go to

   24· · departmental charges, then I'm assuming he would


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 114 of 199 PAGEID #: 1590

                                                                              114


   ·1· · have sent that to the chief.

   ·2· · Q.· · · · ·Okay.· We talked a little bit about at

   ·3· · the very beginning actually about -- well, maybe

   ·4· · not the very beginning, we talked about Sergeant

   ·5· · Decker's belief that Sergeant Moore was untruthful

   ·6· · to him during the investigation about the subject

   ·7· · matter of the investigation and --

   ·8· · A.· · · · ·(Indicates affirmatively.)

   ·9· · · · · · · ·MR. COGLIANESE:· Yes?

   10· · A.· · · · ·Yes.

   11· · Q.· · · · ·-- some of the -- actually, all of that

   12· · alleged untruthfulness that Sergeant Decker

   13· · believed he had found occurred while Sergeant

   14· · Moore was in the narcotics chain of command,

   15· · because the investigation didn't even start until

   16· · after he left SRB, right?

   17· · A.· · · · ·I'm not -- I have to think through

   18· · exactly the sequence.

   19· · Q.· · · · ·I'll withdraw the question.

   20· · · · · · · ·But I will represent to you none of

   21· · this investigative activity happened until

   22· · Sergeant Moore was in narcotics.· And he certainly

   23· · wasn't interviewed by Ken Decker until he was in

   24· · narcotics, right?


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 115 of 199 PAGEID #: 1591

                                                                              115


   ·1· · A.· · · · ·Yes.· What I can say is I don't know

   ·2· · if -- without looking in more detail whether he

   ·3· · was charged with lying to internal affairs that

   ·4· · occurred while he was assigned then to that chain

   ·5· · of command or if the untruthfulness were limited

   ·6· · to the unique allegations that were predated that.

   ·7· · Q.· · · · ·Well, what Decker was telling you in

   ·8· · the meeting that you described at headquarters was

   ·9· · what was that he was being lied to by Sergeant

   10· · Moore, basically every word out of his mouth was a

   11· · lie in the interviews that he conducted.

   12· · A.· · · · ·As I recall, yes.

   13· · Q.· · · · ·And I guess I'm just asking you sort of

   14· · a jurisdictional technical question, which is:

   15· · Sergeant Moore was in narcotics at the time that

   16· · he was allegedly lying to Ken Decker.· So my

   17· · question is:· Would that have been considered a

   18· · narcotics issue or an SRB issue?

   19· · A.· · · · ·If the chief directed internal affairs,

   20· · which she had direct supervisory oversight on, to

   21· · make that a new allegation, that would have been

   22· · dispositioned by narcotics --

   23· · Q.· · · · ·Okay.

   24· · A.· · · · ·-- not me, because the lie occurred at


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 116 of 199 PAGEID #: 1592

                                                                              116


   ·1· · that time.

   ·2· · Q.· · · · ·Okay.· And if you take a look at 41 --

   ·3· · Exhibit 41, the last -- I think it's on page --

   ·4· · page 3 of that cover sheet, it's 014423 at the

   ·5· · bottom.

   ·6· · A.· · · · ·Yes.

   ·7· · Q.· · · · ·Allegation 9 is that Sergeant Eric

   ·8· · Moore was deceptive during the internal affairs

   ·9· · investigation.

   10· · A.· · · · ·Yes.

   11· · Q.· · · · ·And you have -- I think it's your

   12· · handwriting --

   13· · A.· · · · ·Yes.

   14· · Q.· · · · ·-- that says sustained and there's no

   15· · initials?

   16· · A.· · · · ·Correct.

   17· · Q.· · · · ·So that's your finding?

   18· · A.· · · · ·Yes.

   19· · Q.· · · · ·Can you explain why you would have been

   20· · the one to make that finding considering that, you

   21· · know, by its nature, that conduct occurred while

   22· · he was outside of your chain of command?

   23· · A.· · · · ·Again, it was a complex investigation.

   24· · What happened here was I directed the


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 117 of 199 PAGEID #: 1593

                                                                              117


   ·1· · investigation into allegations A.· He lied about

   ·2· · the specific information being asked about

   ·3· · allegations A during his time in SRB.· And that's

   ·4· · what he was lying about.· So it came to me to

   ·5· · decide whether -- whether he was going to be

   ·6· · charged with untruthfulness about the original

   ·7· · investigation.

   ·8· · Q.· · · · ·I'm not sure I completely understood

   ·9· · that.

   10· · · · · · · ·You're saying basically because the

   11· · allegations that he was found to have lied about

   12· · were allegations involving SRB, it was under your

   13· · authority to sustain or not sustain those

   14· · allegations?

   15· · A.· · · · ·Either chain of command, in essence,

   16· · we're both the same rank, could have made that

   17· · decision.· What the lie was about, although in a

   18· · different chain of command, we typically send

   19· · everything that stems from time you're in one

   20· · chain of command, everything related, encapsulated

   21· · by that comes back to the chain of command where

   22· · it occurred at the time.· The allegations that

   23· · occurred while he was in narcotics were

   24· · allegations that narcotics chain of command rules


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 118 of 199 PAGEID #: 1594

                                                                              118


   ·1· · on.

   ·2· · · · · · · ·If you lie about the conduct or the

   ·3· · information you provide is untruthful about what

   ·4· · you're being investigated for that I directed the

   ·5· · investigation to occur, it would come back to me

   ·6· · to make that determination.

   ·7· · Q.· · · · ·Okay.· Do you remember what it was that

   ·8· · Eric -- that you sustained Eric Moore lying about?

   ·9· · A.· · · · ·That was one of the issues that I had

   10· · concerns on the investigation is that it was

   11· · difficult to connect the dots.· So one of the

   12· · things I think the arbitrator ultimately ruled on,

   13· · I don't remember the arbitration decision, but it

   14· · wasn't the facts are -- that that water bottle is

   15· · unopened and he said the water bottle was half

   16· · empty, that would be -- you could connect the dots

   17· · and say, that's a lie, you know that.

   18· · · · · · · ·I don't remember that we were able to

   19· · show concretely how we could show that was a lie.

   20· · We just knew it to be untrue to the satisfaction

   21· · clear and convincing to an arbitrator.

   22· · Q.· · · · ·Do you remember what the subject matter

   23· · was, though?

   24· · A.· · · · ·I don't.· Like I said, everything that


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 119 of 199 PAGEID #: 1595

                                                                              119


   ·1· · he was asked was a spin, if you will, that's not

   ·2· · truthful.· I wasn't in the IA interviews, so I

   ·3· · don't recall that, but I was in on the chief's

   ·4· · hearing.· And in the chief's hearing, everything

   ·5· · he said was not believable.

   ·6· · · · · · · ·So that's where I could understand why

   ·7· · it was so confusing.· That we're trying to ask

   ·8· · about this, we know this to be true, not because

   ·9· · he's saying the opposite, he's given some

   10· · explanation why that bottle would look half empty

   11· · to him.· We know it's not, but in his mind, it was

   12· · so convoluted, we knew he wasn't being open and

   13· · honest.· But it was hard to show that it was a

   14· · concrete lie.

   15· · Q.· · · · ·Okay.· Can you tell me what your

   16· · process was in drawing the conclusions that you

   17· · drew on these allegations once Decker presented

   18· · them to you?

   19· · A.· · · · ·Process was to read the investigation,

   20· · formulate a general understanding of what we can

   21· · corroborate, send it to professional standards,

   22· · have the just cause review done, which is the

   23· · seven steps I discussed.· And which the key one

   24· · there is to make sure there's proof of the


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 120 of 199 PAGEID #: 1596

                                                                              120


   ·1· · allegation.

   ·2· · · · · · · ·They advise me on what they feel the

   ·3· · charges should be.· Like some of these that you

   ·4· · notice on Eric Moore, and this was key on

   ·5· · allegation 9 that you mentioned, Sergeant Eric

   ·6· · Moore was deceptive during an internal affairs

   ·7· · investigation.· I sustained it, but internal

   ·8· · affairs recommended rule conduct 1.15(a)5, which

   ·9· · is requirement to be truthful at all times.· As

   10· · you see, I changed it to rule of conduct 1.36,

   11· · which is unbecoming conduct.

   12· · · · · · · ·We -- because his answers were so

   13· · unintelligible, I don't know how else to say it,

   14· · we could not say we know A to be true, he said B,

   15· · we can prove B is false.· It was so convoluted,

   16· · the best we could say is he was impeding the

   17· · investigation by not giving direct answers.· So

   18· · that's unbecoming conduct.

   19· · Q.· · · · ·Okay.· And I just want to step back to

   20· · the question, because you answered it and then you

   21· · gave me an example, but I want to step back to the

   22· · answer.· You said the first step was to read the

   23· · investigation.· The investigation materials, as I

   24· · understand them from Sergeant Decker, consisted of


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 121 of 199 PAGEID #: 1597

                                                                              121


   ·1· · first the IAB summary, which was something like

   ·2· · 200 pages long by itself?

   ·3· · A.· · · · ·Yes.

   ·4· · Q.· · · · ·I see an eye roll there.

   ·5· · A.· · · · ·Yes.

   ·6· · Q.· · · · ·So we'll get into that in a second.

   ·7· · · · · · · ·That it also had, as I think you

   ·8· · referenced earlier, probably a thousand pages or

   ·9· · more of supporting materials?

   10· · A.· · · · ·Correct.

   11· · Q.· · · · ·And I just want to get a sense of what

   12· · of that you actually looked at in reaching these

   13· · conclusions.

   14· · A.· · · · ·I would have looked at all of it

   15· · scanning for information that was pertinent to the

   16· · allegations I'm trying to decide on.· That's not

   17· · to say I would have read every verbatim

   18· · transcript.· I would have looked at this portion

   19· · of the IAB summary, and if there's page references

   20· · in there, if there's something I wanted to see

   21· · what the full context was, maybe what the

   22· · statement was before or after it, I would go and

   23· · read that section of the transcript to make sure

   24· · it was not being mischaracterized.


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 122 of 199 PAGEID #: 1598

                                                                              122


   ·1· · Q.· · · · ·Okay.· Did you find any instances where

   ·2· · you felt like Sergeant Decker had mischaracterized

   ·3· · his -- what he wrote in the summary?

   ·4· · A.· · · · ·Again, I did not find what I thought to

   ·5· · be mischaracterizations.· I felt his frustration,

   ·6· · where you could not get a straight, intelligible

   ·7· · answer from the sergeant, which means, in my

   ·8· · opinion, he was impeding the investigation.

   ·9· · Q.· · · · ·Okay.· Obviously the 208-page

   10· · investigative summary consisted of some

   11· · allegations under your chain of command and some

   12· · allegations that were not.· Did you skip the

   13· · allegations that were not in your chain of command

   14· · or did you read them for context?· Or did you do

   15· · something in between those things?· What did you

   16· · do?

   17· · A.· · · · ·The summary, then I read the context of

   18· · a full appreciation of what was discovered.· My

   19· · decision-making would have been based on those

   20· · that I had authority over.

   21· · Q.· · · · ·Okay.· Is it fair to say that there are

   22· · some investigations where you might treat an

   23· · allegation, a particular allegation differently

   24· · because of the surrounding allegations?· Like if


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 123 of 199 PAGEID #: 1599

                                                                              123


   ·1· · there's a pattern of conduct, it might make it

   ·2· · more serious than if it's just one isolated

   ·3· · incident?

   ·4· · A.· · · · ·That's possible to happen.

   ·5· · Q.· · · · ·Okay.· The --

   ·6· · · · · · · ·THE WITNESS:· Can I go off the record

   ·7· · for one second?

   ·8· · Q.· · · · ·Is there some reason we need to go off

   ·9· · the record?

   10· · A.· · · · ·I'm sorry, I -- can I go off the

   11· · record?

   12· · · · · · · ·MR. VARDARO:· Sure.

   13· · · · · · · ·(A discussion is held off the record.)

   14· · Q.· · · · ·Is it -- I'll try to ask my last

   15· · question in a clearer way.

   16· · · · · · · ·Actually, you -- I think you answered

   17· · it.· So in a wide-ranging investigation like this

   18· · one, it -- I think it would be -- it would have

   19· · been maybe unwise for you not to read the whole

   20· · investigation so that you could at least see

   21· · whether maybe some of the things that Sergeant

   22· · Moore was being accused of in SRB had either

   23· · carried over into narcotics or were part of a

   24· · pattern that crossed over both chains of command,


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 124 of 199 PAGEID #: 1600

                                                                              124


   ·1· · so it -- I mean, does that make sense?

   ·2· · A.· · · · ·I would say that I reviewed it at the

   ·3· · time enough to have a flavor of or a good feeling

   ·4· · of what the gravity of the misconduct was.

   ·5· · Q.· · · · ·Okay.· In -- did you listen to any of

   ·6· · the interviews?

   ·7· · A.· · · · ·Not the -- not the verbal --

   ·8· · Q.· · · · ·Okay.

   ·9· · A.· · · · ·-- recording.

   10· · Q.· · · · ·Okay.· But you read some of the

   11· · interview summaries just to spot check?

   12· · A.· · · · ·Yes, I did.

   13· · Q.· · · · ·Okay.· Did you review any of the other

   14· · supporting materials, documents about equipment

   15· · and things like that?

   16· · A.· · · · ·As I said, I reviewed everything that

   17· · was encompassing the investigation.· To the level

   18· · that I read through word for word, I can't state

   19· · that that occurred.· Because there was a lot of

   20· · documents that are -- that you recognize them on

   21· · their face what they are and know that there's not

   22· · something there that you have to dial down into.

   23· · Q.· · · · ·Okay.· You mentioned in your note on

   24· · the routing sheet that's in Exhibit 41 that you


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 125 of 199 PAGEID #: 1601

                                                                              125


   ·1· · had executive staff discussions of this case?

   ·2· · A.· · · · ·Yes, sir.

   ·3· · Q.· · · · ·Would that have included the deputy

   ·4· · chief over narcotics as well --

   ·5· · A.· · · · ·Yes.

   ·6· · Q.· · · · ·-- as --

   ·7· · A.· · · · ·Yes, sir.

   ·8· · Q.· · · · ·Okay.· And it would also have included

   ·9· · the chief?

   10· · A.· · · · ·Yes.

   11· · Q.· · · · ·And professional standards?

   12· · A.· · · · ·The commander of professional standards

   13· · is present.· The discipline grievance liaison

   14· · lieutenant is not.

   15· · Q.· · · · ·Okay.· Who was the commander of PSB?

   16· · A.· · · · ·Commander Kelly Weiner.· In 2016 it

   17· · probably was Commander Weiner, but I don't recall.

   18· · We've had -- Commander Moore was at one point

   19· · before he went to narcotics, I believe.· I don't

   20· · remember, though, the changes.

   21· · Q.· · · · ·Okay.· Was part of the discussion in

   22· · the executive staff about this case which charges

   23· · would or would not be escalated to departmental

   24· · charges?


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 126 of 199 PAGEID #: 1602

                                                                              126


   ·1· · A.· · · · ·No.

   ·2· · Q.· · · · ·Okay.· What was the -- go ahead.

   ·3· · A.· · · · ·Basically what the discussion is is

   ·4· · I've received the case, I reviewed it, I've sent

   ·5· · it to professional standards for a just cause

   ·6· · review.· They found just cause for the sustained

   ·7· · allegations that would -- that I would request

   ·8· · departmental charges for, because they're critical

   ·9· · misconduct.

   10· · · · · · · ·The chief may ask some questions where

   11· · I give her a general update on what the nature of

   12· · it is.· And, I mean, this would all occur in five

   13· · minutes.· And then she would say, go ahead and

   14· · file departmental charges.· It's up to the

   15· · discipline grievance liaison lieutenant to

   16· · actually craft the charges by charge and

   17· · specification, bring it to me to look at and make

   18· · some language suggestions or changes if I see

   19· · anything.· And then once it's finalized, they take

   20· · it to the chief for a hearing date and a

   21· · signature.

   22· · Q.· · · · ·Okay.· Sergeant Decker indicated to us

   23· · that there was a draft of his investigation prior

   24· · to the one that was forwarded to the chain of


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 127 of 199 PAGEID #: 1603

                                                                              127


   ·1· · command, and it was probably another 100 pages

   ·2· · beyond the 200-page summary.

   ·3· · A.· · · · ·Okay.

   ·4· · Q.· · · · ·Did you see the longer draft?

   ·5· · A.· · · · ·I remember having a conversation -- I

   ·6· · don't know that I saw it.· I believe Commander

   ·7· · Knight, in her role of reviewing it, directed him

   ·8· · to streamline it.· And, in fact, because you asked

   ·9· · me this question before, it's entirely possible --

   10· · again, it's just hard to remember five years ago,

   11· · but it's entirely possible I had a conversation

   12· · with Commander Knight about concerns I had about

   13· · the packet prepared by Sergeant Decker.· And that

   14· · she told him to pare it down, because I remember

   15· · having a conversation, as I said, I remember

   16· · sitting in my office across from my desk and

   17· · telling him that the problem we need is we know A

   18· · to be true, he said B, here's how we can prove B

   19· · is a lie to charge him with untruthfulness.

   20· · · · · · · ·That's the reason I ultimately went

   21· · with unbecoming conduct versus untruthfulness.

   22· · The investigation -- I tried to explain to

   23· · Sergeant Decker that the investigation, more is

   24· · not always better, I guess is the easiest way to


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 128 of 199 PAGEID #: 1604

                                                                              128


   ·1· · say it.· 200 pages, 300 pages doesn't always sum

   ·2· · up what could be maybe said in 25 pages, so to

   ·3· · speak.· It's who reads verbatim 200 pages when you

   ·4· · have everything else on your desk at the same

   ·5· · time?· You look for -- I don't want to go into a

   ·6· · lot of detail.· I usually try to tell anybody,

   ·7· · especially deputy chiefs, are content driven, time

   ·8· · pressed and decision focused.

   ·9· · · · · · · ·All the supplementary verbatim

   10· · transcripts can support that if I need to prove

   11· · something.· In the IA summary, I need to know the

   12· · nuts and bolts.· Again, content focused, time

   13· · pressed, decision focused.· Tell me what I need to

   14· · know to make a decision if you can do it in 20

   15· · pages, don't do it in 200.

   16· · Q.· · · · ·So I take it that you're telling me you

   17· · don't remember one way or the other whether you

   18· · saw the longer draft?

   19· · A.· · · · ·I do not recall that I saw the longer

   20· · draft.· I knew there was direction given to pare

   21· · it down.

   22· · Q.· · · · ·Were you aware that the longer draft

   23· · from Sergeant Decker included additional sustained

   24· · allegations compared to the shorter draft?


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 129 of 199 PAGEID #: 1605

                                                                              129


   ·1· · A.· · · · ·I can tell you I would not have read

   ·2· · the longer draft, so I would not necessarily know

   ·3· · anything about that, other than what I was briefed

   ·4· · on, and I don't recall what the briefing included.

   ·5· · Q.· · · · ·Okay.· When you say you were briefed on

   ·6· · it, briefed by Decker or Knight?

   ·7· · A.· · · · ·Verbally by Sergeant Decker in my

   ·8· · office, give me an update on it and lay out kind

   ·9· · of the overall picture.

   10· · Q.· · · · ·Okay.· The issue of Sergeant Moore

   11· · using racially derogatory terms was under your

   12· · chain of command, correct?

   13· · A.· · · · ·It would have occurred -- regardless of

   14· · when it was reported, it would have occurred while

   15· · under my chain of command.

   16· · Q.· · · · ·Okay.· And the finding on that was a

   17· · sustained allegation of -- it would have been

   18· · allegation 16, which is on page 4 of that cover

   19· · sheet.· The finding was a sustained allegation

   20· · under rule of conduct 1.15(a)1, which has to do

   21· · with being courteous to other officers; is that

   22· · right?

   23· · A.· · · · ·That's the -- 115 is be courteous at

   24· · all times.


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 130 of 199 PAGEID #: 1606

                                                                              130


   ·1· · Q.· · · · ·Okay.· What's your understanding for

   ·2· · why he was charged with 1.15(a)1 versus an

   ·3· · allegation or a rule of conduct having to do with

   ·4· · equal employment opportunity?

   ·5· · A.· · · · ·Ask the last part of it again.                   I

   ·6· · caught all of it but the very last part.

   ·7· · Q.· · · · ·115(a)1 doesn't have a whole lot to do

   ·8· · with equal employment opportunity or

   ·9· · discrimination.· It has to do with how officers

   10· · treat each other, right?

   11· · A.· · · · ·Yes, or citizens.

   12· · Q.· · · · ·And so my question is:· Why is there no

   13· · EEO charge on this -- on this allegation?

   14· · A.· · · · ·Again, the chief and internal affairs

   15· · commander decide the scope of it and the

   16· · allegation.· That's the reason they put in here.

   17· · I can change them, as I did on several of these,

   18· · but they decide what the allegation is.

   19· · · · · · · ·So that's what was presented to me, and

   20· · it was presented to me in a way that this is old

   21· · information that's very difficult to prove.

   22· · There's no evidence that rises to the level of

   23· · hostile work environment or something like that,

   24· · because it was old and conflicting statements from


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 131 of 199 PAGEID #: 1607

                                                                              131


   ·1· · different people that would be a difficult charge

   ·2· · to prove when we had other -- the concern was kind

   ·3· · of more of the long-term, if we look like we're

   ·4· · just piling on, the arbitrator may even be more

   ·5· · critical.· We wanted to go with our strongest case

   ·6· · for departmental charges, what we had the best

   ·7· · proof of.· This was very difficult to prove.· It

   ·8· · was all over the place in there who remembers what

   ·9· · from years ago and who was present and the

   10· · similar --

   11· · Q.· · · · ·Okay.· Well, you had multiple officers

   12· · from SRB telling Sergeant Decker that they had

   13· · personally heard Sergeant Moore use words like the

   14· · N word and call black officers monkeys and apes.

   15· · And an officer saying that he had had a

   16· · conversation with Sergeant Moore where he said

   17· · that black people in general were lazy.· Do you

   18· · remember that?

   19· · A.· · · · ·I don't remember exactly what was in

   20· · there.· I remember that there were other people

   21· · who were interviewed out of it, and some gave

   22· · supporting statements to that effect.

   23· · Q.· · · · ·Okay.· What more would you have needed

   24· · to justify an actual EEO charge besides eyewitness


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 132 of 199 PAGEID #: 1608

                                                                              132


   ·1· · reports of racist statements?

   ·2· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·3· · A.· · · · ·Again, what I would be looking at is

   ·4· · officers are reporting misconduct only when they

   ·5· · were -- in many cases -- in Wes Sorrell's case,

   ·6· · that initially brought it forward, after he was in

   ·7· · trouble, which makes things suspect that they're

   ·8· · brought forward at a later date.· If others are

   ·9· · now coming forward and saying, yeah, I heard that

   10· · a couple years ago, then they are also in

   11· · violation of withholding information.

   12· · · · · · · ·So, again, it challenged their

   13· · credibility a little bit to say, yeah, a couple

   14· · years ago I heard it, but I didn't do anything

   15· · about it.· And they have an obligation to do

   16· · something about it if they really heard it.

   17· · · · · · · ·So I think we had enough in our mind to

   18· · sustain and take some action on it.· But to take

   19· · further action like a departmental charge, I don't

   20· · think, as I talked to professional standards,

   21· · there was enough in the investigation to have

   22· · supported that type of -- that level of activity.

   23· · Q.· · · · ·I guess I'll go back to my question,

   24· · which is:· What -- I understand that you feel that


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 133 of 199 PAGEID #: 1609

                                                                              133


   ·1· · the evidence that you had was not sufficient to

   ·2· · sustain a departmental charge on an EEO

   ·3· · violation -- well, first, let me start with that.

   ·4· · If it had been deemed to be an EEO violation

   ·5· · versus just a discourteous conduct, it would have

   ·6· · been something that you would have pursued a

   ·7· · departmental charge on?

   ·8· · A.· · · · ·Again, everything's case specific.

   ·9· · Yeah, I would have to see the actual facts that

   10· · can be proven.

   11· · Q.· · · · ·It certainly would be more serious to

   12· · put an EEO label on it than just a not courteous?

   13· · A.· · · · ·Yes.

   14· · Q.· · · · ·Okay.· And I guess my question is:

   15· · What -- what would you have been looking for in --

   16· · I mean, obviously unless Sergeant Moore is going

   17· · to either be recorded saying the N word or admit

   18· · to it, there's always going to be a question about

   19· · whether it actually happened.· I guess I'm asking,

   20· · is that what you needed?· You needed it to be on a

   21· · recording?· Or was there something in between

   22· · those things that would have escalated this to a

   23· · departmental charge in your mind?

   24· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 134 of 199 PAGEID #: 1610

                                                                              134


   ·1· · A.· · · · ·The way I would describe that is this

   ·2· · is -- all the employment actions are similar to

   ·3· · like a criminal case where the accused has the

   ·4· · just cause, the due process rights.· And it's up

   ·5· · to the members who are the moving party, who are

   ·6· · making the allegations to be -- to describe

   ·7· · activity that would be supported and credible

   ·8· · enough to make it that type of an allegation.· And

   ·9· · I don't think they met that bar.

   10· · Q.· · · · ·What -- what would have been different

   11· · that would have made it meet that bar if

   12· · they're -- what more evidence could there possibly

   13· · have been that would make it meet that bar,

   14· · besides a recording or an admission?

   15· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   16· · A.· · · · ·I can't sit here and tell you about

   17· · going back through the thousand pages and going

   18· · back and reliving the discussions that I had with

   19· · the chief or professional standards or Commander

   20· · Knight of how we reached that conclusion.· I do

   21· · not recall.· At the time, that was the decision

   22· · that was made.

   23· · Q.· · · · ·Okay.· Have you ever been involved in a

   24· · situation where the department sustained a hostile


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 135 of 199 PAGEID #: 1611

                                                                               135


   ·1· · work environment or other race discrimination

   ·2· · charge against an officer?

   ·3· · A.· · · · ·I know that we have.· I don't recall

   ·4· · ones that I was involved in.

   ·5· · Q.· · · · ·Okay.· What are the ones that you're

   ·6· · aware of?

   ·7· · A.· · · · ·I would have to go back through the

   ·8· · records.· I remember cases that they occurred.                    I

   ·9· · don't remember all the circumstances.

   10· · Q.· · · · ·Okay.· Another charge that was under

   11· · your chain of command was the allegation of the

   12· · threat against Doug Williams and Eric Cornett, and

   13· · that one was forwarded as not sustained?

   14· · A.· · · · ·Correct.

   15· · Q.· · · · ·Which you upheld?

   16· · A.· · · · ·Correct.

   17· · Q.· · · · ·You knew from reading Sergeant Decker's

   18· · report that -- well, first of all, we talked about

   19· · multiple officers corroborated Sorrell's

   20· · allegation that Moore had made racial slurs,

   21· · right?

   22· · A.· · · · ·I don't -- I don't recall what they

   23· · corroborated.· I just recall other officers

   24· · provided testimony and were asked questions about


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 136 of 199 PAGEID #: 1612

                                                                              136


   ·1· · that.· As I sit here today, I don't remember it

   ·2· · without reading through the whole case.

   ·3· · Q.· · · · ·Well, let me put it this way:· Do you

   ·4· · remember that Sorrell recalled that Officer Scott

   ·5· · Watkins was present when Eric Moore made the

   ·6· · threat against Cornett and Williams?

   ·7· · A.· · · · ·Seems familiar, but I don't recall the

   ·8· · specifics.

   ·9· · Q.· · · · ·Okay.· Do you remember reading Decker's

   10· · description of an interview with Watkins where

   11· · Watkins said that he did remember Moore making

   12· · statements along the lines that calling Eric

   13· · Cornett a monkey or an ape?

   14· · A.· · · · ·I don't recall.· I would have to read

   15· · the whole transcript.

   16· · Q.· · · · ·Do you remember multiple officers,

   17· · including Watkins, including Larry Wilson,

   18· · including Whitney Lancaster, stating that they had

   19· · personally heard Eric Moore talk about fighting

   20· · Eric Cornett or beating him up?

   21· · A.· · · · ·The fighting or something like that

   22· · sounds more familiar than the allegation of

   23· · threaten to kill.

   24· · Q.· · · · ·Okay.· My question is:· If you got a --


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 137 of 199 PAGEID #: 1613

                                                                              137


   ·1· · if you have an officer who's accused of making a

   ·2· · death threat against other officers, as Eric Moore

   ·3· · was, and the finding is, well, we can't confirm

   ·4· · that he made the death threat, because there's no

   ·5· · sufficient corroboration, but he absolutely did

   ·6· · threaten physical violence against another officer

   ·7· · and used racial terms to do so, is it proper -- is

   ·8· · the proper conclusion to say, okay, well, that

   ·9· · allegation is not sustained because there wasn't a

   10· · death threat?· Or is there something else that

   11· · would be appropriate in that situation?

   12· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   13· · A.· · · · ·The option would be to direct the

   14· · allegation to be re-worded that there was threats

   15· · to harm.

   16· · Q.· · · · ·Would that be --

   17· · A.· · · · ·That -- if we had done that, that may

   18· · have been something that we could have sustained.

   19· · We have to prove -- again, due process is the

   20· · employee accused is the one that has the

   21· · protections.· Just like in a criminal case, we

   22· · have the burden to prove that he made a threat to

   23· · kill either officer, and we did not have that

   24· · proof.


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 138 of 199 PAGEID #: 1614

                                                                              138


   ·1· · Q.· · · · ·So what is the process if the charge is

   ·2· · Sergeant Eric Moore threatened to kill Sergeant

   ·3· · Doug Williams and Officer Eric Cornett and, again,

   ·4· · going to the hypothetical, he's interviewed and he

   ·5· · says, absolutely not, I didn't threaten to kill

   ·6· · Sergeant Williams and Eric Cornett, I threatened

   ·7· · to, you know, beat them up in the back parking

   ·8· · lot, what would be the next required procedural

   ·9· · step in order to sustain a charge?

   10· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   11· · A.· · · · ·Again, an option is to reclassify the

   12· · allegation that Sergeant Eric Moore threatened

   13· · harm to Sergeant Williams and Officer Cornett, and

   14· · then have a new summary written that would have

   15· · shown where the validation is to prove that

   16· · allegation.· Again, we were answering the question

   17· · of whether we could prove the kill.

   18· · Q.· · · · ·Would Eric Moore have had to be

   19· · re-interviewed with the new charge in that

   20· · situation, or could you just take his

   21· · investigational interview and just say, okay,

   22· · we're re-wording this charge as this?

   23· · A.· · · · ·If there's sufficient --

   24· · · · · · · ·MR. COGLIANESE:· Objection.


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 139 of 199 PAGEID #: 1615

                                                                              139


   ·1· · · · · · · ·THE WITNESS:· Sorry.

   ·2· · · · · · · ·MR. COGLIANESE:· Sorry.

   ·3· · A.· · · · ·If there's sufficient information

   ·4· · there, we would not have to re-interview him.· It

   ·5· · would have taken a new summary to explain how we

   ·6· · can prove the new allegation as worded.

   ·7· · Q.· · · · ·Well, Decker's summary certainly lays

   ·8· · out in an incredible level of detail basically

   ·9· · everything that everybody said in the

   10· · investigation.· It's -- I mean, it would be --

   11· · you're not -- we're not talking about a big heavy

   12· · lift here to re-word the allegation from threaten

   13· · to kill to just threatened harm and then just

   14· · saying, I didn't find that that threat

   15· · corroborated, but he certainly threatened

   16· · physically on multiple occasions?

   17· · A.· · · · ·I agree it's not a heavy lift.

   18· · Q.· · · · ·Okay.· Would that be a serious charge,

   19· · an officer threatening physical harm against

   20· · another officer, especially in racially derogatory

   21· · terms?

   22· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   23· · A.· · · · ·With everything else we had sustained,

   24· · I don't know that that would have overshadowed the


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 140 of 199 PAGEID #: 1616

                                                                              140


   ·1· · other charges, because, again, a threat to do

   ·2· · something is different than an action.· Speech is

   ·3· · different than an action.· The other cases that

   ·4· · were sustained were actions that we could prove.

   ·5· · Q.· · · · ·Okay.· So in your estimation of CPD

   ·6· · policy, it's more serious to mishandle

   ·7· · departmental equipment than to use a racially

   ·8· · derogatory term to threaten to harm a black

   ·9· · officer?

   10· · A.· · · · ·That's not what I'm saying.

   11· · · · · · · ·MR. COGLIANESE:· Objection.

   12· · Q.· · · · ·Well, can you clarify it for me?· What

   13· · he was found to have done, the more serious

   14· · charges, the things that resulted in the

   15· · departmental charges all had to do with theft of

   16· · property or mishandling of departmental property

   17· · or time.· And the charges that didn't get that

   18· · treatment as departmental charges had to do with

   19· · treatment of black officers by Eric Moore.· And so

   20· · I'm just trying to figure out where threatening to

   21· · harm somebody in racially derogatory terms might

   22· · fall in that spectrum?

   23· · A.· · · · ·I was trying to look to see where --

   24· · when the date the investigation commenced was.· It


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 141 of 199 PAGEID #: 1617

                                                                              141


   ·1· · sounds like it was October of '14 or something.

   ·2· · · · · · · ·And as you see on this, this came out

   ·3· · September of '15, this was signed in March of '16.

   ·4· · I think when we do that, we run the risk of

   ·5· · continuing to delay an investigation for another

   ·6· · month or two when there was, we felt, sufficiently

   ·7· · strong charges to go with termination.· We tend to

   ·8· · do a termination case.· We did terminate.· The

   ·9· · director heard it and terminated.· Arbitrator

   10· · ruled differently.

   11· · · · · · · ·So I think we were looking at

   12· · continuing to drag a case out longer by sending

   13· · him back.· With something that long, we could have

   14· · sent it back five, six, seven times.· If we kept

   15· · wanting to add things, clean something up,

   16· · re-interview something, I think we felt we had

   17· · enough here to terminate, and that's what we

   18· · ultimately did.

   19· · Q.· · · · ·In hindsight, do you think it would

   20· · have helped to include that allegation that -- as

   21· · a departmental charge that he had threatened to

   22· · harm black officers using racially derogatory

   23· · terms?

   24· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 142 of 199 PAGEID #: 1618

                                                                              142


   ·1· · A.· · · · ·I do not think so.· I think, again, a

   ·2· · threat to harm, something happened two years prior

   ·3· · with no evidence of any intent to act on that,

   ·4· · just speech, is different than the case that we

   ·5· · had proven that were actual actions.· And I think

   ·6· · that was our strongest case.

   ·7· · Q.· · · · ·Okay.· These -- this reasoning that

   ·8· · you're giving me, is this something that you

   ·9· · discussed with Chief Jacobs and the rest of the

   10· · executive staff, or is this just your individual

   11· · analysis?

   12· · A.· · · · ·I would say individual analysis.

   13· · Q.· · · · ·Okay.· Did you have a discussion with

   14· · Chief Jacobs where there was a strategic

   15· · consideration of basically we don't want to charge

   16· · him with too many things, it will distract the

   17· · arbitrator, we don't want to spend any more time

   18· · on this, that kind of thing?

   19· · A.· · · · ·Not that I recall.· I did the

   20· · discipline grievance job for about two years

   21· · myself and have been through numerous

   22· · arbitrations.· And so I believe I was basing a lot

   23· · of it based on my experience, on what we did have

   24· · and could prove and moving forward with that.· So


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 143 of 199 PAGEID #: 1619

                                                                              143


   ·1· · I think it was more of my experience.

   ·2· · Q.· · · · ·Okay.· Do you recall any conversations

   ·3· · in which Chief Jacobs questioned whether maybe

   ·4· · there should be EEO charges or more serious

   ·5· · charges on the EEO aspects of this?

   ·6· · A.· · · · ·I do not recall.

   ·7· · Q.· · · · ·Okay.· Do you remember conversations

   ·8· · with Sergeant Decker where Sergeant Decker

   ·9· · advocated making further findings against Sergeant

   10· · Moore on the EEO aspects of the case?

   11· · A.· · · · ·I don't recall the EEO aspects being

   12· · discussed further than what we had.

   13· · Q.· · · · ·Do you remember him suggesting that

   14· · there should be a charge of untruthfulness based

   15· · not just on the overtime and equipment issues, but

   16· · also on the EEO aspects of the case and the threat

   17· · and some of the stuff that happened in narcotics?

   18· · A.· · · · ·It's entirely possible.· Again, as I

   19· · said, I had given some constructive feedback to

   20· · Sergeant Decker that it was convoluted, the

   21· · investigation as written, and it needed to be

   22· · streamlined so the reader could find what it was

   23· · that they could prove.· People get lost in the

   24· · mass.· So it's possible we discussed it, but that


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 144 of 199 PAGEID #: 1620

                                                                              144


   ·1· · was it.

   ·2· · Q.· · · · ·Okay.· Do you recall that in the final

   ·3· · version of Sergeant Decker's IAB summary, the only

   ·4· · allegation of untruthfulness against Sergeant

   ·5· · Moore was about a specific overtime or equipment

   ·6· · issue?

   ·7· · A.· · · · ·I don't recall.

   ·8· · Q.· · · · ·Okay.· But you do recall having a

   ·9· · conversation with Sergeant Decker about making --

   10· · making sure, in particular about the

   11· · untruthfulness allegations, that you could connect

   12· · the dots and that it was more clearly written than

   13· · what you had read?

   14· · A.· · · · ·I recall having a discussion over the

   15· · entire set of -- scope of allegation that whatever

   16· · you are sustaining, if someone can turn to a page

   17· · and go there it is, I've got it.

   18· · Q.· · · · ·Okay.· Did you become aware during the

   19· · course of the investigation or from reading

   20· · Sergeant Decker's summary that Sergeant Moore, in

   21· · addition to allegedly threatening Sergeant

   22· · Williams and Officer Cornett, had engaged in some

   23· · threatening conduct toward an officer named Dick

   24· · Elias?


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 145 of 199 PAGEID #: 1621

                                                                              145


   ·1· · A.· · · · ·There's some recent conversation I've

   ·2· · had that refreshed my memory that that was an

   ·3· · allegation.· I don't remember at the time.

   ·4· · Q.· · · · ·Okay.· In particular, you remember that

   ·5· · the allegation was that Dick Elias and Sergeant

   ·6· · Moore were walking down a hallway or around a

   ·7· · corner, and when Sergeant Moore saw Officer Elias,

   ·8· · he made a motion as if he was going to draw his

   ·9· · weapon?

   10· · A.· · · · ·That's what I recall hearing recently.

   11· · Q.· · · · ·Okay.

   12· · A.· · · · ·I don't remember at the time.

   13· · Q.· · · · ·Well, was it -- I mean, it was in

   14· · Sergeant Decker's summary, you would have --

   15· · A.· · · · ·Right.

   16· · Q.· · · · ·-- read it at the time?

   17· · A.· · · · ·I would have read it at the time.

   18· · Q.· · · · ·Okay.

   19· · A.· · · · ·I don't remember it.

   20· · Q.· · · · ·Were you -- I mean, were you consulted

   21· · at the time about whether that allegation should

   22· · be investigated further?

   23· · A.· · · · ·I don't believe so.

   24· · Q.· · · · ·Okay.· Sergeant Decker indicated in his


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 146 of 199 PAGEID #: 1622

                                                                              146


   ·1· · report that - and I'm quoting from the report,

   ·2· · that this -- well, actually I'm not quoting yet,

   ·3· · but he said that he was not pursuing that further

   ·4· · because, and I'm quoting, this concern was brought

   ·5· · to the attention of Lieutenant Brust at the time.

   ·6· · · · · · · ·Does that -- is that an adequate

   ·7· · explanation for not including an allegation in an

   ·8· · IA summary?

   ·9· · A.· · · · ·It is, because if he brought it to the

   10· · attention of Lieutenant Brust and Lieutenant Brust

   11· · says, I'll take care of it and counseled the

   12· · sergeant on that, then action would have already

   13· · been taken.· If we try to go back and issue some

   14· · other type of discipline out of it, the defense,

   15· · if you will, or the union position would be,

   16· · he's -- a card laid is a card played, as they say.

   17· · He's already -- this has already been

   18· · dispositioned by the lieutenant in realtime, we

   19· · can't go back now and change that.

   20· · Q.· · · · ·So as soon as Lieutenant Brust went and

   21· · talked to Sergeant Moore about this incident, it

   22· · became out of bounds for internal affairs?

   23· · A.· · · · ·Virtually, yes.· There are -- what our

   24· · recourse would have been is to go to Lieutenant


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 147 of 199 PAGEID #: 1623

                                                                              147


   ·1· · Brust and corrected him and said, don't do that

   ·2· · again, you've created a situation now where we

   ·3· · can't change the outcome of that.

   ·4· · Q.· · · · ·Okay.· If you've got a situation where

   ·5· · a sergeant does something potentially illegal or

   ·6· · against departmental rules, and their lieutenant

   ·7· · basically wants to just protect them, doesn't that

   ·8· · put the lieutenant in a situation where they're

   ·9· · just -- they can prevent IA from investigating a

   10· · pretty serious charge?

   11· · A.· · · · ·There is a mechanism to, again,

   12· · discipline the lieutenant and explain in writing

   13· · basically why you're disregarding that activity

   14· · because it was out of bounds and didn't have the

   15· · authority to disposition it.· There are certain

   16· · things that the deputy chief has to disposition or

   17· · the chief.

   18· · · · · · · ·So if the lieutenant took a certain

   19· · action, then he wasn't -- didn't have the

   20· · authority to disposition it, then we could

   21· · overrule it and discipline him for interfering

   22· · with the deputy chief's right to disposition that.

   23· · Q.· · · · ·What's the criteria for that?· I mean,

   24· · what are the things that the lieutenant would not


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 148 of 199 PAGEID #: 1624

                                                                              148


   ·1· · have the authority to deal with?

   ·2· · A.· · · · ·If it came in as a citizen complaint or

   ·3· · if that allegation was directed to be conducted by

   ·4· · deputy chief or chief, he does not have the

   ·5· · authority to disposition the case.· If it's

   ·6· · something that was discovered in the

   ·7· · investigation, and I don't know the fact pattern

   ·8· · there, but if it's something that was brought to

   ·9· · Lieutenant Brust's attention and he went and took

   10· · care of it on his own, it was not something that

   11· · was designed to be -- or ordered to be

   12· · investigated by the chief or the deputy chief,

   13· · then he could take that action.· May not be the

   14· · action we wanted him to take, but he had the

   15· · authority to take the action at that time.

   16· · Q.· · · · ·How could it be determined whether

   17· · Lieutenant Brust had done something inappropriate

   18· · or not without investigating it at the IAB level?

   19· · A.· · · · ·Just based on the known facts at the

   20· · time, you can -- again, I don't know the fact

   21· · pattern you're referring to, but if the -- if the

   22· · allegation was brought to the chain of command

   23· · that he made a threatening move towards Dick Elias

   24· · and was not part of this investigation, and Brust


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 149 of 199 PAGEID #: 1625

                                                                              149


   ·1· · said, I'll take care of it, because that's

   ·2· · something that needs immediate attention, I'll

   ·3· · take care of it, and he took care of it, then he

   ·4· · had the authority to do that.

   ·5· · · · · · · ·It may not be what he wanted him to do,

   ·6· · but he had authority to do it.· If it was part of

   ·7· · this investigation and I directed it to be

   ·8· · investigated, he did not have the authority to

   ·9· · disposition that.

   10· · Q.· · · · ·Okay.· So even with Lieutenant Brust,

   11· · if he just decided, I don't think this is really

   12· · that serious, I'm just going to tell Sergeant

   13· · Moore not to threaten people with guns anymore,

   14· · then not only can Sergeant Moore not be

   15· · investigated or disciplined for the action, but

   16· · Lieutenant Brust can't be either, because it's

   17· · within his scope of authority?

   18· · A.· · · · ·I didn't say he couldn't be

   19· · investigated for it.· I said, if it was -- if

   20· · these fact patterns or this criteria wasn't in

   21· · place, then he was within his authority.· He can

   22· · still be investigated to see if that was the fact

   23· · pattern.

   24· · Q.· · · · ·Okay.· Given all of the other things


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 150 of 199 PAGEID #: 1626

                                                                              150


   ·1· · that you know about what Sergeant Moore was being

   ·2· · accused of and the timing of this, wouldn't that

   ·3· · have been appropriate in this situation to at

   ·4· · least investigate it to determine whether

   ·5· · Lieutenant Brust had handled it properly or that

   ·6· · he had actually handled it?

   ·7· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·8· · A.· · · · ·It wasn't my chain of command at the

   ·9· · time, so I can't speak to what they -- what

   10· · decisions they made around that --

   11· · Q.· · · · ·Okay.

   12· · A.· · · · ·-- situation.

   13· · Q.· · · · ·Is that a decision that Commander

   14· · Knight could make on her own in terms of

   15· · instructing Decker about what to investigate?· Or

   16· · would she have had to consult with whoever the

   17· · deputy chief was over that chain of command?

   18· · A.· · · · ·She could have made that direction.· It

   19· · would have been more likely that the chain of

   20· · command or the chief would have been consulted on

   21· · that to get additional direction.· Internal

   22· · affairs tries to stay neutral and disinterested in

   23· · not adding to the scope of an investigation

   24· · without getting permission from the chain of


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 151 of 199 PAGEID #: 1627

                                                                              151


   ·1· · command.

   ·2· · Q.· · · · ·Okay.· What about deciding not to add

   ·3· · to the scope of the investigation?· Do they do

   ·4· · that on their own or do they check with the chain

   ·5· · of command?

   ·6· · A.· · · · ·Case by case.

   ·7· · Q.· · · · ·Okay.· Sergeant Decker told Officer

   ·8· · Shaw in response to -- it was Officer Shaw who

   ·9· · raised that concern with what happened with Elias.

   10· · Sergeant Decker told him in response to that that

   11· · he was instructed that they weren't going to take

   12· · any third-party complaints about officer -- about

   13· · Sergeant Moore, and that if Elias wanted to raise

   14· · it, he would have to raise it himself.· Is that an

   15· · accurate -- is that something appropriate within

   16· · the department?

   17· · A.· · · · ·Sounds like a reasonable instruction.

   18· · Again, whether things are the way we would like

   19· · them to have occurred, I can't speak on -- I don't

   20· · have all the facts.· What you've described sounds

   21· · like a reasonable instruction, that if you feel

   22· · you are threatened, our policy is -- written

   23· · policy that the employee has to write a letter

   24· · requesting the case be investigated.


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 152 of 199 PAGEID #: 1628

                                                                              152


   ·1· · Q.· · · · ·Okay.· But it's not always the

   ·2· · employee's choice, right?· The employee can be

   ·3· · instructed to write a letter?

   ·4· · A.· · · · ·They can be, yes.

   ·5· · Q.· · · · ·But that's what happened with Sorrell,

   ·6· · for instance, that Sorrell raised some concerns

   ·7· · informally and he was instructed to write a

   ·8· · letter?

   ·9· · A.· · · · ·Yes.

   10· · Q.· · · · ·Do you know one way or the other

   11· · whether Dick Elias was aware of all the other

   12· · threatening or inappropriate conduct that Sergeant

   13· · Moore was being accused of at the time?

   14· · A.· · · · ·No knowledge.

   15· · Q.· · · · ·Okay.· You really think it's reasonable

   16· · in that context to leave it to individual officers

   17· · whether they individually feel like it was a real

   18· · threat or not --

   19· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   20· · Q.· · · · ·-- given that they might not know that

   21· · it's part of a pattern?

   22· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   23· · A.· · · · ·They're trained and experienced police

   24· · officers who carry a firearm and defend themselves


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 153 of 199 PAGEID #: 1629

                                                                              153


   ·1· · and others all the time.· I give police officers a

   ·2· · lot of credit to be able to call something what it

   ·3· · is if it's something that they're concerned by or

   ·4· · feel that needs investigated.

   ·5· · Q.· · · · ·Well, you understand that in this

   ·6· · particular situation, Officer Elias was the person

   ·7· · who brought it to the attention of Lieutenant

   ·8· · Brust at the time, because he felt that it was a

   ·9· · threatening situation?

   10· · A.· · · · ·Yeah.· I don't have the facts.· That

   11· · was not in my chain of command.· I don't have the

   12· · facts that you're asking about.

   13· · Q.· · · · ·Okay.· If this had been investigated

   14· · and it had been determined that, in fact, Sergeant

   15· · Moore had made a threatening gesture toward his

   16· · weapon as to another officer of color besides Eric

   17· · Cornett and Sergeant Williams, wouldn't that have

   18· · helped corroborate the threat allegations that he

   19· · was originally charged with?

   20· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   21· · A.· · · · ·It would be considered in context with

   22· · the rest of the investigation.

   23· · Q.· · · · ·Okay.· You also saw in Sergeant

   24· · Decker's report that Sergeant Moore was alleged to


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 154 of 199 PAGEID #: 1630

                                                                              154


   ·1· · have purchased an illegal weapons enhancement

   ·2· · called a lightning link?

   ·3· · A.· · · · ·I don't even recall that.· I can't say

   ·4· · that -- I didn't see at the time, but that one

   ·5· · just is something I don't recall from the

   ·6· · investigation.

   ·7· · Q.· · · · ·Okay.· I'm handing you what's been

   ·8· · marked previously as Exhibit 38, which is Sergeant

   ·9· · Decker's investigative summary.· Can you turn to

   10· · page 169 of that report?· The page numbers are at

   11· · the top.

   12· · A.· · · · ·Yeah, I got it.

   13· · Q.· · · · ·You can unclip it if you want.· Just be

   14· · aware it's not stapled.

   15· · A.· · · · ·I got it.

   16· · Q.· · · · ·Do you see a reference to lightning

   17· · link on that page?· I think it's toward the

   18· · bottom.

   19· · A.· · · · ·I do see it.

   20· · Q.· · · · ·Does this refresh your recollection

   21· · about what this was about?

   22· · A.· · · · ·It refreshes it.· Like I said, it's

   23· · been a long time, but it refreshes it.

   24· · Q.· · · · ·Sergeant Decker says in this stage of


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 155 of 199 PAGEID #: 1631

                                                                              155


   ·1· · the report that this allegation wasn't pursued

   ·2· · because, quote, this concern has also already been

   ·3· · addressed by the appropriate law enforcement

   ·4· · agency.

   ·5· · · · · · · ·Is that consistent with CPD practice?

   ·6· · A.· · · · ·Again, it's a decision that was made

   ·7· · outside my involvement or input, so I can't speak

   ·8· · to that.

   ·9· · Q.· · · · ·I mean, you're the acting or interim

   10· · chief of the department.· I mean, if this is

   11· · something that if it came up now, you would only

   12· · have some input on, and even when you were deputy

   13· · chief, if it had happened within your chain of

   14· · command, you would certainly been able to do that,

   15· · right?

   16· · A.· · · · ·Yes.

   17· · Q.· · · · ·And I think we talked earlier about

   18· · you've had investigations in the past, including

   19· · this investigation, where something was

   20· · investigated as a potential crime, but it was

   21· · determined not to have been criminally chargeable,

   22· · but then it still proceeded as an administrative

   23· · investigation, right?

   24· · A.· · · · ·Yes.


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 156 of 199 PAGEID #: 1632

                                                                              156


   ·1· · Q.· · · · ·Isn't it inconsistent with the way that

   ·2· · the Columbus Police operate that just the fact

   ·3· · that something is determined not -- that a law

   ·4· · enforcement agency CPD or otherwise determines

   ·5· · that they're not going to proceed with the

   ·6· · criminal execution, that does not mean that it

   ·7· · couldn't -- that it might be -- might not be

   ·8· · something that IA should pursue or that the chain

   ·9· · of command should pursue?

   10· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   11· · A.· · · · ·This is a concern I certainly could see

   12· · could have been turned into an expanded scope of

   13· · the investigation on.

   14· · Q.· · · · ·Did you know that Sergeant Decker

   15· · consulted with the ATF agent in charge and the

   16· · agent told him that the reason that they didn't

   17· · prosecute Sergeant Moore was because he was a

   18· · police officer and they took his word as a police

   19· · officer that he didn't accept delivery of the

   20· · equipment he ordered?

   21· · A.· · · · ·I don't recall that.

   22· · Q.· · · · ·Okay.· If you had known that at the

   23· · point when this was being investigated, would that

   24· · have caught -- given you cause for concern?


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 157 of 199 PAGEID #: 1633

                                                                              157


   ·1· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·2· · A.· · · · ·Yes.

   ·3· · Q.· · · · ·If you knew that Jennifer Knight was

   ·4· · aware of that at the time that Sergeant Decker had

   ·5· · that conversation and instructed him not to follow

   ·6· · up because the ATF had already handled it, would

   ·7· · that give you cause for concern?

   ·8· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·9· · A.· · · · ·Without confronting her and finding out

   10· · what she knew at the time or what -- the base for

   11· · her decision was or who else had input into her

   12· · decision, I can't speak to that.

   13· · Q.· · · · ·Okay.· Given that Sergeant Moore was

   14· · being accused of threatening other officers,

   15· · including a potential death threat, wouldn't it

   16· · escalate that concern to know that whether or not

   17· · he had taken delivery of a device that would turn

   18· · a semiautomatic weapon into an automatic weapon?

   19· · A.· · · · ·From what I understand --

   20· · · · · · · ·MR. COGLIANESE:· Objection.· I'm sorry.

   21· · Go ahead.

   22· · A.· · · · ·From what I understand here, he -- we

   23· · had information that he did not take possession of

   24· · it.


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 158 of 199 PAGEID #: 1634

                                                                              158


   ·1· · Q.· · · · ·Okay.· And I'm representing to you,

   ·2· · Sergeant Decker was told by the ATF that, in fact,

   ·3· · there was no -- there was no information that he

   ·4· · didn't accept delivery, other than Sergeant Moore

   ·5· · just saying he didn't and them taking his word as

   ·6· · a police officer.· With that information, isn't

   ·7· · that -- wouldn't it make the concerns about the

   ·8· · death threat a little bit more serious?

   ·9· · · · · · · ·MR. COGLIANESE:· Objection.

   10· · Q.· · · · ·Or a lot more serious?

   11· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   12· · A.· · · · ·Yes.

   13· · Q.· · · · ·If Jennifer Knight decided on her own,

   14· · knowing that information, not to allow Sergeant

   15· · Decker to investigate that allegation further,

   16· · would that -- would that be a cause for concern

   17· · for you as a command officer?

   18· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   19· · A.· · · · ·I do not know what information she was

   20· · acting on, so I can't -- I can't --

   21· · Q.· · · · ·I'm asking you -- and I'm sorry, I'm

   22· · asking you to assume that Sergeant Decker was

   23· · being truthful to us when he told us that he

   24· · informed Jennifer Knight of that -- of what he


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 159 of 199 PAGEID #: 1635

                                                                              159


   ·1· · learned from the ATF.

   ·2· · A.· · · · ·What I'm saying is I'm not going to

   ·3· · assume what Jennifer Knight was acting on in her

   ·4· · frame of reference or her knowledge base.· I don't

   ·5· · know, so I can't speak to the appropriateness of

   ·6· · her decision.

   ·7· · Q.· · · · ·Okay.· When you read this report, even

   ·8· · though it was outside of your chain of command,

   ·9· · you had the authority to request additional

   10· · investigation on these issues if you wanted it,

   11· · right?

   12· · A.· · · · ·Yes.

   13· · Q.· · · · ·And, for instance, if you felt like,

   14· · okay, well, this might not be important to Deputy

   15· · Chief Gray or Deputy Chief -- gosh, I'm blanking

   16· · on the name of who took it over.

   17· · A.· · · · ·Woods.

   18· · Q.· · · · ·Woods.· If you felt like maybe they

   19· · didn't think it was pertinent by itself under the

   20· · narcotics chain, but it might be pertinent to my

   21· · investigation of the threat, you could have

   22· · instructed Decker to investigate it further?

   23· · A.· · · · ·As I mentioned, I focused on the part

   24· · of the investigation that I was to weigh in on,


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 160 of 199 PAGEID #: 1636

                                                                              160


   ·1· · and because of that, I did not take that part into

   ·2· · my decision-making.

   ·3· · Q.· · · · ·Did you have any role in advising what

   ·4· · should or shouldn't be charged on the allegations

   ·5· · under the narcotics chain of command?

   ·6· · A.· · · · ·No.

   ·7· · Q.· · · · ·Okay.· Did you have any informal

   ·8· · discussions with Deputy Chief Woods or Deputy

   ·9· · Chief Gray about their charging decisions on those

   10· · things?

   11· · A.· · · · ·Not the charging decisions about --

   12· · probably had some discussions about where I was at

   13· · on the investigation that I was forwarding to them

   14· · to decide on issues that occurred and any decision

   15· · they would need to make in their chain of command.

   16· · Q.· · · · ·Okay.· Were you in meetings where

   17· · Deputy Chief Woods or Deputy Chief Gray were

   18· · explaining their decisions to Chief Jacobs about

   19· · these issues?

   20· · A.· · · · ·Not that I recall.

   21· · Q.· · · · ·Okay.· Did you have any reaction to

   22· · what you read in Decker's report about the

   23· · treatment of the filling of the narcotics position

   24· · involving Officer Shaw and others?


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 161 of 199 PAGEID #: 1637

                                                                              161


   ·1· · A.· · · · ·I didn't have any information from the

   ·2· · other perspective of what was going on in that

   ·3· · chain.· I didn't know what their reasons were, so

   ·4· · I didn't have a reaction, because I wasn't going

   ·5· · to react to something I didn't have the full facts

   ·6· · on.

   ·7· · Q.· · · · ·Okay.· Did you become aware while the

   ·8· · investigation was going -- I'll start I want to

   ·9· · talk about different timeframes, first of all,

   10· · while the investigation was going on, before

   11· · Decker's report, did you become aware that Decker

   12· · had recovered text messages from Sergeant Moore

   13· · making threatening comments about what would

   14· · happen if Officer Shaw, Officer Lancaster or

   15· · officer Richard Moore took the narcotics position?

   16· · A.· · · · ·I don't recall obtaining the text

   17· · messages.· I recall some conversation about

   18· · knowing that there was statements or something

   19· · about that.

   20· · Q.· · · · ·Did you take that into account in your

   21· · conclusions about the threats that Sergeant Moore

   22· · was alleged to have made against Cornett and

   23· · Williams?

   24· · A.· · · · ·All I took into account was stuff that


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 162 of 199 PAGEID #: 1638

                                                                              162


   ·1· · was provided and sustained in the investigation,

   ·2· · not stuff that was conjecture or secondary to it.

   ·3· · Q.· · · · ·Okay.· Were you involved at all in the

   ·4· · chief's decision to vacate and repost the

   ·5· · narcotics position that was at issue in this

   ·6· · investigation?

   ·7· · A.· · · · ·No involvement that I recall.

   ·8· · Q.· · · · ·Okay.· You were not involved in any

   ·9· · decision-making about how Sergeant Moore would be

   10· · charged or disciplined on the failure to follow an

   11· · order from Commander Cameron?

   12· · A.· · · · ·No, I had no input in that.

   13· · Q.· · · · ·Did you have any role in Sergeant

   14· · Moore's arbitration once he was terminated?

   15· · A.· · · · ·No.· I don't even recall testifying.

   16· · It's possible because I've testified in different

   17· · things, but I don't recall having any role

   18· · whatsoever.

   19· · Q.· · · · ·Okay.· Were you informed -- well, you

   20· · know that Officer Shaw and Officer Cornett both

   21· · filed charges with the Ohio Civil Rights

   22· · Commission related to these allegations?

   23· · A.· · · · ·Yes.

   24· · Q.· · · · ·When did you become aware of those


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 163 of 199 PAGEID #: 1639

                                                                              163


   ·1· · charges?

   ·2· · A.· · · · ·Whenever they were served.

   ·3· · Q.· · · · ·Okay.· Were you ever involved in

   ·4· · discussions of what the impact would be on the

   ·5· · Division of Police if the division took the

   ·6· · position that Sergeant Moore had committed an EEO

   ·7· · violation towards Officer Shaw and Officer

   ·8· · Cornett?

   ·9· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   10· · A.· · · · ·No.

   11· · Q.· · · · ·Okay.· Nobody ever discussed that one

   12· · way or the other, that it would be good --

   13· · A.· · · · ·I can't say.

   14· · Q.· · · · ·-- or bad?· I mean in your presence.

   15· · A.· · · · ·I can say I was not involved in any

   16· · discussions.

   17· · Q.· · · · ·I'm asking about your personal

   18· · knowledge.

   19· · A.· · · · ·Yeah, not in my presence.

   20· · · · · · · ·MR. VARDARO:· Okay.· I would like to

   21· · take a five-minute break, and I might be close to

   22· · done.

   23· · · · · · · ·(A recess is taken.)

   24· · Q.· · · · ·Chief Quinlan, earlier in the


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 164 of 199 PAGEID #: 1640

                                                                              164


   ·1· · deposition you -- we were talking about the racial

   ·2· · slurs by Sergeant Moore.· And you mentioned that

   ·3· · you felt like it didn't rise to the level of a

   ·4· · hostile work environment.· Can you explain what

   ·5· · you meant by that?

   ·6· · A.· · · · ·My understanding of the case is that it

   ·7· · was done not in the -- not in the presence of

   ·8· · anyone other than Wes Sorrell, and Wes Sorrell's

   ·9· · credibility was nonexistent.· So that complicated

   10· · the issue.

   11· · Q.· · · · ·Well, first of all, you remember other

   12· · officers corroborated that Sergeant Moore used

   13· · racial slurs toward other officers and towards

   14· · black people in general, right?

   15· · A.· · · · ·Again, as you said, and there was

   16· · some -- read for their credibility, there was some

   17· · stuff made well after the fact that, again, made

   18· · some challenges to the credibility that they're

   19· · bringing something up many months after it

   20· · occurred.

   21· · Q.· · · · ·Was this --

   22· · A.· · · · ·When they have a requirement to report.

   23· · Q.· · · · ·I understand that Wes Sorrell, there

   24· · were some questions about his motive for raising


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 165 of 199 PAGEID #: 1641

                                                                              165


   ·1· · concerns about Sergeant Moore.· Did you have some

   ·2· · similar concern about officers like Larry Wilson

   ·3· · and Scott Watkins?

   ·4· · A.· · · · ·I don't remember what their statements

   ·5· · were to respond to what my assessment was of their

   ·6· · credibility at the time.

   ·7· · Q.· · · · ·Okay.· Strictly the fact that an

   ·8· · officer didn't mention hearing the racial slur

   ·9· · from a white commanding officer at the time that

   10· · it was made, but then reported it in response to

   11· · questions in a later IA investigation, would that

   12· · be a reason to doubt their credibility?

   13· · A.· · · · ·I would have to read the whole

   14· · transcript to see what the -- what the nature of

   15· · it was.

   16· · Q.· · · · ·Okay.· I guess that doesn't really

   17· · answer the question that I asked, which is:· If

   18· · just the fact that an officer doesn't report a

   19· · racial slur as soon as they hear it and -- does

   20· · that cast doubt on their credibility when they

   21· · later answer an IA investigator's question and say

   22· · they did hear the racial slur?

   23· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   24· · A.· · · · ·You would have to show me what it was


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 166 of 199 PAGEID #: 1642

                                                                               166


   ·1· · they said so I could try to refresh my mind why I

   ·2· · doubted or questioned their credibility.

   ·3· · Q.· · · · ·Okay.· I will show you the summaries,

   ·4· · but I guess I'm just asking in general, there are

   ·5· · reasons why employees sometimes don't report

   ·6· · discrimination allegations, including fear of

   ·7· · retaliation, including not wanting to get somebody

   ·8· · in trouble.· I mean, that happens, right?

   ·9· · A.· · · · ·Yes.

   10· · Q.· · · · ·The fact that they don't immediately

   11· · report it doesn't automatically mean that they're

   12· · less credible when they describe it later --

   13· · A.· · · · ·Correct.

   14· · Q.· · · · ·-- right?· Okay.

   15· · · · · · · ·And I'm looking at the wrong thing.                    I

   16· · guess I'll start you with this one.· I'm going to

   17· · hand you what's previously marked as Plaintiff's

   18· · Exhibit 44, which is the informational summary

   19· · Sergeant Decker prepared of his interview with

   20· · Larry Wilson.· If you could take a look through it

   21· · and tell me if you see anything or it reminds you

   22· · of anything that would cast doubt on Officer

   23· · Wilson's credibility?

   24· · A.· · · · ·So, for instance, on 004514 Bates, last


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 167 of 199 PAGEID #: 1643

                                                                              167


   ·1· · paragraph, they, you know, just Wes and them said,

   ·2· · you know, he thinks that all black people are

   ·3· · inferior, that we're dumb.· So he's saying Wes

   ·4· · said he thinks all black people are dumb.· He's

   ·5· · not speaking on firsthand knowledge.· He says the

   ·6· · N word got thrown around a lot.· Have I heard him

   ·7· · say it?· No.· Do I believe he said it?· Yes.

   ·8· · Something like that would be an example where it's

   ·9· · not definitive.

   10· · Q.· · · · ·Officer Wilson -- I mean, I'll ask you

   11· · to just read the whole thing.· I know it will take

   12· · a little bit of time, but you wanted to get a

   13· · sense of the whole thing.· There are things that

   14· · Officer Wilson describes that are not secondhand

   15· · or things that he heard around.· These are things

   16· · that he heard Sergeant Moore say himself.· And I'm

   17· · asking you whether there was any reason from the

   18· · informational summary or from anything else that

   19· · you knew that would cast doubt on Officer Wilson's

   20· · credibility describing what he heard firsthand?

   21· · · · · · · ·MR. COGLIANESE:· Jeff, just to be

   22· · clear, are you going to have him read everything?

   23· · What exactly do you want him to read it for, just

   24· · so we can --


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 168 of 199 PAGEID #: 1644

                                                                              168


   ·1· · · · · · · ·MR. VARDARO:· I'm going to look at

   ·2· · something because we have a little bit more detail

   ·3· · on that, but I think I asked the question I want

   ·4· · answered.

   ·5· · Q.· · · · ·And I guess in particular, were Officer

   ·6· · Wilson's summary -- there's comments that he

   ·7· · describes hearing Sergeant Moore say personally

   ·8· · that he wants to wipe the floor with Eric Cornett,

   ·9· · or take him out back, and that he threatened to

   10· · put a GPS on Eric Cornett's car and take his

   11· · badge.· And also that he observed Eric Moore

   12· · tacitly admit to making racial slurs, in that

   13· · other people asked him directly about it and he

   14· · didn't deny it.

   15· · A.· · · · ·Again, without going through line by

   16· · line, there's just a lot of stuff in here as one

   17· · example that he hedged his answer that would not,

   18· · I don't think, stand up to being definitive.                    I

   19· · asked Officer Wilson if he ever heard -- this is

   20· · on 004516 -- if he ever heard Sergeant Moore when

   21· · speaking with Sergeant Williams or Officer Cornett

   22· · refer to them as a monkey?· He responded, I don't

   23· · know.· I don't know.· And this is why I say I

   24· · don't know.· It all borders together.· And he goes


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 169 of 199 PAGEID #: 1645

                                                                              169


   ·1· · on.· I've heard him many times say, if I could get

   ·2· · him someplace, I would wipe the floor with him,

   ·3· · but it's because of stuff that Eric Cornett had

   ·4· · done to him that he felt was unjust.

   ·5· · · · · · · ·Officer Wilson elaborated.· Sergeant

   ·6· · Moore goes, Larry, if I could get my hands, he

   ·7· · goes, you know what, if all it takes for us to

   ·8· · settle this like men, if we could just go back, we

   ·9· · would settle it right there.

   10· · · · · · · ·And, again, he's explaining that he

   11· · stated this was in an e-mail conversation or

   12· · something that to this day, I never saw it, I just

   13· · heard about it.· Again, there's just -- I didn't

   14· · feel there was enough here to -- with everything

   15· · else we had to -- to pursue that.

   16· · Q.· · · · ·Well, in what you just read, it would

   17· · be accurate to say that Officer Wilson was not

   18· · definitive at all about hearing Sergeant Moore

   19· · make racial slurs, but he was very definitive

   20· · about hearing him say a number of times, if I

   21· · could get him someplace, I would wipe the floor

   22· · with him, and things along those lines?

   23· · A.· · · · ·Yes.· And, again, this is something

   24· · that to my understanding was months old.· And they


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 170 of 199 PAGEID #: 1646

                                                                              170


   ·1· · had worked together and he never actually acted on

   ·2· · anything.· So I had no reason to believe this was

   ·3· · anything more than idle chatter between one

   ·4· · employee and another.· And that's -- that's where

   ·5· · that --

   ·6· · Q.· · · · ·Okay.

   ·7· · A.· · · · ·-- was resolved.

   ·8· · Q.· · · · ·Can you take a look at Plaintiff's

   ·9· · Exhibit 11?· And I'll ask you the same question

   10· · about Officer Watkins.· And in particular, I want

   11· · you to take a look at pages 4 and 5 of this

   12· · summary where he confirms that Sergeant Moore

   13· · called Eric Cornett a monkey or an ape or both.

   14· · A.· · · · ·He was asked if he had ever heard him

   15· · refer to officer as a monkey, an ape or the N

   16· · word, and I'm not repeating.· He responded, yes.

   17· · He asked, well, which one?· And he said, a monkey.

   18· · Q.· · · · ·And he also said on page -- on the last

   19· · page, second-to-last paragraph of the whole

   20· · interview, that he had heard Sergeant Moore refer

   21· · to black people as a race as lazy?

   22· · A.· · · · ·Correct.

   23· · Q.· · · · ·And then the paragraph after that, he

   24· · heard -- he said that he heard him refer to


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 171 of 199 PAGEID #: 1647

                                                                              171


   ·1· · Officer Cornett as an ape?

   ·2· · A.· · · · ·Yeah.· And he also -- he says

   ·3· · specifically, I never heard the N word, but he

   ·4· · said -- asked if he heard Sergeant Moore say he

   ·5· · was going to go talk to Lieutenant Kemmerling

   ·6· · about that ape?· I've heard him refer to Cornett

   ·7· · as an ape specifically about Kemmerling.· I don't

   ·8· · remember the timing on that.

   ·9· · Q.· · · · ·Okay.· So, again, he's definitive about

   10· · him calling Officer Cornett racial slurs and he's

   11· · definitive about him calling black people lazy.

   12· · He's less definitive about the -- some of the

   13· · specific context here?

   14· · A.· · · · ·Correct.· And to reiterate on the

   15· · allegation 16, Sergeant Eric Moore referred to

   16· · Williams, Cornett or others using racially

   17· · derogatory language, I sustained that and said

   18· · it's accurate.

   19· · Q.· · · · ·Okay.· And I guess I'll go back to my

   20· · original question.· You said the reason why it was

   21· · sustained as discourteous but not as an EEO

   22· · violation was, at least in part, because you felt

   23· · it did not rise to the level of hostile work

   24· · environment.· And that's what I was sort of


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 172 of 199 PAGEID #: 1648

                                                                              172


   ·1· · reacting to is what -- what leads you to say that

   ·2· · in particular?

   ·3· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·4· · A.· · · · ·The -- the individuals who state that

   ·5· · they were suffering career -- hostile work

   ·6· · environment had no knowledge based on my reading

   ·7· · of this of this occurring.· It was other

   ·8· · individuals who heard some stuff, but were all

   ·9· · over the place on what it was that they heard or

   10· · what the time frame was, whether it was two months

   11· · ago or two years ago.· And they did not report it,

   12· · so I sustained it that it was improper, absolutely

   13· · 100 percent wrong, no question.

   14· · · · · · · ·But to show -- again, the burden is on

   15· · us to show that it was sustained as a hostile work

   16· · environment.· There was no actions taken against

   17· · the officers.· They had no knowledge of it at the

   18· · time.· So I did not see how I could prove that was

   19· · a hostile work environment to something they had

   20· · no knowledge of.

   21· · Q.· · · · ·Okay.· Would it have to -- I guess my

   22· · question is really about the -- what you mean by

   23· · "a hostile work environment."· Like what -- does

   24· · that have something to do with the Columbus Police


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 173 of 199 PAGEID #: 1649

                                                                              173


   ·1· · standard for what is and isn't an EEO violation?

   ·2· · A.· · · · ·It follows the statutory language,

   ·3· · which I would have to pull out the directory and

   ·4· · go through the four or five items that are

   ·5· · specifically listed.· But if you have that --

   ·6· · again, generally in my mind I have an idea, but I

   ·7· · would have to cite what it was that I compared it

   ·8· · to.

   ·9· · Q.· · · · ·Okay.· Did you have any conversations

   10· · with either division or city HR personnel about

   11· · what would or would not be an EEO violation in

   12· · these circumstances?

   13· · A.· · · · ·Not as I recall.

   14· · Q.· · · · ·Okay.· Commander Jennifer Knight was at

   15· · some point removed from internal affairs by Chief

   16· · Jacobs.· Were you aware of that?

   17· · A.· · · · ·I will classify it or categorize it as

   18· · reassigned.

   19· · Q.· · · · ·Okay.

   20· · A.· · · · ·Which the chief does on a regular basis

   21· · to all commanders.

   22· · Q.· · · · ·Okay.· Do you know why in particular

   23· · Jennifer Knight was reassigned from her position

   24· · in internal affairs?


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 174 of 199 PAGEID #: 1650

                                                                              174


   ·1· · A.· · · · ·I just know that the chief made three

   ·2· · or four changes, which was her prerogative.· So I

   ·3· · don't know, you would have to ask her why she made

   ·4· · that specific decision.· I don't know.

   ·5· · Q.· · · · ·Okay.· So the chief doesn't consult

   ·6· · with you about that?

   ·7· · A.· · · · ·No.· She would not do that.

   ·8· · Q.· · · · ·Okay.· And you didn't make any

   ·9· · recommendations about reassigning Jennifer Knight

   10· · from IA?

   11· · A.· · · · ·No.· My entire limitation was when

   12· · she -- when the chief mentioned she was going to

   13· · make X moves, whatever individuals they were, and

   14· · said she was going to change the assignments of,

   15· · you know, A, B, and C, Jen Knight was one of them.

   16· · I said I would be happy to have her on patrol

   17· · north, so I welcomed her to come to my

   18· · subdivision.

   19· · Q.· · · · ·Okay.· Were you aware at the time that

   20· · you told the chief that, and at the time that

   21· · Jennifer Knight was reassigned from IA, that there

   22· · had been allegations that Jennifer Knight was not

   23· · properly handling allegations of discrimination

   24· · that she was in charge of reviewing with IA?


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 175 of 199 PAGEID #: 1651

                                                                              175


   ·1· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·2· · A.· · · · ·I don't know that they were about

   ·3· · allegations of discrimination.· I know there were

   ·4· · people -- I had heard that there were other chains

   ·5· · of command that did not like the outcomes of

   ·6· · investigations, did not feel they were being

   ·7· · investigated to their satisfaction.· That's all I

   ·8· · know.

   ·9· · Q.· · · · ·What were the chains of commands that

   10· · had a problem with that?

   11· · A.· · · · ·I believe it was Chief Kuebler and

   12· · possible Chief Bash, as I recall.· But I don't --

   13· · I can't confirm, just as I recall.

   14· · Q.· · · · ·What's the best of your recollection

   15· · what that was about?

   16· · A.· · · · ·I think how long it takes to get an

   17· · investigation through the chain of command was --

   18· · is just unacceptable.· The -- again, this type of

   19· · investigation that is so expansive and not

   20· · narrowly defined, to focus on the real issues, I

   21· · think we probably could have narrowed this down to

   22· · three concrete allegations that were critical

   23· · misconduct related, untruthfulness, unbecoming

   24· · conduct, violations of laws potentially.· If we


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 176 of 199 PAGEID #: 1652

                                                                              176


   ·1· · had that proof for EEO sake, could have narrowed

   ·2· · it down and had probably a better work product.

   ·3· · So I think they were wanting a change in direction

   ·4· · there.

   ·5· · Q.· · · · ·Okay.· Do you remember specifically

   ·6· · whether there was a concern about an investigation

   ·7· · that Jennifer Knight had authority over for --

   ·8· · involving a racial profiling by patrol officers in

   ·9· · a particular zone?

   10· · A.· · · · ·I remember the case.

   11· · Q.· · · · ·Okay.· Do you remember the -- there was

   12· · concerns within the chain of command about

   13· · Jennifer Knight's handling of the case?

   14· · A.· · · · ·I remember there were allegations made

   15· · by the person accused of discrimination making

   16· · allegations, but I did not investigate them.                    I

   17· · don't have any firsthand knowledge of what was

   18· · occurring in those investigations.· I did not --

   19· · it was a whole different chain of command, so I

   20· · did not oversee those.

   21· · Q.· · · · ·Okay.· How about the situation where

   22· · Falacia Dragin had raised a concern about Jennifer

   23· · Knight telling a white command officer that she

   24· · had made a discrimination complaint about that he


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000                         YVer1f
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 177 of 199 PAGEID #: 1653

                                                                              177


   ·1· · didn't need to worry about the investigation and

   ·2· · she was going to handle it?

   ·3· · A.· · · · ·I know that allegation was made.                   I

   ·4· · don't know what the actual statement was or what

   ·5· · the context was, so I made no conclusion on that.

   ·6· · Q.· · · · ·Okay.· You don't know whether that had

   ·7· · any impact on Jennifer Knight's reassignment from

   ·8· · IA?

   ·9· · A.· · · · ·The chief would not have talked to me

   10· · about that.

   11· · Q.· · · · ·Okay.· With one exception, those are

   12· · all the questions I have for you today.· The one

   13· · exception is:· Do you have anything in what you've

   14· · said throughout the whole rest of the day that you

   15· · feel you need to add to or correct at this time?

   16· · A.· · · · ·I feel I did that along the way.

   17· · · · · · · ·MR. VARDARO:· All right.· Then those

   18· · are all the questions I have.

   19· · · · · · · ·THE WITNESS:· Thank you, sir.

   20· · · · · · · ·MR. COGLIANESE:· He'll read.

   21· · · · · · · ·(Signature not waived.)

   22· · · · · · · · · · · · ·- - - - -

   23· · · · · · ·Thereupon, the foregoing proceedings

   24· · · · · · ·concluded at 3:15 p.m.


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 178 of 199 PAGEID #: 1654

                                                                              178


   ·1·   · State of Ohio· · ·:· · · ·C E R T I F I C A T E
   · ·   · County of Franklin: SS
   ·2
   · ·   ·   · · I, Mary Bradley, RPR, CRR, a Notary Public in
   ·3·   ·   and for the State of Ohio, certify that Thomas
   · ·   ·   Quinlan was by me duly sworn to testify to the
   ·4·   ·   whole truth in the cause aforesaid; testimony then
   · ·   ·   given was reduced to stenotype in the presence of
   ·5·   ·   said witness, afterwards transcribed by me; the
   · ·   ·   foregoing is a true record of the testimony so
   ·6·   ·   given; and this deposition was taken at the time
   · ·   ·   and place specified on the title page.
   ·7
   · ·   ·   · · Pursuant to Rule 30(e) of the Federal Rules of
   ·8·   ·   Civil Procedure, the witness and/or the parties
   · ·   ·   have not waived review of the deposition
   ·9·   ·   transcript.

   10·   ·   · · I certify I am not a relative, employee,
   · ·   ·   attorney or counsel of any of the parties hereto,
   11·   ·   and further I am not a relative or employee of any
   · ·   ·   attorney or counsel employed by the parties
   12·   ·   hereto, or financially interested in the action.

   13· · · · IN WITNESS WHEREOF, I have hereunto set my
   · · · hand and affixed my seal of office at Columbus,
   14· · Ohio, on August 6, 2019.

   15

   16

   17

   18

   19
   · · · __________________________________________________
   20· · Mary Bradley, Notary Public - State of Ohio
   · · · My commission expires September 19, 2019.
   21

   22

   23

   24


               Realtime - Videoconferencing - Trial Presentation - Video
                         Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 179 of 199 PAGEID #: 1655

                                                                              179


             ·   · · · Witness Errata and Signature Sheet
             ·   · · · ·Correction or Change Reason Code
             ·   ·1-Misspelling· 2-Word Omitted· 3-Wrong Word
             ·   · ·4-Clarification· 5-Other (Please explain)

             Page/Line· · ·Correction or Change· · ·Reason Code

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________


             I, Thomas Quinlan, have read the entire transcript
             of my deposition taken in this matter, or the same
             has been read to me.· I request that the changes
             noted on my errata sheet(s) be entered into the
             record for the reasons indicated.

             Date__________Signature___________________________

             The witness has failed to sign the deposition
             within the time allowed.

             Date__________Signature___________________________

             · · · · · · · · · · · · · ·Ref: Mb30925tq· S-mb P-bw



                 Realtime - Videoconferencing - Trial Presentation - Video
                           Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 180 of 199 PAGEID #: 1656




                            19 107:6        41 104:2,18     acquaintance    admin 32:15
           Exhibits          110:22          109:22          37:5 50:12       49:15,19
                             113:17          116:2,3        act 43:17         72:3 93:12
            30216 Exhibit   1984 15:9        124:24          82:6 86:21     administer
             010 4:5 60:1                   44 166:18        88:12 91:7       22:19,23
                            1989 15:12
              69:9                                           142:3
                            1992 47:14                                      administratio
            30921 Exhibit                     5             acted 170:1     n 14:22
             011 4:6        1993 15:3                                         16:17 20:11
                                                            acting 39:18
              170:9         1996 18:4       5 105:23                          23:22 67:21
                                                             40:6,7 43:22
            30921 Exhibit                    170:11          107:21         administrativ
             038 4:7                        580 71:8,20      155:9          e 20:15 49:18
                              2
              154:8                          73:1 75:3       158:20           62:8 67:14
            30216 Exhibit                                    159:3            71:14,22,24
                            2 106:14,15                                       92:2,22
             041 4:9                                        action 26:19
              104:2,18      2/25/16           6                               155:22
                                                             28:4 29:3,8
              109:22          109:11                         31:9 35:23     admission
              116:3         20 38:3 107:2   6 19:4           48:11 59:17      89:23 91:1
              124:24          110:22                         76:9,13          134:14
            30921 Exhibit     113:17          7              80:7,9,10      admit 133:17
             044 4:10         128:14                         82:1,7 84:2      168:12
              166:18                                         85:21 86:16
                            200 121:2       7 108:19                        advance
                                                             88:3,16
                              128:1,3,15                                      43:22 85:20
                                                             89:18 95:2
               0            200-page          8              132:18,19      advise 39:16
                              127:2                          140:2,3          70:23 120:2
            004514          2001 14:19      8 108:19         146:12
             166:24                                          147:19         advising
                              17:22         8th 16:4                          160:3
                                                             148:13,14,
            004516          2002 19:3,4       66:14,15,21    15 149:15
             168:20                                                         advocated
                            2004 19:9,10,                   actions 86:4      143:9
            014408 109:8      17              9              134:2 140:4    affairs 18:8,
            014421          2005 19:4                        142:5            12,15,22,23
             104:15                         9 108:19         172:16           19:22,24
                            2006 18:4        116:7 120:5
            014423 116:4                                    active 62:6       23:6 28:12
                            2009 17:15,                      75:17            33:5,12
            014425 107:2      23                                              34:1,4,10
                                              A             activity
            014427          2013 16:13                                        35:1 40:16
             104:19                                          22:12 41:9       44:21,24
                              17:4          ability 8:10     85:18            60:7,12 64:8
                            2014 55:4        74:5            114:21           66:21 94:7
               1              81:12,13      absolutely       132:22           97:24 98:4,
                              82:16          42:6,9 137:5    134:7            12 102:23
            1 106:14,15                      138:5           147:13           115:3,19
                            2015 104:8
            1,900 50:24                      172:12         actual 69:4       116:8 120:6,
                            2016 39:10                                        8 130:14
                                            abuse 80:20      102:21
            1.15(a)1          112:6                                           146:22
                                                             131:24
              129:20          125:16        academy                           150:22
                                                             133:9 142:5
              130:2         2017 39:12       41:1 72:7       177:4            173:15,24
            1.15(a)5        2019 16:4       accept          add 8:1         affected
              120:8                          156:19          22:21            75:9,10,11
                            208-page
            1.36 120:10                      158:4           141:15         affirmatively
                              122:9
                                            accepted         151:2            114:8
            10 60:1 69:9    21 105:22
                                             32:23           177:15
            100 127:1                                                       agency
                            24th 15:12                      added 44:8
              172:13                        account                           155:4 156:4
                            25 128:2         161:20,24      adding
            11 106:15                                                       agent
                            28th 104:8      accurate         150:23           156:15,16
              170:9
                                             151:15         addition        agree 139:17
            115 129:23                       169:17
                              3                              144:21
            115(a)1                          171:18                         ahead 39:21
                                                            additional        85:14 87:24
              130:7                         accurately
                            3 116:4                          35:13,14         89:15 92:20
            13 106:15                        8:11,14         82:19            94:15 95:8
                            30 9:5 40:24                     103:20
            14 141:1                        accused                           126:2,13
                            300 128:1        30:15 53:20     128:23           132:2
            15 106:18                                        150:21
                            35 9:5           70:1 74:3,4                      133:24
              141:3                                          159:9
                                             76:8 84:19,                      134:15
            16 129:18       38 154:8         20 85:3                          137:12
                                                            address
              141:3         3:15 177:24      89:11           82:11            138:10
              171:15                         123:22                           139:22
                                             134:3 137:1,   addressed         141:24
            169 154:10        4                              104:7 155:3
                                             20 150:2                         150:7
            17 39:12                         152:13         adequate          152:19,22
            18 106:15       4 129:18         157:14          45:18 146:6      153:20
                             170:11          176:15                           156:10


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 181 of 199 PAGEID #: 1657




              157:1,8,21     alleged 55:3    arbitrations     authority       badge
              158:11,18        70:22 74:19     29:19           58:16 59:9      111:20
              163:9            114:12          142:22          73:9,13 76:7    168:11
              165:23           153:24        arbitrator        84:8 93:3      balancing
              172:3 175:1      161:22          44:12           95:5 112:12,    97:12
            allegation       allegedly         118:12,21       16,22 113:1
                                                               117:13         balling 93:18
              44:20 53:5,      24:10,16        131:4 141:9
              15 54:6,15       115:16          142:17          122:20         bar 92:3,5
              69:2 70:10       144:21                          147:15,20       134:9,11,13
                                             arch 37:19        148:1,5,15
              71:4 74:14     alleging          41:21 42:2,7                   base 157:10
              80:3,20                                          149:4,6,8,
                               70:15                           17,21 159:9     159:4
              84:13 85:16,                   argue 45:5
              17 86:8 88:8   allowed                           176:7          based 65:1
                                             aspect 52:9                       73:14,24
              89:2 91:7        43:18 56:8      92:21          authorized
              93:12 98:20      88:17                           102:11          78:1 89:22
              99:15,16         101:12        aspects                           95:11
                               109:2           143:5,10,11,   automatic        111:11
              103:2,18                                         157:18
              105:16,21,                       16                              122:19
                             analysis                                          142:23
              22 106:18        142:11,12     asses 99:7       automatically
              107:2,6                                          166:11          143:14
              108:19         and/or 62:15    assessment                        148:19
                                               165:5          avenue           172:6
              111:15         angles 81:19                      63:20
              113:16                         assign 34:12                     Bash 91:18
              115:21         answering         53:17 62:7     awaiting
                               138:16                                          175:12
              116:7 120:1,                     72:3            71:18
              5 122:23       answers                                          basic 37:16
                                             assigned         awards
              129:17,18,       120:12,17       16:17 33:17     30:17          basically 8:7
              19 130:3,13,   anymore           49:15,17,18,                    26:2 35:18
              16,18 134:8                                     aware 43:20      44:11 65:18
                               149:13          21 51:11        52:16 72:17
              135:11,20                        54:3 72:19                      69:21 86:6
              136:22         ape 136:13                        73:6 88:2       90:23 93:15
                               170:13,15       108:10          128:22
              137:9,14                         115:4                           115:10
              138:12,16        171:1,6,7                       135:6           117:10
              139:6,12                       assignment        144:18          126:3 139:8
                             apes 85:5                         152:11
              141:20           89:7 131:14     16:9 17:7                       142:15
              144:4,15                         18:6 25:1       154:14          147:7,13
              145:3,5,21     apologize         40:15 71:22     157:4 161:7,
                               9:15 19:10      72:20 73:2      11 162:24      basing
              146:7 148:3,                                                     142:22
              22 155:1         75:13 101:4     74:9,15 83:3    173:16
              158:15                           107:7           174:19         basis 49:21
                             appeared
              171:15           82:14         assignments      awhile 99:18     70:8 86:3
              177:3                            31:14 42:22,                    90:4 92:18
                             appears                                           95:4 113:12
            allegations        110:4           23 71:24         B
                                               75:3 174:14                     173:20
              23:18 24:9
              51:23 52:16    applies                                          Bates
                               26:14         assume 7:13      bachelor's
              53:23 54:2                       8:17 18:1                       104:12,14,
                                                               14:24
              56:1 68:1      apply 25:7        61:4 71:1                       18 107:1
              72:22 75:19      92:15                          back 10:12       166:24
                                               104:20
              80:19,22                                         11:24 14:6
                             appreciation      113:21                         bathroom
              81:19 82:23                                      15:18 25:4
                               122:18          158:22                          96:9
              83:4 86:17,                                      35:14 44:13
                                               159:3                          Battle 49:6
              21 102:1       approach                          45:14,17
              103:20           97:24         assumed           46:1 48:19     beat 138:7
              105:12                           111:10          51:5 58:3
                             appropriately                                    beating
              106:7,14,24                    assuming          69:13 74:18
                               87:20,21                                        136:20
              108:2 110:7,                     55:24 58:24     75:2 76:20
              9,22 112:12,   appropriaten      113:24          86:1 89:21     beginning
              16,18 115:6    ess 159:5                         92:7 93:14,     13:8 61:7
              117:1,3,11,                    ATF 156:15        22 99:7         96:12 105:8
                             approval          157:6 158:2
              12,14,22,24      112:14                          105:24          114:3,4
              119:17                           159:1           109:8,23
                             approve                           117:21         belief 82:9
              121:16                         attachment                        86:14 90:11
              122:11,12,       34:13           109:23          118:5
                                                               120:19,21       114:5
              13,24 126:7    approved        attention
              128:24           109:12                          132:23         believable
                                               51:13,24        134:17,18       119:5
              134:6            111:7           56:4 94:10
              144:11                                           135:7 138:7
                             approves          146:5,10                       believed
              153:18                                           141:13,14
                               35:8 112:21     148:9 149:2                     68:23
              160:4                                            146:13,19
                                               153:7                           114:13
              162:22         April 19:4                        168:9 169:8
              166:6            81:12,21      attorney's        171:19         bias 84:15
              174:22,23      arbitrary         6:22           background      big 139:11
              175:3,22         95:11         attorneys         99:23
              176:14,16                                                       binding
                             arbitration       5:13 9:21      bad 42:15        111:22
            allege 71:12       118:13        August 55:4       163:14         birthday
                               162:14          81:12                           37:24


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 182 of 199 PAGEID #: 1658




            bit 14:7 20:5   buildings        career-           58:7,11,14      115:3 117:6
             51:10 57:12     66:16           impacting         60:2,5 61:1     130:2
             87:9 114:2     burden             56:17           62:11 63:4,     153:19
             132:13          91:12,15        careers 37:7      15 64:7,18,     160:4
             158:8           137:22                            24 83:14        162:10
             167:12                          careful           88:2 91:17
                             172:14            70:11,17                       charges
             168:2                                             94:9 98:9,14    18:16 26:18
                            bureau             75:16           101:17
            biweekly         17:12,13                                          31:5,8
             93:19                           carried           103:19,21,      33:21,22
                             18:14,19,23,      123:23          22 107:17
            black 85:6,7,    24 33:8                                           34:19 35:9
                                                               108:3,7         46:6 76:13
             11,12 89:6,7    34:11,23,24     carry 152:24      110:8,10,23
             98:21 99:14     57:18 103:9                                       102:21
                                             case 5:14,22      111:4,12,16,    103:8,10
             131:14,17       107:7             6:7 13:7        17,23
             140:8,19                                                          105:5,19
                            business           31:19 33:19     114:14          109:6,13,15,
             141:22          40:17             34:13 35:7,     115:4
             164:14                                                            24 111:8
                                               12 43:2         116:22          112:19,24
             167:2,4        bypass             45:13,16,21     117:15,18,
             170:21          109:5                                             113:11,24
                                               60:3 64:6,7,    20,21,24        120:3
             171:11         bypassing          10,23 65:6,     122:11,13       125:22,24
            blanking         109:12            8,24 67:7,      126:24          126:8,14,16
             159:15                            13,18 68:2      129:12,15       131:6 140:1,
                                               74:2,8 76:11    135:11          14,15,17,18
            blatant 27:1       C               80:2 82:3,10    148:22          141:7 143:4,
            blind 44:11                        86:16 87:2      150:8,17,19,    5 162:21
                            C-U-R-M-O-         88:5,6,14,      24 151:4
            bolts 128:12                                                       163:1
                            D-E 77:1           15,21 91:9      153:11
            Bond 91:20                         93:20 95:2,     155:13         charging
                            C4 33:6
                                               19,21,22        156:8 159:8,    160:9,11
            borders         calendar
             168:24                            96:3 97:11      20 160:5,15    chatter 86:23
                             76:21,24          103:12          161:3           170:3
            bother 35:19     77:15             108:6           175:17
                                               111:20          176:12,19      check 6:21
            bottle          call 56:2 66:8
                                               112:20                          12:20
             118:14,15       70:14 71:11                      chains 57:16
                                               125:1,22                        124:11
             119:10          100:19                            110:5
                                               126:4 131:5                     151:4
                             131:14                            123:24
            bottom 82:8                        132:5 133:8                    checklist
                             153:2                             175:4,9
             116:5                             134:3 136:2                     95:24
             154:18         called 32:19                      challenged
                                               137:21                         chief 11:22
                             67:13 93:18                       132:12
            bounds                             141:8,12                        16:1,3,5,8,
                             103:5
             146:22                            142:4,6        challenges       10,12,16,19,
                             110:18
             147:14                            143:10,16       164:18          23 17:1,5,8
                             154:2
            bowl 70:14,                        148:5 151:6,                    18:16 19:5,
                             170:13                           change
             15 71:7,11                        24 164:6                        7,20,21
                            calling 85:6,      176:10,13       16:23
            break 96:8,                                        130:17          20:1,3 23:18
                             7 89:6
             18 97:17                        case-by-case      146:19          25:2 26:9,10
                             136:12
             163:21                            89:19           147:3           31:23 32:3,
                             171:10,11
                                             cases 18:15       174:14          10 33:7,8,9,
            Brian 74:13     calls 41:16                        176:3           10,22,24
                                               23:12,15
            briefed 94:22   Cameron            33:19 34:12                     35:8 36:9,
                                                              changed          12,16,23
             129:3,5,6       37:13,22,23       63:17 64:4,5    57:18 64:9
                             38:10,18          69:3 70:18                      37:10 38:18
            briefing                                           120:10          39:5,16,18
             129:4           39:1 60:11        111:11
                             69:15,20          113:2,8        charge 92:3,     40:6,7 41:10
            bring 33:19      107:3             132:5 135:8     6 93:15         45:6 49:17
             76:12           162:11            140:3           102:20          55:8 56:22
             126:17                                            108:23          57:9,18,21,
                            capacity         cast 165:20       126:16          23 58:16,18,
            bringing         49:19             166:22          127:19          20 59:3,5,8,
             164:19                            167:19          130:13          20,23 60:15,
                            capricious
            brought          95:12           categorize        131:1,24        18 61:2,4,15
             51:12,24                          173:17          132:19          62:5 64:14,
             56:4 80:3      car 168:10                         133:2,7,23      18 66:20,23
             132:6,8        card 146:16      caught 130:6      135:2,10        67:4,19
             146:4,9                           156:24          138:1,9,19,     69:16 70:19
                            care 146:11
             148:8,22                        central 14:17     22 139:18       71:2 83:17
                             148:10
             153:7                             66:15           141:21          91:18 93:2
                             149:1,3
            Brust 40:19                                        142:15          96:7,23
                            career 29:6      cetera 63:21      143:14          97:20,23
             111:1 146:5,
                             31:9,12         chain 24:12,      147:10          98:5,14
             10,20 147:1
                             32:1,12 33:3      19 34:14        156:15          100:7,15,20
             148:17,24
                             47:9 48:3         35:7 45:1,4     174:24          101:10,13,
             149:10,16
                             70:16 71:5        46:19,20                        14,15,20
             150:5 153:8                                      chargeable
                             75:6 85:23        47:5,17,20                      102:7,10,14
            Brust's                                            155:21
                             92:10 93:9        48:2 49:20                      103:1,6,7,12
             110:8 112:2     172:5             51:13 55:8,    charged          104:19
             148:9                             10 56:6,11      44:10 92:12     105:4



             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 183 of 199 PAGEID #: 1659




              107:18,21        102:22          46:21 47:5,    commenced        concerned
              108:13,17,       106:5           18,20 48:2       140:24          75:5,8 153:3
              20,21 109:7,     140:12          49:20 51:13    comment          concerns
              10,12 111:7,   clarifying        55:8,11          28:4            71:20 75:4
              13 112:4,10,     36:8            56:6,11,14                       118:10
              13,18,21                         58:7,11,15     comments
                             classify                           24:10,16        127:12
              113:9,10,16                      60:5 61:1                        152:6 158:7
              114:1            20:13           62:12 63:5,      51:16 77:23
                               173:17                           80:22,23        165:1
              115:19                           15 64:8,19                       176:12
              125:4,9        classmate         73:7 83:14       81:11 83:6
              126:10,20        40:20           87:19,20         85:4 110:13    concluded
              130:14                           88:2,24          161:13          177:24
              134:19         classmates        91:17 94:9       168:6
                               40:23                                           conclusion
              142:9,14                         95:5 98:14     commingled        102:17
              143:3          clean 141:15      101:18           80:6            104:4
              147:16,17                        103:19,21,                       134:20
              148:4,12       clear 30:9        22 107:17      Commission
                               58:13 65:24                      21:16           137:8 177:5
              150:17,20                        108:3,7,10
              155:10,13        67:13 68:18     110:5,8,10,      162:22         conclusions
              159:15           113:13          23 111:16,                       64:22
                               118:21                         committed
              160:8,9,17,                      17,23            90:6 163:6      119:16
              18 163:24        167:22          114:14                           121:13
              173:15,20      clearer           115:5          common            161:21
              174:1,5,12,      123:15          116:22           27:16
                                                                               concrete
              20 175:11,     close 35:15       117:15,18,     companion         119:14
              12 177:9         163:21          20,21,24         18:13,17        175:22
            chief's 69:5                       122:11,13      comparables
                             club 38:6         123:24                          concretely
              102:22                                            113:19          118:19
              104:23         coached           127:1
                               47:7            129:12,15      compare          condition
              110:12                                            30:20
              112:21                           135:11                           26:3
                             Coglianese        148:22
              119:3,4          9:7,23 12:24                   compared         conditions
              147:22                           150:8,17,20      28:5 128:24     8:9
                               31:1 43:9       151:1,5
              162:4            85:14 87:24                      173:7
                                               153:11                          conduct
            chiefs 16:16       89:15 92:20     155:14         comparison        25:22 26:17
              56:16 128:7      94:15 95:8      156:9            74:7            52:18 53:18
                               99:10           158:17         competency        54:8 75:10,
            choice             104:11
              32:20,23                         159:8 160:5,     48:13           11,12 86:10
                               105:14          15 175:5,17                      90:15
              152:2            106:2 114:9                    complaint
                                               176:12,19,                       108:21
            choke 101:1        132:2           23               13:6 44:7       116:21
                               133:24                           148:2           118:2 120:8,
            Chris 91:20                       command's         176:24
                               134:15                                           10,11,18
            circumstanc        137:12          64:24                            123:1
                                                              complaints
            e 83:24 101:8      138:10,24      commander         151:12          127:21
            circumstanc        139:2,22        17:9,11,14                       129:20
                               140:11          32:17 34:1,    completed         130:3 133:5
            es 86:8 135:9                                       33:19
              173:12           141:24          4,9,16 37:12                     144:23
                               150:7           39:3,4,17        102:23          152:12
            cite 173:7         152:19,22       41:4,5,6,7,    completely        175:24
            cited 108:22       153:20          10 42:11         117:8
                               156:10                                          conducted
            citizen 90:13                      43:23 54:4     complex           30:5 54:11
                               157:1,8,20      60:10 63:23
              148:2            158:9,11,18                      63:17           62:18 91:10,
                                               77:1,5 78:15     116:23          19 92:23
            citizens           163:9           102:10
              130:11           165:23                         complicated       102:5
                                               104:8,10                         115:11
            city 5:10          167:21          107:3 110:6      164:9
                               172:3 175:1                                      148:3
              6:21 21:24                       111:2,3,14     complimenta
              23:22 60:2       177:20          112:2          ry 25:9          conducting
              90:19,20       colleague         125:12,15,                       6:18
                                               16,17,18       compliments
              91:1 95:1        36:11,19                         30:16          conferred
              173:10           37:17           127:6,12                         113:17
                                               130:15         computer
            Civil 162:21     collected         134:19           27:6           confident
            civilians          104:3           150:13                           70:19 94:20,
                                               162:11         concern           21
              73:10 75:10    color 153:16                       75:19 84:6,
              85:12 87:21                      173:14                          confirm
                             Columbus                           12 85:9,20
            claim 56:10        5:10 6:3       commanders        94:24 131:2     78:11 137:3
                               15:10,24        111:4            146:4 151:9     175:13
            clarification                      173:21
              63:19            20:23 21:24                      155:2          confirmation
                               25:6 156:2     commanding        156:11,24       113:21
            clarifies 60:4     172:24          165:9            157:7,16       confirmed
            clarify 7:13     command                            158:16          111:6
                                              commands          165:2 176:6,
              24:22 48:15      22:18 24:12,    175:9
              76:15,17                                          22             confirms
                               19 34:15                                         170:12
              77:7 79:6        35:8 45:2,4


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 184 of 199 PAGEID #: 1660




            conflicting     continuum        153:18          91:6,9,12,15    158:8
             130:24          28:3           corroborated     92:3,6,13,21   December
            confronted      contract         58:9 135:19,    93:15,19        15:12
             88:6            26:5 29:5       23 139:15       94:2 134:3
                                                             137:21         deceptive
            confronting      85:22 102:7     164:12                          116:8 120:6
                                                             156:6
             157:9          control         corroboratin                    decide 59:21
                             56:14          g 70:2          criminally
            confused                                         92:12           71:3 103:10,
             58:4           conversation    corroboratio     155:21          22 108:23
            confusing        66:8,24        n 56:5 58:15                     117:5
                             100:13          88:9 137:5     criteria         121:16
             119:7                                           147:23
                             127:5,11,15    counsel 8:22                     130:15,18
            confusion        131:16                          149:20          160:14
             24:15 57:12                     11:5
                             144:9 145:1                    critical        decided
            conjecture       157:5          counseled        26:14,16,21
                                             146:11                          149:11
             162:2           161:17                          28:4,19 29:3    158:13
                             169:11         counseling       51:22 64:10
            connect                                          70:22 92:16    decides
             68:4,7 70:3,   conversation     103:6
                                                             126:8 131:5     23:20 86:7
             5 118:11,16    s 62:5,20       couple 6:18
                             63:6,23                         175:22         deciding
             144:11                          8:7 19:16,18
                             74:20 143:2,    24:7 38:9      CROSS-           151:2
            consideratio     7 173:9                        EXAMINATIO
            n 30:12                          40:2 61:3                      decision
                            convey 67:3      79:5 80:11,    N 5:4            56:20 58:20,
             68:21 87:22
             89:17                           15 96:8        crossed          23 61:6,9
                            convicted        98:21 102:1                     64:19 70:7,
             142:15          8:19                            123:24
                                             105:11                          24 73:4,14
            considered      convincing       132:10,13      Curmode          79:23 83:13,
             28:19 89:24     30:9 118:21                     54:5 77:1,5,    23,24 87:7
             115:17                         courses          24 78:16
                            convoluted       20:14,16                        89:19 91:8
             153:21                                          104:9 111:3     93:23 94:1,3
                             119:12         court 31:13
            consisted        120:15                         Curmode's        108:17
             120:24          143:20         courteous        110:6 112:3     109:2
             122:10                          129:21,23      current 5:9      117:17
                            copying          133:12                          118:13
            consistent       60:15 69:16                     15:24 56:11
                                                             58:11 85:17     128:8,13,14
             72:8 155:5                     cover 96:15                      134:21
                            corner 145:7     110:2,14,18,
            constructive                                    Custer 38:19     150:13
             103:5          Cornett          19 116:4                        155:6
             143:19          47:19 98:23     129:18                          157:11,12
                             99:6 100:2,                      D
                                            CPD 21:23                        159:6
            consult 59:3     7,14,20                                         160:14
             71:2 150:16                     22:7,9,24
                             135:12                         daily 49:20      162:4 174:4
             174:5                           23:3 25:14,
                             136:6,13,20     20,24 26:2,    Daniels 43:2
                             138:3,6,13                                     decision-
            consulted                        14 27:23                       makers
                             144:22                         date 11:16
             83:16                           28:2,6 40:10                    31:20
                             153:17                          76:24
             145:20                          75:18 91:21
                             161:22                          126:20         decision-
             150:20                          140:5 155:5
                             162:20                          132:8          making
             156:15                          156:4
                             163:8 168:8,                    140:24          34:17 87:11,
            contact          21 169:3       CPD's 22:20                      12 122:19
                                                            dated 10:11
             73:10           170:13          26:10                           160:2 162:9
                                                             70:11 104:8
            contemplatin     171:1,6,10,    craft 126:16
                             16                             dates 14:1      decisions
            g 85:1                                                           34:15 43:19,
                                            create 90:18     57:23 77:3
            content         Cornett's        109:15          78:11 83:22     20 56:8,15,
             128:7,12        168:10                                          16,17 62:6
                                            created         day 169:12
            contents        correct 8:1                                      73:16 75:20
                                             147:2           177:14
             10:19           25:3 28:13,                                     103:18
                             16 35:24       credibility     days 61:3        150:10
            contest          36:6 106:13,    132:13                          160:9,11,18
                                                            DCC 109:1
             96:13           17 107:9        164:9,16,18     112:11,17,     Decker 60:12
            context          113:15          165:6,12,20     21 113:10       62:18,21,22
             121:21          116:16          166:2,23                        63:7 65:5
                                             167:20         DCCS
             122:14,17       121:10                                          66:24 67:4,
                                                             112:14
             152:16          129:12         credible                         11 68:11,22
             153:21          135:14,16       70:21 134:7    deal 34:7        69:16,21
             171:13          166:13          166:12          41:7,13         74:19,22
             177:5           170:22                          42:12 148:1     76:22,24
                             171:14         credit 153:2
            continue                                        dealing          77:4 78:3
             88:18 90:12,    177:15         crime 8:19       45:23 52:19     101:23
             16             corrected        90:7,21                         114:12,23
                                             155:20         dealings         115:7,16
            continued        147:1                           47:12 48:20
                                            criminal                         119:17
             82:18          corrective                      dealt 21:19      120:24
                             48:11           14:20 15:22
            continuing                       54:8,10                         122:2
                                                            death 137:2,
             76:6 80:5      corroborate      89:24 90:15                     126:22
                                                             4,10 157:15
             141:5,12        119:21                                          127:13,23



             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 185 of 199 PAGEID #: 1661




             128:23          131:6          description       41:9,11        discriminatio
             129:6,7         132:19          136:10           46:23 47:5     n 6:7 20:20
             131:12          133:2,7,23     descriptions      52:21 53:7,     21:1,19 23:2
             143:8,20        140:7,15,16,    41:23 85:5       14 54:13        58:10 62:16
             144:9           18 141:21       87:2             64:17 73:9      84:14 130:9
             145:24          147:6                            98:4,11         135:1 166:6
             150:15                         designed          105:11          174:23
                            Depends          148:11
             151:7,10        26:22                            115:20          175:3
             154:24                         desk 77:19        120:17          176:15,24
             156:14         deposition       127:16           137:13
                             5:15 6:15,18                                    discriminator
             157:4 158:2,                    128:4          directed         y 24:10,16
             15,22           7:21 8:22
                             10:7 12:16     detail 115:2      27:11 52:17     51:15 85:4
             159:22                                           54:4 83:7
             161:11          13:15 61:23     128:6 139:8                     discuss 67:7
                             78:7,22 79:1    168:2            115:19
             166:19                                           116:24         discussed
                             80:15 101:2    details 100:4                     109:9
            Decker's         164:1                            118:4 127:7
             114:5                          detective         148:3 149:7     110:15
             135:17         depositions      47:24                            119:23
                             7:1,3 38:9                     directing         142:9
             136:9 139:7                                      84:10
             144:3,20                       determinatio                      143:12,24
                            deputy          n 26:6 45:6
             145:14          16:10,11,15,                   direction         163:11
             153:24                          65:1 70:17       13:21 63:19
                             19,23 17:1,     91:22 93:22                     discussing
             154:9           4,8 19:20,21                     80:1 97:10      64:3 65:15
             160:22                          97:2 104:24      128:20
                             23:18 25:2      118:6                           discussion
             161:11          26:9 33:6,7,                     150:18,21
                                            determinatio      176:3           61:14 62:10
            deemed           10 36:9,12,                                      67:6,9 84:1
             133:4           16,23 37:10    ns 103:13       directions
                                             105:4                            123:13
                             38:18 39:4,                      78:12           125:21
            default 72:2     18 40:6,7      determine       directly 34:7     126:3
            defend           41:10 45:5      26:4 76:11       36:15 37:7      142:13
             152:24          49:17 55:8      92:23 150:4      39:2,5          144:14
            defense          56:16,22                         46:16,17
                             57:9,21,23     determined                       discussions
             146:14                          27:24 44:21      47:22 50:13,    61:11
                             58:16,18                         14,17,18
            defined          59:3,8,20       92:5 148:16                      102:14
             175:20                          153:14           98:12           125:1
                             60:18 61:4,                      168:13
                             15 64:18        155:21                           134:18
            definitive                       156:3
             167:9           71:2 83:17                     director          160:8,12
             168:18          91:18 97:23    determines        33:22 141:9     163:4,16
             169:18,19       98:14           156:4          directory        dishonesty
             171:9,11,12     101:15         determining       173:3           67:1
                             102:22          26:6 102:4
            degree           103:1,6,12                     disadvantage     disinterested
             14:15,24        104:19,23      develop 32:2      29:6 31:10      98:17
             20:10           105:3           70:22            70:16 71:5      150:22
            delay 141:5      107:18,21                        85:24 92:10    dislike 48:17
                                            developed         93:9
                             108:17,20,      80:21
            delivery         21 110:12                                       disposition
             156:19                                         disagreemen       103:2,18
                             111:13         development     t 58:19 59:5
             157:17          112:4,21       s 69:22                           112:15
             158:4           113:10,16                      disciplinary      147:15,16,
                                            device            75:18 86:23     20,22 148:5
            delve 24:6       125:3 128:7     157:17
                             147:16,22                        102:20          149:9
            denied 54:21                    dial 124:22
                             148:4,12                       discipline       dispositione
            deny 168:14      150:17         Dick 144:23       30:17 35:9     d 115:22
            department       155:12          145:5            48:12 71:18     146:18
             15:15 16:18     159:14,15       148:23           103:4          dispositions
             36:13 37:1      160:8,17        152:11           108:24          108:9
             38:10,22       derogatory      differ 73:1       109:4,13
             69:4 75:11,                                      113:20         disprove
                             80:7,22 89:3   difference                        44:23
             17 84:13        129:11                           125:13
             86:7 134:24                     76:2             126:15         dispute
                             139:20
             151:16          140:8,21       differently       142:20          81:16,17
             155:10          141:22          84:18            146:14
                                                              147:12,21      disregarding
            departmental     171:17          122:23                           147:13
             18:16 26:18                     141:10         disciplined
                            describe                                         disrupt 71:4
             31:5,8 33:21    42:13 50:9     difficult         149:15
                                                              162:10          76:14
             34:18 35:8      85:5 134:1,6    118:11
             76:12 93:2      166:12          130:21         discourteous     disrupting
             102:21                          131:1,7          133:5           75:6
             103:8 109:6,   describes
                             167:14         direct 19:24      171:21         distinction
             13 111:7                        25:12 33:1,                      56:12
             112:19,24       168:7                          discovered
                                             15,16 34:12      51:11 63:12    distract
             113:11,24      describing       38:3,24
             125:23          76:5 83:10                       122:18          142:16
                                             39:22,23         148:6
             126:8,14        167:20          40:1,12


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 186 of 199 PAGEID #: 1662




            division         73:8,22           51:24 52:9     environment       63:12 64:9
             20:24 43:20    duty 31:11         53:11 60:8       53:6 58:10      65:16 70:3,
             73:15 87:13     49:19 54:10,      63:3 130:13      80:6 81:4,6,    22 80:6,9
             90:6,8 163:5    14 56:3 58:8      131:24           22 82:13        81:3 85:16
             173:10          59:19,22          133:2,4,12       130:23          86:10
            divisional       61:7,12,16,       143:4,5,10,      135:1 164:4     130:22
             69:4            23,24 62:6,       11,16 163:6      171:24          133:1
                             7,8 67:22         171:21           172:6,16,19,    134:12
            divisions                          173:1,11         23              142:3
             16:18,20        68:24 69:7,
                             23 70:7,13        176:1          equal 20:6,      exact 52:23
            divulge          71:16,21        effect 80:5        11 130:4,8      98:24
             43:14           72:4,5            131:22         equipment        examination
            document         73:12,21        effective          52:4 63:2,8     101:24
             69:8 104:17,    74:16 75:3,       29:24            82:24 90:8
             22 105:3,23     12,18 76:1,9                                      exception
                                             efficient          124:14          177:11,13
             106:7 107:1     79:18 83:14                        140:7
             108:12,16       84:1 85:10        29:23                           execution
                                                                143:15
             109:20          86:2,11         elaborated         144:5           156:6
                             87:3,4,14,23      169:5            156:20
            documented       89:13,22                                          executive
             103:5           90:4 91:3,13    Elias 144:24     equitably         57:15 67:7
            documents        92:7,19           145:5,7          107:7           109:10
             10:7 14:10      93:6,14,22        148:23                           125:1,22
                                               151:9,13       Eric 10:22,24     142:10
             78:6,22,24      94:14 95:4,                        11:15 23:15,
             103:11          16 97:3           152:11                          Exhibit 60:1
                                               153:6            16 24:9,11,
             104:3                                              15 44:3,9       69:9 104:2,
             124:14,20         E             else's 111:24      45:23 46:2,     18 109:22
            Donna 38:19                        112:3            12 47:19        116:3
                                             employee           51:7,16 53:8    124:24
            dots 68:4,7     e-mail 13:11,                                       154:8
                                               30:2,15,19       54:14 55:13
             70:3,5           12 27:6                                           166:18
                                               46:3,5 76:13     61:1 65:16
             118:11,16        60:2,10 66:8                                      170:9
                                               85:23            74:8 87:14
             144:12           69:15,20
                                               137:20           98:20,22       existing 70:2
                              169:11
            double 12:20                       151:23           99:6 100:1,
                            e-mails 10:8,                       7,13,18,19     expanded
            doubt                              152:2 170:4                      156:12
                              9,15,17                           103:13
             165:12,20        11:3,5,13,18   employee's         105:13,20
             166:22                                                            expansive
                              12:13 13:3,      152:2            107:2,6         175:19
             167:19           13,14 14:3,                       116:7 118:8
                                             employees                         expect 64:8
            doubted           10 61:21         25:12 28:14      120:4,5
             166:2            62:2 76:19,      30:12 63:4       135:12         expectations
                              21 77:6          166:5            136:5,12,19,    25:13 42:23
            Doug 47:15
                              78:5,8                            20 137:2
             53:2 99:6                       employment                        experience
             135:12         earlier 51:23                       138:2,3,6,      26:8 142:23
                                               5:9 20:6,12      12,18
             138:3            69:9 106:9       130:4,8                          143:1
                              121:8                             140:19
            dozen 5:18                         134:2            153:16         experienced
                              155:17
            draft 33:20                      empty              168:8,10,11     152:23
                              163:24
             126:23                            118:16           169:3          experiences
                            earliest           119:10           170:13
             127:4                                                              42:16
                              105:20                            171:15
             128:18,20,                      encapsulated                      explain
             22,24 129:2    early 19:4         117:20         escalate          95:19
                              78:6                              157:16
            drag 141:12                      encompassin                        116:19
                            earn 31:13       g 124:17         escalated         127:22
            Dragin 49:11
             176:22         easier 10:5                         125:23          139:5
                                             encounter                          147:12
                                               32:15            133:22
            draw 74:7       easiest                                             164:4
             145:8            127:24         end 10:1,3       essence
                                                                117:15         explained
            drawing         East 15:7          64:20 82:5                       42:11
             119:16                            104:17         essentially
                            easy 86:6                           69:24          explaining
            drew 119:17                      ended 90:17                        83:15
                            Echenrode                         established
            drive 88:3        41:3,6,8,19    endurance                          160:18
                                               96:13            24:8 64:10      169:10
                              42:12 51:11
            driven 94:18                                      estimation
                              52:17 53:7     enforcement                       explanation
             95:24 128:7                                        140:5
                              77:5 80:21       44:6 155:3                       119:10
            dropping                           156:4          ethics 21:14,     146:7
                            education
             66:22                                              16,19
                              14:14          engaged                           extend 87:18
            due 134:4                          144:22         events 40:3
                            EEO 20:6,18                                        extends
             137:19                                             83:21
                              21:1,12,23     enhancemen                         87:16
            duly 5:2          22:20 24:2     t 154:1          everything's
                              25:5,6,15,                                       extent 43:10
            dumb 167:3,                      entire 108:6       133:8           64:21
             4                19,21 26:11,
                              20 27:4,24       144:15         evidence
            duties 44:15      28:3,8,18        174:11           30:8,10 56:4



             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 187 of 199 PAGEID #: 1663




            extraordinaril     40:17            143:9         frame 14:1,2     give 27:3
            y 70:18          fault 30:15      fine 96:9         17:17 39:7,     42:24 44:12
            extreme                                             13 64:4         88:19
                             FBI 43:11        finished          159:4           126:11
             83:24                              19:13,14
                             fear 166:6                         172:10          129:8 153:1
            eye 44:12                           50:21 66:5                      157:7
             121:4           February                         fraud 47:23
                               16:4 17:22     firearm                          giving
            eyewitness                          152:24        Frencz 74:13
                               18:4 19:17                                       120:17
             131:24                           fired 90:24     frequently        142:8
                             federal 25:19                      66:21
                                              firsthand                        good 46:10
               F             feedback                         friend 32:6,9     124:3
                               143:19           167:5,20
                                                176:17          36:18,21        163:12
            face 27:20       feel 44:4                          37:3,5,16,23
                                              fish 70:14,15     40:21,22       gosh 159:15
              29:3 54:8        91:2 92:15
                               96:1 101:2       71:7,11         42:5 48:5      GPS 168:10
              124:21
                               120:2          fit 41:23         50:19          grab 11:12
            faced 109:24
                               132:24         five-minute     front 55:6
            facilities         151:21                                          Graduation
                                                163:21          69:13           15:8
              66:16            152:17                           109:21
                               153:4          fix 86:6          112:22         grant 101:14
            fact 64:11
              91:5 94:18       169:14         flavor 124:3                     gravity 124:4
                               175:6                          frustration
              95:19 127:8                     floor 66:14,      122:5
                               177:15,16                                       Gray 36:9,
              148:7,20                          15,21 168:8   FTO 47:7,13       12,16 56:24
              149:20,22      feeling 124:3      169:2,21                        57:2,5,6,9,
              153:14                                          full 26:5
                             felt 46:3        focus 44:8                        10,17,21,24
              156:2 158:2                                       53:18 64:23
                               51:21 68:19      65:10                           60:15,18
              164:17                                            121:21
                               84:13 88:16      175:20                          61:3,5,15
              165:7,18                                          122:18
                               122:2,5                                          69:16
              166:10                          focused 63:1      161:5
                               141:6,16                                         107:19,23
            fact-driven        153:8            128:8,12,13   fully 8:11,14     112:5
              89:19            159:13,18        159:23                          159:15
                                                              future 82:6
            factor 93:21       164:3 169:4    folks 21:23       88:11           160:9,17
                               171:22                                          great 41:7,12
            facts 52:18                       follow 27:2
              79:24 85:21    fighting           35:22 157:5                     42:12
                               136:19,21                         G
              90:10 94:23                       162:10                         greatly 43:19
              95:11,14,20,   figure 95:14     FOP 29:19       gain 66:20       grievance
              21 118:14        96:11            40:2 93:13
                                                              gap 81:1,3        35:9 74:24
              133:9            107:10           113:8                           75:7 125:13
              148:19           140:20                         gaps 35:16
                                              FOP's 93:8,                       126:15
              151:20
                             file 92:3          24            Gary 37:12        142:20
              153:10,12
                               103:8                           38:10 60:10     grieving
              161:5                           foregoing
                               126:14                                           113:11
            factual                             177:23        gather 53:14
                             filed 13:7,9                                      ground 7:2
              68:15,16                        foresee 90:9    gave 78:12
                               94:3 103:10                                      9:19 96:16
            failed 42:17,      162:21         forgery          97:10
              19 43:8                           47:23          120:21          grounds
                             files 23:11                       131:21           93:8
              44:14
                             filing 75:7      formal 67:20
            failure 44:8                        69:5          general          group 38:2,
                               109:13                          13:20 22:18      6,7
              45:21 54:5
                             fill 107:7       formally 86:9    25:24 63:9
              162:10                                                           grouped
                                              forms 28:12      67:9 74:1,2,
            failures 44:4    filling 160:23                    17 85:7          106:8,11
                             final 45:6       formulate        87:11,13        guess 5:11
            fair 27:22
                               103:2 108:9      119:20         89:4 97:19       13:10 20:9
              75:15,22
              122:21           111:8          forward          102:19           22:18 24:8
                               112:15           23:12 45:16    119:20           39:18 40:18
            fairly 72:18                                       126:11
                               144:2            52:20 53:17                     67:21 73:18
              107:6                                            131:17
                             finalized          91:4 109:14                     83:11,15
            Falacia                             132:6,8,9      164:14           86:1 87:15
                               34:14
              49:11                             142:24         166:4            95:13,18
                               126:19
              176:22                                          generally         105:10
                             find 77:20       forwarded
            fall 140:22                         54:7 103:22    173:6            107:10
                               78:13,19                                         115:13
            false 68:6,        79:1 122:1,4     108:12        generically
                                                126:24                          127:24
              17,20            139:14                          78:15            132:23
              120:15           143:22           135:13
                                                              gesture           133:14,19
            familiar         finding 26:7     forwarding       153:15           165:16
              26:13 36:24      65:12 111:8      160:13                          166:4,16
                                                              get-togethers     168:5
              72:11            116:17,20      found 48:21      41:2
              100:10           129:16,19        81:5 114:13                     171:19
              101:5,7          137:3 157:9      117:11        Gibson            172:21
              136:7,22                          126:6          47:21 48:20     guns 149:13
                             findings                          53:3
            family 38:9        62:23 110:6      140:13



             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 188 of 199 PAGEID #: 1664




                            harmful           22:1 23:20      in-service         157:23
              H              27:19            66:20             21:3,4,11        158:3,6,14,
                            harsh 45:5,7      173:10          inappropriate      19 161:1
            half 118:15                      human 14:22        86:23          informational
                            He'll 177:20
             119:10                           20:11,16          148:17           166:18
                            headed            22:3 23:5         152:12           167:18
            hallmark
                             41:18
             67:16                           husband          incident         informed
                            headlines         40:4,8            43:18 90:18      91:14
            hallway
                             69:12                              123:3            158:24
             145:6                           hyperbole
                            headquarters      84:24             146:21           162:19
            hand 166:17
                             66:15,18,19                      include 45:8     initial 107:22
            handed           115:8           hypothetical
                                              87:4,10           141:20         initially
             108:6
                            hear 29:11        88:19 89:16     included           132:6
            handing          86:18            138:4             54:7 98:6
             59:23           165:19,22                                         initials
                                                                125:3,8          107:11,13,
             103:24                                             128:23
                            heard 51:6          I                                15,22
             154:7                                              129:4
                             74:21 93:1                                          110:13,14,
            handle 23:21     131:13                           including          17,21
             58:12 87:21                     IA 23:11,19,
                             132:9,14,16                        110:2            111:19
             177:2                              20,22 24:1
                             136:19                             136:17,18        116:15
                                                28:22 45:18
            handled          141:9 167:6,                       146:7
                                                53:17 63:4,                    innocuous
             150:5,6         15,16,20                           155:18
                                                13 66:13,14                      26:23 27:4,
             157:6           168:19,20                          157:15
                                                68:2 119:2                       19
                             169:1,13                           166:6,7
            handles                             128:11
                             170:14,20,                                        input 34:21,
             18:14 22:12                        146:8 147:9   inclusive
                             24 171:3,4,6                                        24 155:7,12
                                                156:8           110:5
            handling         172:8,9                                             157:11
                                                165:11,21
             174:23          175:4                            inconsistent       162:12
                                                174:10,21,
             176:13         hearing 69:4,                       156:1          inquire 13:18
                                                24 177:8
            hands 169:6      5 93:2 119:4                     incredible       inquiry 91:19
                                             IAB 34:16
                             126:20                             139:8
            handwriting                         68:2 110:15                    instance
                             145:10                           independent
             108:5                              121:1,19                         90:13 152:6
                             165:8 168:7                        65:2
             111:24                             144:3                            159:13
                             169:18,20
             112:1,2,4                          148:18        indicating         166:24
             116:12         heavy                               102:10
                                             idea 13:17                        instances
                             139:11,17                          103:12
            handwritten                         60:18 173:6                      122:1
             104:23         hedged                            indication
                                             identify                          instruct
                             168:17                             55:2 79:21
            happen 8:24                         108:21                           23:19 96:23
             123:4          held 123:13                       indirect 49:8      97:6
                                             idle 86:22
             161:14         helped 13:15        170:3         individual       instructed
            happened         31:24 32:2                         20:19 27:14      151:11
                                             illegal 147:5
             7:19 79:16      141:20                             74:4 95:19       152:3,7
                                                154:1
             82:1 86:19,     153:18                             142:10,12        157:5
             21 87:2                         immediately
                            high 15:6                           152:16           159:22
             88:21 94:20,                       92:6 166:10
             22 110:3       highest                           individually     instructing
                                             imminent
             111:11          14:14                              152:17           69:20
                                                82:2 86:15
             114:21         hindsight                         individuals        150:15
                                                87:16
             116:24          141:19                             83:5 84:11     instruction
             133:19                          imminently
                            Homeland                            172:4,8          151:17,21
             142:2                              82:9
                             57:19                              174:13         instructor
             143:17                          impact 31:11
                            honest                            inferior           22:3,6
             151:9 152:5                        74:6 163:4
                             119:13                             167:3          integrity
             155:13                             177:7
                            honestly                          inflammatory       95:3
            happening                        impacted
                             5:23                               83:6           intelligible
             68:23 96:24                        43:19 88:11
                            horrendous                        informal           122:6
            happy                            impeded
                             27:13                              67:20 160:7    intended
             174:16                             98:18
                            hostile 53:6                      informally         27:15
            hard 56:14                       impeding
                             56:9 58:9                          152:7          intent 142:3
             119:13                             120:16
             127:10          130:23             122:8         information      interaction
                             134:24                             13:20 35:14      32:8 33:24
            harder                           important
                             164:4                              43:14 45:18,     36:20 40:2
             112:23                             100:24
                             171:23                             19 53:15         47:8,10,18
            harm 80:10                          159:14
                             172:5,15,19,                       64:23 81:10      77:24 80:7
             137:15          23              impressive         82:13 88:1,6
             138:13                             31:2            89:17 94:9     interactions
                            hostility 80:7                                       48:8,22 49:5
             139:13,19                       improper           117:2 118:3
             140:8,21       hours 40:3                          121:15           77:4
                                                172:12
             141:22         house 37:24                         130:21         interest 90:5
             142:2                           in-person          132:11
                            HR 21:24            66:7            139:3          interesting



             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 189 of 199 PAGEID #: 1665




              105:18           176:16           175:17,19      items 173:4
            interests        investigated       176:6 177:1                        K
              73:15            24:1 76:11     investigation       J
                               84:20 118:4    's 91:3                           Karl 5:14
            interfere
                               145:22                          Jackson            10:22 13:7
              8:10 94:11                      investigation
                               148:12                            19:5,7           44:3 50:7
              95:6                            al 138:21
                               149:8,15,19,                                     Kelly 125:16
            interfered         22 151:24      investigation    Jacobs
              98:18            153:4,13       s 28:8,12          11:22 16:5     Kemmerling
                               155:20           34:8 43:11       17:5 20:3        42:3,4,13
            interfering
                               156:23           63:14 84:10,     26:10 31:23      44:14,17
              95:16
                               175:7            11 87:21         32:4,11          106:9,18
              147:21
                                                97:9 98:1,3      33:24 57:18      110:1 171:5,
            interim 16:1,    investigating      122:22           59:5 62:5        7
              2,8 37:9         35:2 81:24       155:18           96:7,23
                               85:12 147:9                                      Ken 60:11
              39:18 70:7                        175:6            97:20,23
                               148:18                                             62:18 74:19
              86:3 90:4                         176:18           100:8,15,20      76:22,24
              155:9          investigation                       101:21
                                              investigative                       114:23
            intermittently     10:22 11:1,                       102:10           115:16
                                                114:21
              72:10            4,6 13:5                          108:13
                                                122:10                          key 119:23
                               14:3 23:15,                       142:9,14
            internal 18:8,                      154:9                             120:4
                               16 28:13,18,                      143:3
              11,15,22,23      23 30:5,6      investigator       160:18         kill 99:8,17
              19:22,24         35:1,15          68:3,4           173:16           136:23
              22:6 23:6        44:3,19 45:1   investigator'    Jacobs'            137:23
              28:11 33:5,      51:7,19 52:3   s 165:21           16:16 67:19      138:2,5,17
              12 34:1,3,10     53:18 54:4,                                        139:13
              35:1 40:16       10,20 60:7,    investigators    Jeff 5:13
              44:21,24         12 61:8          33:18            12:7,10,12     kind 21:15
              60:6,12 64:8     62:14,17,21                       74:21            23:2 27:23
                                              invited 32:21
              66:21 91:21      65:23 68:14,                      167:21           35:20 38:5
              94:7 97:24       18,19 69:22    involved 6:9,                       49:8 52:4
                                                10,15 31:19    Jen 13:21          58:10 73:10
              98:4,12          70:6 72:15
                                                36:5 51:24       174:15           82:17 84:21
              102:23           78:2,16,17
              115:3,19         86:5,12          53:19 61:11    Jennifer 12:3      87:4 129:8
              116:8 120:6,     88:17 89:13      66:23 72:14      39:19 157:3      131:2
              7 130:14         91:10,19         88:15 94:12      158:13,24        142:18
              146:22           92:23 94:5,      101:11,16        159:3          knew 43:21
              150:21           7,8,11,13,23     102:4,14         173:14,23        118:20
              173:15,24        95:3,7,17        134:23           174:9,21,22      119:12
                               96:24 97:1,      135:4 162:3,     176:7,13,22
            interpret                                                             128:20
                               7,21 98:9,17     8 163:3,15       177:7
              99:21                                                               135:17
                               99:14          involvement      job 26:18          157:3,10
            interrupt          101:21           93:24 155:7      29:3 42:21       167:19
              7:24 10:3        102:18,24        162:7            43:21 44:16    Knight 12:4
            intervening        103:14         involving          64:14            13:22 39:19
              59:17 76:9       104:3 110:2,     84:11            142:20           40:6 63:23
              80:8 86:16       5 114:6,7,15     117:12         jobs 32:20,        102:10
              95:2             116:9,23         160:24           23               104:8,10
            intervention       117:1,7          176:8
                                                               Joe 41:19          127:7,12
              93:13            118:5,10
                                              irregularities     77:5 80:21       129:6
                               119:19
            interview                           51:12,15                          134:20
                               120:7,17,23                     jogs 7:23
              52:22 53:7,                                                         150:14
                               122:8          isolated
              19 124:11                                        join 15:10         157:3
                               123:17,20        123:2
              136:10                                                              158:13,24
                               124:17                          juggling
              138:21                          issue 35:22                         159:3
                               126:23                            97:12
              166:19                            45:15,22                          173:14,23
                               127:22,23
              170:20                            78:16 92:14    jump 43:10         174:9,15,21,
                               132:21
                                                103:7 109:4      51:5 75:2        22 176:7,23
            interviewed        139:10
                               140:24           112:12,17      jurisdictional   Knight's
              63:11                             115:18
              114:23           141:5                             115:14           40:7 176:13
                               143:21           129:10                            177:7
              131:21                            144:6          justice 14:20
              138:4            144:19                                           knowing
                                                146:13           15:22
                               148:7,24                                           158:14
            interviews         149:7            162:5          justification
              52:18 65:17                       164:10                            161:18
                               150:23                            92:9 94:17
              115:11           151:3          issues 31:16       95:10          knowledge
              119:2 124:6      153:22           53:23 62:15,                      53:5 88:17
                                                               justified          152:14
            introducing        154:6            16 63:8          89:12
              5:12             155:19,23        78:13 83:18                       159:4
                               156:13           103:23         justify 31:5       163:18
            investigate        159:10,21,                        35:23            167:5 172:6,
              23:20 26:4                        118:9
                               24 160:13        143:15           131:24           17,20
              27:18 29:5       161:8,10                                           176:17
              150:4,15                          159:10
                               162:1,6          160:14,19                       Kuebler
              158:15           165:11
              159:22                            175:20                            36:23



             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 190 of 199 PAGEID #: 1666




             175:11             152:3,8           46:2           78:12 80:13,   marked
                             level 14:14       link 154:2,17     14,22 82:23     59:24 104:1
                                25:16 34:18                      83:24 87:6      154:8
               L                               links 46:18,      88:2 100:9      166:17
                                41:17 86:10       21 47:4,17
                                91:11,15                         102:2          Mary 10:5
            L4 33:6                                              103:13,17,
                                103:4          list 32:19                        49:6
            label 133:12        108:23            50:22 52:23    20 108:8
                                                                 111:8          mass 143:24
            labor 20:14         109:3          listed 173:5
                                112:13                           113:18         master's
            lack 70:2           113:20         listen 124:5      117:16          14:15 20:10
                                124:17                           134:11,22
            laid 91:5                          literally                        match 106:6
                                130:22                           135:20
              146:16                              29:18
                                132:22                           136:5 137:4,   material
            Lancaster                          Liverpool         22 145:8        99:11
                                139:8
              50:15                               15:7           148:23
                                148:18                                          materials
              136:18                                             150:10,18
                                164:3          locate 78:3                       120:23
              161:14                                             153:15
                                171:23         location                          121:9
            Lance 74:13                                          155:6
                             liability            74:15          161:22          124:14
            language            90:19,20                         164:17         matter 67:15
                                               Lokai 12:7,8,
              25:11 27:16       91:2 95:1                        165:10          88:10
                                                  12 74:21
              126:18                                             174:1,3         102:19
                             liaison 35:10        113:18
              171:17                                             176:14,24       114:7
                                74:24          long 9:4
              173:2                                              177:3,5         118:22
                                125:13            16:11 17:21
            large 98:3          126:15                          main 45:15      Mcfadden
                                                  49:23 50:1
            Larry 47:6,7     lie 65:19            61:18 66:14   maintaining      72:12 73:20
              136:17            115:11,24         80:12 84:4     71:21           74:10 76:5
              165:2             117:17            106:23                         79:16
              166:20            118:2,17,19       121:2         major 15:20
                                                                                meander
              169:6             119:14            141:13        make 10:5        9:21
            law 20:15           127:19            154:23         28:1 43:19
                                                  175:16         45:6 56:9,     Meaning
              26:1 155:3     lied 115:9                                          94:19
              156:3             117:1,11       long-term         11,20 65:1
                                                  131:3          68:13 70:17    means 44:22
            laws 25:7,9,     lieutenant                          73:14 76:6      46:1 71:1
              19,22             17:19,21       longer 127:4      78:14 79:23     88:21 92:2
              175:24            32:1,13,18        128:18,19,     81:15 82:21     122:7
            lawsuit 13:7        35:10 40:19       22 129:2       83:6,22 91:8
                                41:3 42:3,4,      141:12                        meant 27:11
              70:14                                              97:1 101:1      164:5
                                13 44:14,17    looked 30:9       103:1 109:2
            lawsuits            51:10 52:17                      111:16,21      meantime
              70:12 71:12                         62:3 77:19,
                                74:10,13          22 78:23,24    115:21          93:7
            lay 68:14           76:5 103:9        121:12,14,     116:20         mechanism
              129:8             110:8 111:1,      18             118:6           147:11
                                14 112:2                         119:24
            lays 139:7          113:18,23      loop 64:21                       medical 8:9
                                                                 121:23
            lazy 85:7           125:14            98:7           123:1 124:1     72:4
              89:8 131:17       126:15         losing 31:15      126:17         medications
              170:21            146:5,10,18,                     128:14          8:9
              171:11            20,24 147:6,   lost 143:23       134:8,13
                                8,12,18,24     lot 6:24          150:14         meet 8:22
            leads 172:1                                                          9:6 32:10
                                148:9,17          22:11 29:18    158:7
            learn 23:1          149:10,16         32:3 40:23     160:15          35:13
                                150:5 153:7       44:13 64:22    169:19          134:11,13
            learned 54:1
              100:8 159:1       171:5             96:15          174:8,13       meeting
                             lieutenants          124:19        makes            77:19 79:10
            leave 58:21                           128:6 130:7                    115:8
              62:6 97:16        37:8                             108:17
                                                  138:8          132:7          meetings
              152:16         life 98:21           142:22
                                99:1                            making           67:6 160:16
            leaving                               153:2
              85:10          lift 139:12,17       158:10         51:23 56:15,   Melissa
                                                  167:6          16 64:19        72:12
            left 46:2        lightning                           80:19 83:12
                                                  168:16                        members
              82:24             154:2,16                         84:20 85:3
              114:16                           lying 115:3,                      38:9 56:18
                             likelihood                          89:2,5 105:4    134:5
                                                  16 117:4       134:6
            legal 25:16         113:17            118:8          136:11         membership
              92:24
                             likes 41:19                         137:1 143:9     73:16
            legible
                             limit 90:20          M              144:9,10       memo 104:7
              111:20
                             limitation                          161:13
            lengthy                                              168:12         memory
                                174:11         made 24:11,                       7:20,23
              72:18                             16 32:1 33:9     176:15
                             limited 115:5                                       13:16 82:22
            lenient 45:5,                       42:9 43:23      manager          83:2,21
              8              lines 136:12       44:20 45:21      22:4 23:5       145:2
                                169:22          51:16 58:20,
            letter 110:7,8                                      March 141:3     men 169:8
              151:23         lingering          23 61:6
                                                62:22 72:23


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 191 of 199 PAGEID #: 1667




            mention           17             Moore's          126:11         numerous
              165:8          monkeys          23:15 44:13     165:14          142:21
            mentioned         85:5 89:7       61:16,23       necessarily     nuts 128:12
              52:24 75:16     131:14          78:19 87:2      25:15 90:22
              120:5                           112:1           94:21 129:2
                             month 19:3       162:14                           O
              124:23          141:6                          needed 46:3
              159:23                         mother           54:20,23
              164:2          months 5:21      38:11                          obey 25:22
                              6:12,19                         65:13 68:19
              174:12                         motion 145:8     85:21 99:5,6   objection
                              45:24 72:6                                      43:10 85:14
            mentor            81:2 85:19     motive           112:15,17
              31:24                                           131:23          87:24 89:15
                              86:20           164:24                          92:20 94:15
            mere 93:12        164:19                          133:20
                                             motorcycle       143:21          95:8 99:10
            messages          169:24          38:2,6                          105:14
              161:12,17       172:10                         negative         132:2
                                             mouth            48:7
                             Moore 10:22,                                     133:24
            met 78:15                         115:10
                              24 11:16                       nemesis          134:15
              79:5 134:9                     move 45:15
                              14:2 23:16                      37:19 41:21     137:12
            Michigan          24:10,11,16     74:12 76:4      42:2,7,8        138:10,24
              14:17           44:3,9          148:23                          139:22
                                                             neutral 64:20
            middle 101:2      45:17,23       moved 33:5                       140:11
                                                              65:2 98:16
                              46:2,12         74:4,14 83:2                    141:24
            Mike 56:22                                        150:22
                              51:7,16                                         150:7
              57:20,22,24     52:16 53:8     moves           nine-month       152:19,22
              107:24          54:14 55:3,     174:13          72:8            153:20
              108:8           13,24 58:24    moving 76:3                      156:10
              110:24                                         nobody's
                              60:6 61:1,12    134:5           7:20            157:1,8,20
              112:7           62:6,14         142:24                          158:9,11,18
            mind 9:18         65:16 68:24                    nonexistent      163:9
                              69:23 74:8     multiple         164:9           165:23
              11:17 97:9                      42:22 56:15
              119:11          78:17 80:13                    nonfeasance      172:3 175:1
                              81:5 82:14      64:5 97:9
              132:17                          131:11          45:22          obligated
              133:23          83:5,13 84:8                                    23:3
                              87:14,15        135:19         north 17:1
              166:1 173:6                     136:16          174:17
                              97:2 98:20                                     obligation
            mine 40:20        101:24          139:16         notation         132:15
              111:12          103:14                          78:1
              112:3                                                          observed
                              105:13,20        N             notations        168:11
            minimum           106:8,21                        77:14
              21:10 59:2      107:2,6,20,                                    obtain 45:18
                                             named 44:7
                              22 110:1,3                     note 76:23      obtaining
            minutes 9:5                       144:23
                              111:2 114:5,                    78:14           161:16
              24:7 96:8,19                   Nancy 38:18      124:23
              126:13          14,22
                                                                             occasions
                              115:10,15      narcotics       noted 109:14
            mis-mal                                                           109:11
                              116:8 118:8     39:9,15
              45:22                                          notes 104:23     139:16
                              120:4,6         55:10,15
            mischaracter      123:22          56:1,23        notice 30:1,2   occur 82:10
            izations          125:18          57:4,9,17,18    109:8           103:4 118:5
              122:5           129:10          59:1,4 60:9,    110:24          126:12
                              131:13,16       11,19 61:5      112:10         occurred
            mischaracter      133:16                          120:4
                                              82:15 84:10                     10:12 24:24
            ized 121:24       135:20          103:21         noticed 9:23     84:23
              122:2           136:5,11,19     107:7,17                        103:19
            misconduct        137:2 138:2,    108:6 110:3,   notification     108:9,18
              26:14,16,21     12,18           9 114:14,22,    43:23 78:12     114:13
              28:19 33:23     140:19          24 115:15,     notified         115:4,24
              45:24 51:22     143:10          18,22           11:11 91:11     116:21
              53:20 55:3      144:5,20        117:23,24                       117:22,23
              70:23 74:3      145:6,7         123:23         notify 64:14
                                                                              124:19
              92:17 124:4     146:21          125:4,19       number           129:13,14
              126:9 132:4     149:13,14       143:17          29:22 30:1,     135:8
              175:23          150:1           159:20          4,6,11,14       151:19
                              151:13          160:5,23        104:2           160:14
            mishandle         152:13
              140:6                           161:15          111:20          164:20
                              153:15,24       162:5           169:20
            mishandling       156:17                                         occurring
              140:16          157:13         narrowed        numbered         172:7
                              158:4           175:21          105:12          176:18
            misinterpreti                     176:1
            ng 113:15         161:12,15,                     numbers         October
                              21 162:9       narrowly         106:4           16:13 17:4,
            moment            163:6 164:2,    175:20          154:10          16 141:1
              69:17           12 165:1
                                             nature 26:22,   numerals        offense
            monkey 99:7       167:16
                                              24 27:9 52:1    105:12,19       27:10,17
              136:13          168:7,11,20
                                              64:10 70:10                     56:5 58:7
              168:22          169:6,18                       numerical
                                              92:14                           67:22
              170:13,15,      170:12,20                       106:12
                                              116:21
                              171:4,15



             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 192 of 199 PAGEID #: 1668




            offensively       164:12,13      overrule        participated     76:6,7 82:4
             27:14            165:2           147:21          28:18,22        83:12 87:5,6
            office 6:22       172:17         overruled       parties 88:2     90:16,17,24
             32:15 49:19      176:8           113:9                           92:19 153:6
                                                             party 37:24      176:15
             64:3 66:10,     Ohio 15:1,      oversaw          74:6 86:17,
             11,12 71:14      14,21 21:16     43:6            19 134:5       person's
             76:23 90:7       162:21                                          58:11 85:1
             127:16                          oversee 54:6    Pass 30:24       87:17
                             one-year         176:20
             129:8            15:17                          passes 27:7     personal
            officer 22:19                    overseeing      past 30:16       32:6 37:16,
                             ongoing          74:11
             23:1 25:24       43:12 70:12                     76:16           23 47:1
             28:17,22         94:24 97:24    overseen         155:18          48:4,16
             32:14 33:21,                     63:3                            50:19 84:8
             23 40:8         open 32:20                      patrol 17:1      163:17
             59:10 72:11      119:12         overshadowe      19:15,17
                                             d 139:24         32:13,15       personally
             76:1,3,4,9      operate                                          83:7 86:18
             77:24 79:17,                    oversight        33:6 39:5
                              156:2                           49:15,16,19,    131:13
             23 83:8 84:7                     54:5 97:21                      136:19
             85:10 86:2,4    operation        115:20          21 71:14
                              29:24 43:6,                     72:3 74:11,     168:7
             87:19,23
             88:24 89:1,      22             overtime         15 174:16      personnel
             5,7,11,13                        31:13,14        176:8           173:10
                             opinion          44:11 80:20
             90:14 91:12      45:19 122:8                    pattern 91:5    persons
             92:9 94:8                        143:15
                             opportunities    144:5           123:1,24        84:19
             95:6 98:9                                        148:7,21
             101:9,12         32:14          overturn                        perspective
                                                              149:23
             102:1           opportunity      45:2            152:21          161:2
             106:11           8:21 20:7,12                                   pertinent
             131:15           69:10 81:7                     patterns
                                               P              149:20          110:7
             135:2 136:4      84:22 130:4,                                    111:15
             137:1,6,23       8                              pay 31:15        121:15
             138:3,13                        p.m. 177:24                      159:19,20
                             opposed                         peacefully
             139:19,20        52:11          packages         82:19
             140:9                                                           phone 66:8
                                              66:22                           100:19
             144:22,23       opposite                        people 31:18
             145:7 151:7,     35:21 42:14    packet           38:3 41:22     phrase 28:4,
             8,12 153:6,      119:9           127:13          50:24 52:24     24 99:2,4
             16 156:18,      option 73:7     pages 63:18      53:3 56:15
                                                              75:17 85:6,7   physical
             19 158:6,17      137:13          104:5,7,14                      87:17 137:6
             160:24           138:11          105:15          89:6,8 98:10
                                                              131:1,17,20     139:19
             161:14,15                        121:2,8
             162:20          options          127:1 128:1,    143:23         physically
             163:7 165:8,     71:20           2,3,15          149:13          139:16
             9,18 166:22     order 35:15,     134:17          164:14         picking
             167:10,14,       22 102:8        170:11          167:2,4         66:22
             19 168:5,19,     106:10,12                       168:13
                                             paperwork        170:21         picture 129:9
             21 169:5,17      107:3 138:9     23:17 59:19     171:11
             170:10,15        162:11                                         pieces 64:23
             171:1,10                        paragraph        175:4
             176:23          ordered 54:9     167:1                          piling 131:4
                              56:7 112:14                    percent
                                              170:19,23       172:13         place 24:2
            officer's         148:11
             71:21 75:6                      pare 127:14                      57:19 72:6
                              156:20                         perfect 7:20     73:14 81:11
             89:5,6 94:10                     128:20
                             orders 67:15                    performed        131:8
            officers 28:7,                   parking          42:22           149:21
             11,15 43:18     ordinances       138:7
                              25:23                                           172:9
             70:13 71:17                                     period 33:5
                                             part 20:10,17    49:23 50:1     Plaintiff's
             73:7,8 74:11    original 44:7    53:11 71:17
             75:9 76:10       99:5 117:6                      57:2 72:9,18    59:24 69:9
                                              90:19 98:19     80:16 82:20     104:2
             79:17,19         171:20          99:14
             84:9 85:6,7,                                                     109:22
                             originally       100:18         periodically     166:17
             11 87:13,19      13:9 57:24      123:23          32:16
             89:3 94:12                                                       170:8
                              153:19          125:21         permanently
             98:22 99:14                      130:5,6                        planning
             100:1 106:8     outcome                          49:21           90:14
                                              148:24
             129:21           147:3                          permission
                                              149:6                          play 87:22
             130:9           outcomes         152:21          101:23          90:10
             131:11,14        71:18 175:5     159:23          103:7
             132:4                                            150:24         played
                             outlining        160:1
             135:19,23                                                        146:16
                              110:7,9         171:22         person 22:9,
             136:16                                           13 27:11,12,   point 7:18
             137:2           overheard       partially
                                                              20,21 29:6      8:19 9:21
             140:19           53:5 83:5       54:13
                                                              31:11 53:9,     18:9 19:23
             141:22           86:18 88:7      103:17
                                                              19 58:8,21      33:12 35:15
             152:16,24                       participate      59:16 66:9      37:7 38:16,
             153:1           overlapping
                              5:24            28:7,11         68:6 74:12      18 39:1 44:5
             157:14                           34:17


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 193 of 199 PAGEID #: 1669




             46:20 47:4     positions        15:19 38:8      132:20          125:15
             49:9,14         22:16           57:5,6 77:7,    134:19         public 11:7
             53:22 54:14    possession       8 94:16 95:9   profiling        76:10 79:19,
             55:7,9,19       157:23         previously       176:8           22
             57:17,18,24                     41:23 59:24
             58:2 60:6      possibly                        progress        pull 173:3
                             6:10 108:7      103:24          30:19 31:24
             61:5 65:15                      104:1 154:8                    purchased
             67:5,8,9        112:5                           34:13           154:1
                             134:12          166:17
             68:22 70:5                                     progressed
             88:18 92:8,                    principally                     purpose
                            posted 69:21                     51:20           75:24 79:14,
             11 93:10                        62:18
             95:15,22       potential                       progressive      18
                             155:20         principle        109:4,5,12
             96:18,23                        92:14                          purposes
             97:17 100:7     157:15                         prohibit         61:4 75:6
             101:22         potentially     prior 16:8       28:6,10         79:18 86:2
             108:8           71:4 147:5      17:2,7,18,24                    105:15
             125:18                          26:6 54:16     promoted
                             175:24                          17:12,14        106:3
             156:23                          126:23
             173:15         practice         142:2           18:3 32:18,    pursue 63:20
                             63:13,14                        21 33:10        156:8,9
            pointing 9:9     67:24 68:8     private 67:6                     169:15
             105:16                                         proof 29:4
                             69:1 74:1,2,   privileged       30:7 54:23     pursued
            points 46:19     17 111:11       43:11,14        84:19 91:12,    93:16 133:6
             105:21          155:5           79:12           16 119:24       155:1
            police 6:3,9    pre-drawn       privy 73:4,5     131:7          pursuing
             15:11,14,24     64:22          probation        137:24          65:21 68:13
             16:1,10,18     precautions      15:17           176:1           146:3
             17:9 20:1,24    100:22                         proper
             22:1,3,5                       problem                         put 52:19
                            predated         127:17          137:7,8         70:15 71:22
             25:6 38:5
             40:8,9,10       115:6           175:10         properly         76:23 93:14,
             64:15 66:15    preference      procedural       44:9 150:5      22 100:20
             71:3 73:13      64:20           138:8           174:23          106:12
             103:7 109:7                                    property         130:16
                            preferred       procedures                       133:12
             112:13          111:19          21:2            53:23 62:15
             152:23                                          72:19           136:3 147:8
             153:1 156:2,   pregnant        proceed          140:16          168:10
             18 158:6        72:5            156:5                          puts 18:15
                                                            prosecute
             163:5          prep 9:4        proceeded        156:17          91:1
             172:24                          155:22                         putting
                            preparation                     protect
            policies         61:22 78:7     proceeding       79:19 147:7     13:10 70:13
             22:20,23                        89:14                           85:2 87:14
                            prepare 8:22                    protecting       92:13
            policy 25:13,    10:7 14:11     proceedings      79:20
             15,20,21        78:22,24        177:23
             26:2,10                                        protections       Q
             67:19,23       prepared        process          137:21
             69:1 92:24      127:13          34:17 83:10
                             166:19          84:5 87:11,    prove 29:8      Q-U-I-N-L-A-
             93:1 95:23                                      35:12 44:22    N 5:8
             101:12         preparing        12 97:22
                                             101:22          68:15,17
             108:18          10:20 13:15                                    qualify 92:16
                                             109:18          120:15
             140:6                                           127:18         query 11:15
             151:22,23      preponderan      119:16,19
                            ce 30:8                          128:10          12:16
                                             134:4
            polygraph                        137:19          130:21         question 7:7,
             101:24         prerogative                      131:2,7
                             174:2           138:1                           12,14 10:1
             102:5,11                                        137:19,22       43:13 75:14
                            presence        processed        138:15,17
            popped                                                           81:10 97:19
                             163:14,19       83:16           139:6 140:4
             11:19                                                           99:11,23
                             164:7          processes        142:24          100:6
            portion 60:7                     20:15           143:23          101:20
             63:3 107:1     present                          172:18
                             33:21          product                          110:11
             112:8                                          proven           113:14,16
             121:18          125:13          176:2
                             131:9 136:5                     133:10          114:19
            pose 85:12                      profession       142:5           115:14,17
                            presented        67:17                           120:20
            position 8:17    45:14                          provide 11:5
                                            professional                     123:15
             35:18,21        119:17                          12:18 30:7
                                             18:14,18,23                     127:9
             44:13 58:22     130:19,20                       77:17 118:3
                                             19:1 33:17                      130:12
             72:7 83:3                                      provided
                            pressed          34:3,8,10,                      132:23
             85:10 86:4                                      12:22 21:11
                             128:8,13        22,24 35:17                     133:14,18
             90:19                                           22:14 60:2
                                             37:5 50:12                      136:24
             146:15         pretty 25:18                     81:11 82:14
                                             103:9                           138:16
             160:23          147:10                          135:24
                                             109:14                          165:17,21
             161:15         prevent 86:7                     162:1
                                             119:21                          168:3 170:9
             162:5 163:6     147:9           125:11,12      PSB 109:10       171:20
             173:23
                            previous         126:5           111:5           172:13,22




             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 194 of 199 PAGEID #: 1670




            questioned         137:14        reasons 75:8       79:2 102:13    regular 22:3,
             48:13 143:3     re-wording        89:20 161:3      106:6            5 72:20
             166:2             138:22          166:5            154:20           173:20
            questions                        reassigned         175:14         regulations
                             reach 91:11,
             7:6,18 8:7        15 92:3,5       73:21          recommend          25:7
             14:7 37:16                        173:18,23        45:4,10        regulatory
             39:17 44:16     reached           174:21           56:19 68:9
                               134:20                                            20:15
             52:8 67:16                      reassigning        90:15 93:3,4
             126:10          reaching                                          reinstate
                                               73:8 174:9     recommenda         59:21
             135:24            121:12                         tion 69:6
             164:24                          reassignmen                       reiterate
             165:11          react 161:5     t 177:7          recommenda         171:14
             177:12,18       reacting        recall 5:23,     tions 174:9
                               172:1                                           related 6:2,
            quick 13:21                        24 6:1 10:13   recommende         16 29:23
             24:22 29:14     reaction          11:23,24       d 70:19            65:8 117:20
             96:10             160:21          12:14 14:19      120:8            162:22
                               161:4           16:13 17:16    recommendi         175:23
            Quinlan 5:1,                       19:10,23
             8 59:23         read 69:10,                      ng 90:9          relation
                                               21:21 23:11
             163:24            17 119:19       24:3,5,24      reconsider         34:10 56:9
            quote 99:7         120:22          39:10,12,24      70:6,23,24       66:13
             155:2             121:17,23       41:11 49:16
                               122:14,17                      record 5:7,      relationship
            quoting                            51:9,10,21       12 9:16 24:4     31:23 33:15,
                               123:19          52:23 61:13,
             146:1,2,4         124:10,18                        30:16            16 36:10
                                               19 62:3,9,19     105:15           38:4 39:1
                               129:1           64:2,5
                               136:14                           106:3 123:6,     41:8 46:11,
               R                               65:15,18         9,11,13          13 47:1
                               144:13          68:17 75:1
                               145:16,17                      recorded           48:16,18
            race 89:4                          78:3,10                           49:9 50:10
                               159:7           80:2,17          133:17
              135:1                                                              82:17
                               160:22          81:1,18 97:5   recording
              170:21
                               164:16          100:4,11,16      89:4,9,10      relationships
            races 84:9,        165:13          102:6,16                          31:18
                                                                124:9
              12               167:11,22,      103:20           133:21         relayed 88:7
            racial 84:14       23 169:16       108:4            134:14
                               177:20          115:12                          reliable
              135:20
                                               119:3          records 11:7       48:21 49:4
              137:7 164:1,   reader
                                               125:17           21:6,13          89:10
              13 165:8,19,     143:22
                                               128:19           23:10 55:22    relief 59:19,
              22 168:12
                             reading           129:4            66:20 102:9      22 75:3
              169:19
                               135:17          134:21           135:8
              171:10                                                           relieve 56:3
                               136:2,9         135:3,22,23    recourse
              176:8                                                              58:21 62:7
                               144:19          136:7,14         146:24
            racially 85:3      172:6                                             69:6 74:16
                                               142:19         recovered          76:8 79:24
              89:2 129:11
                             reads 128:3       143:2,6,11       161:12           84:1
              139:20
                             real 24:22        144:2,7,8,14
              140:7,21                                        refer 105:20     relieved
                               45:22 96:9      145:10
              141:22                                            168:22           54:10,14
                               99:23           154:3,5
              171:16                                            170:15,20,       73:12,21
                               152:17          156:21
            racist 80:23                       160:20           24 171:6         93:6
                               175:20
              83:6 132:1                       161:16,17      reference        relieving
                             realize 7:21      162:7,15,17      154:16           31:11 58:8
            radio 32:17,
              22 33:4        realtime          173:13           159:4            61:6 69:23
                               85:18 88:1      175:12,13                         70:12 75:24
            raise 151:13,                                     referenced
                               146:18        recalled           121:8            76:3 79:15,
              14
                             rear 86:20        136:4                             17 86:2
            raised 151:9                                      references
                             reason 8:13     received           121:19         reliving
              152:6
                               30:18 80:8      10:16 27:21                       134:18
              176:22                                          referred
                               81:9 86:13,     53:22 126:4                     remain 64:20
            raising                                             71:13
                               22 90:3       recent 7:1         171:15           75:12
              164:24
                               94:13,17        43:1 145:1                      remarks
            random 6:13        123:8                          referring
                                             recently           99:5 148:21      84:21 89:3,5
            ranged 54:19       127:20
                               130:16          19:24                           remember
                                               145:10         reflect 24:4
            rank 117:16        156:16                                            5:20 6:17,
                               165:12        recess 97:18     refresh 7:3        20,24 7:22
            re-interview
                               167:17          163:23           10:19 11:16      10:9,14
              139:4
                               170:2                            13:16 82:22      13:12,19,24
              141:16                         reclassify
                               171:20                           83:2 102:12      21:12,14,18,
            re-                                138:11           154:20           22 22:12
            interviewed      reasonable      recognize          166:1            39:7 51:14
              138:19           64:21 86:14     124:20                            53:10 55:13,
                               151:17,21                      refreshed
            re-word                          recollection       83:22 145:2      16 57:12,16,
                               152:15                                            20,23 58:1
              139:12                           10:19 14:5
                             reasoning                        refreshes          61:10,14
            re-worded                          55:5,6 62:1      154:22,23
                               142:7                                             62:4 65:5,7,



             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 195 of 199 PAGEID #: 1671




              9 66:1,4         132:1            92:17 109:4    Ron 56:24       search 11:9
              67:8 68:1      repost 162:4     resulted           57:1            78:19
              80:12,23                          140:14         Ronald 36:9     second-to-
              83:20 98:23,   represent
                               55:1 60:1      retaliate        room 32:22      last 170:19
              24 99:1,9,
              13,16,18,24      88:20 99:3       94:12            33:4 72:19    secondary
              100:6,12         114:20         retaliation      roughly 19:3      45:15 162:2
              118:7,13,18,   representing       20:20 21:1,                    secondhand
              22 125:20                                        routing
                               158:1            20 23:2          109:8,21,23     167:14
              127:5,10,14,                      28:7,10,17,
              15 128:17      reprimand                           111:13        secretaries
                               103:8 109:3,     20,21 56:10      124:24          38:10,22
              131:18,19,                        62:16 166:7
              20 135:8,9       5                               rule 9:20       secretary
              136:1,4,9,     reputation       retired 31:23      25:22 27:23     38:1,13,19,
              11,16 143:7,     41:17            36:14 57:22      28:2 29:21,     20
              13 145:3,4,                     retreat 57:15      22,23 30:2,
              12,19          request                                           section
                               32:24 77:9     returned           3,7 108:21,     121:23
              164:11                                             22 113:22
              165:4 171:8      100:14           91:12 112:9                    Security
                               101:13,14,                        120:8,10
              176:5,10,11,                    reunions           129:20          57:19
              14               17 126:7         41:1
                               159:9                             130:3         sees 27:7
            remembered                        revealed         ruled 44:12       41:16
              79:14          requesting         95:21
                               151:24                            108:3,4       segue 46:11
            remembers                         review 10:6        111:12
                             requests                            118:12        self-
              64:2 131:8                        13:3 21:6,13                   admission
                               11:7             23:10 33:20      141:10
            remind 12:23                                                         54:9,21 91:6
                             required           34:13 35:11    rules 7:2         92:16
            reminds            16:6 138:8       55:22 73:17      25:6 28:6
              166:21                            77:22 111:6      117:24        self-admitted
                             requirement                                         90:6
            removed            120:9            112:13,15        147:6
              39:9,14          164:22           119:22                         self-
                                                124:13         ruling 111:16
              92:22                                                            disclosure
              173:15         requires           126:6          run 29:14         54:7
                               26:5 29:5                         141:4
            removing           85:22          reviewed                         semiautomat
              75:17                             10:10 13:4,                    ic 157:18
                             resolved           13,14 14:11      S
            repeat 94:16       95:2 170:7       61:22 64:24                    send 12:17,
              95:9                              78:7,22                          19 13:23
                             resource                          safeguard         23:19 35:14
            repeating          14:22            124:2,16        76:10
              71:12                             126:4                            46:1 53:16
              170:16         resources                         safety 87:18      117:18
                               20:11,16       reviewing         90:23            119:21
            rephrase 7:9       22:3 23:5        11:14 35:20     100:24
              29:1                              68:17                          sending
                             respect 32:3       102:23         sake 176:1        45:14
            report 19:24       41:7,13          127:7                            141:12
              22:23 23:3,5                                     satisfaction
                               42:12 44:1       174:24                         sense 42:18
              26:24 36:15                                       118:20
                               96:17 97:7                                        82:21 83:22
              37:6,20                         revise 77:8       175:7
                               103:13                                            121:11
              39:22,24                        Rich 9:6,24      satisfied
              40:1,13        respond                                             124:1
                                                12:19 77:15     74:10
              41:9,11 47:5     165:5                                             167:13
                                                104:13         scanned
              66:5 81:12     responded          105:20                         separate
                                                                69:12
              98:5 99:5        168:22                                            25:7 52:13
              135:18           170:16         Richard 77:2     scanning          77:12 82:3
              146:1                             79:5 161:15     121:15
                             response                                          separating
              153:24           68:10 151:8,   rid 96:21        scenario          79:15
              154:10           10 165:10                        87:4 88:20
              155:1 159:7                     ride 38:2                        September
              160:22         responsibiliti   rights 134:4     scene 43:18       17:15,16
              161:11         es 25:12           162:21         schedule          81:13,21
              164:22         responsibilit                      31:14            104:8 141:3
                                              rise 25:15
              165:18         y 22:17,19,22      34:18 164:3                    sequence
              166:5,11                                         school 15:6,
                               58:8             171:23          14,18            80:24 83:21
              172:11                                                             114:18
                             responsible      rises 130:22     scope 35:1
            reported           101:3                                           sergeant
              24:23 39:2,6                    risk 141:4        130:15
                             rest 106:20                        144:15           18:1,3 40:9,
              53:4 68:6                       role 33:14                         10 44:13
              80:14            142:9                            149:17
                               153:22           34:6,9 35:10    150:23           45:16,23
              129:14                            102:22                           47:15,23
              165:10           177:14                           151:3
                                                103:1 127:7     156:12           60:5,11,24
            reporting        restricted         160:3                            61:12,15,23
              38:24 57:16      49:19 71:16      162:13,17      Scott 47:3        62:6,18,21
              70:1 132:4       72:4                             136:4 165:3      63:18 69:23
                                              roll 121:4
                             result 26:17                      screen 27:6       74:13 77:4
            reports                           Roman                              82:14 83:8,
              37:10 98:11      90:17 91:1
                                                105:12,19


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 196 of 199 PAGEID #: 1672




             13 84:7 89:1   shooter          situation        south 49:16,      123:22
             91:20 97:2      41:15             44:2,3 45:12    22               131:12
             101:23,24      shooting           89:12 90:24    spans 56:13     staff 22:18
             114:4,5,12,     6:10 90:12        91:2 102:12                      57:15 67:8
             13,22 115:9,                      105:10         speak 100:7,
                            short 33:4,8                       14 101:9,13      109:10
             15 116:7                          134:24                           125:1,22
             120:5,24        49:23             137:11          128:3 150:9
                                                               151:19           142:10
             122:2,7        shorter 96:5       138:20
             123:21          128:24            147:2,4,8       155:7          stage 14:2
             126:22                            150:3,12        157:12           35:4,5 66:1
             127:13,23      shortest           153:6,9         159:5            154:24
             128:23          41:18             176:21         speaking        stamp
             129:7,10       shot 90:17       skip 122:12       53:10 73:24      104:12
             131:12,13,                                        167:5            107:1
             16 133:16      shots 41:16      skipped           168:21         stamped
             135:17         show 68:20         106:4
             138:2,6,12,     118:19                           special           104:14,18
                                             slightly          20:10 31:12
             13 143:8,9,     119:13            28:24 29:2                     stand 168:18
             20 144:3,4,     165:24                           specialized
             9,20,21         166:3           Slip 9:17                        standard
                                                               20:14            35:12 173:1
             145:5,7,14,     172:14,15       slips 44:15
             24 146:12,                                       specific        standards
                            showed           slur 165:8,       13:11,16
             21 147:5        69:8,11                                            18:14,18,23
             149:12,14                         19,22           28:14 30:16      19:2 33:17
             150:1 151:7,   shown            slurs 135:20      59:6 88:6        34:3,9,11,
             10,13            138:15           164:2,13        95:11,14,20      22,24 35:17
             152:12                            168:12          97:10 117:2      103:9
                            shows                              133:8 144:5
             153:14,17,       111:14           169:19                           109:15
             23,24 154:8,                      171:10          171:13           119:21
             24 156:14,     sides 75:4                         174:4            125:11,12
                                             software
             17 157:4,13    sign 108:15        11:8           specifically      126:5
             158:2,4,14,                                       21:21 23:21,     132:20
             22 161:12,     signature        somebody's        23 65:14         134:19
             21 162:9,13      104:19,20        90:22           95:24 97:5
                              110:12                                          standing
             163:6 164:2,                    someone's         100:3 171:3,     67:24 68:7
             12 165:1         126:21                           7 173:5
                              177:21           71:4 74:3
             166:19                                            176:5          stands 40:5
             167:16         signed 44:15     someplace
                                               169:2,21       specification   stapled
             168:7,20,21      108:5,11                         126:17           154:14
             169:5,18         111:15         Sorrell 23:16
             170:12,20        112:8,11         24:9,11        specification   start 5:12
             171:4,15         141:3            46:7,8,22      s 109:16          20:9 105:16
                                               51:20,21                         114:15
            sergeants       similar 44:4                      specifics         133:3 161:8
             33:18 34:7       131:10           53:4 54:9       74:2 100:11,
                                               55:3 62:14                       166:16
             74:11            134:2 165:2                      17 136:8
                                               80:19 82:23                    started 19:12
            served 163:2    single 18:6        83:4 89:22     spectrum          51:4,18,22
                                               92:6,9 93:14    28:3 140:22
            service         sir 5:16 7:4,                                     starting
             59:12 73:22      11 8:3,12,       102:2          speech            104:14
                              16,20,23         103:14          80:10 81:23
            set 144:15                         106:9,16        140:2 142:4    state 5:6
                              9:3,8 11:20
            settle 169:8,     12:21 14:12      110:1 136:4                      15:1,14,21
                                                              spend             25:19
             9                15:22 16:7,      152:5,6         142:17
                              20 17:6,20       164:8,23                         124:18
            setup 84:21                                       spent 40:23       172:4
                              18:2,10,20     Sorrell's
            seventh           19:19 20:8,                     spin 119:1      stated
             30:21                             132:5
                              22 21:3          135:19                           169:11
                              22:8,15                         spit 93:18
            sexual 27:9                        164:8                          statement
                              24:18,20                        spoke 20:17
            Shaw 5:14         33:13 36:17    Sorrell/          76:24            36:6 121:22
             10:22 13:7       37:14 40:11,   moore 51:19                        177:4
             50:7 77:24                        52:3           spot 124:11
                              14 46:9 52:6                                    statements
             78:17 83:8       55:12 67:2                      spouse            80:13
             151:8                           sort 54:12
                              69:19            83:10 87:1      38:11            130:24
             160:24           104:16                                            131:22
             161:14                            115:13         spring 82:15
                              125:2,7          171:24                           132:1
             162:20           177:19                          square 60:18      136:12
             163:7                           sound 55:4                         161:18
                            sister-in-law      103:16         SRB 24:17,
            Shaw's 44:3       38:1,12                          19 41:10         165:4
            sheet 109:8,                     sounds            44:5 55:7,14   states 109:9
                            sit 62:10          35:24           56:6 58:7
             9,21,23          97:15                                           stating
             110:14,19                         100:10          59:1 82:24
                              134:16           101:5,7         98:22            136:18
             111:13           136:1
             116:4                             136:22          109:24         status 61:16,
             124:24         sitting 15:16      141:1           114:16           24 63:9 65:6
             129:19           127:16           151:17,20       115:18           71:21 72:4
                                                               117:3,12



             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 197 of 199 PAGEID #: 1673




            statute 25:11    suffer 85:23      134:7          talked 79:10     testifying
            statutory          92:10 93:9     supporting        94:4 98:12       162:15
              173:2          suffering         70:22 121:9      100:21         testimony
                               70:16 172:5     124:14           106:9 114:2,     77:7 135:24
            stay 65:2                                           4 132:20
              98:16          suffers 29:6      131:22                          testing 29:17
                                                                135:18
              150:22         sufficient       supposed          146:21         text 161:12,
            stayed 16:24       30:7 76:12      53:1             155:17           16
                               93:8 133:1     surfaced          177:9
            steer 98:18                                                        theft 44:10
                               137:5           24:13          talking 44:2       52:4,11
            stems              138:23                           51:8 52:3
              117:19                          surrounding                        54:3,18 56:5
                               139:3           122:24           77:2 79:7,14     58:6 62:14,
            step 30:21       sufficiently                       82:18 83:18      15 63:2,7
              58:3 120:19,                    suspect           87:10,16
                               141:6           132:7                             90:7,8
              21,22 138:9                                       139:11           140:15
                             suggesting       suspension        164:1
            Stephanie          143:13                                          thereabouts
              47:21 48:19                      33:23          taught 22:2
                             suggestions                                         16:14
              53:3                            suspicion       team 22:2
                               126:18          51:22                           thing 13:16
            stepping                                            44:6             30:13 35:20
              25:4           sum 128:1        sustain 45:2    technical          51:18 65:14
            steps 29:7,      summaries         67:24            115:14           68:12 69:24
              10,12,15,20      124:11          108:20                            71:6,7 73:11
                               166:3           117:13         telling 65:5,      76:16 82:11
              30:22 31:4,6                                      7,11,12
              119:23         summary           132:18                            96:2 112:17
                                               133:2 138:9      66:24 70:3       142:18
            stop 51:2          121:1,19                         115:7
                               122:3,10,17    sustained                          166:15
                                                                127:17           167:11,13
            stopping           127:2           26:7 44:18,      128:16
              97:17            128:11          22 45:1,9,19     131:12         things 7:18
            Stormy 43:1        138:14          46:2,6 68:2      176:23           31:20 34:18
                               139:5,7         69:3 84:14                        35:2,3 52:9
            straight           144:3,20        86:9 93:1,10   ten 97:11          73:23 75:7
              41:15 122:6      145:14          103:3          tend 9:21          80:11,18
            strategic          146:8 154:9     112:18           21:9 141:7       83:1,4
              142:14           166:18          116:14                            87:17,18
                               167:18          118:8 120:7    tentacles
            streamline                                          61:19 80:19      118:12
                               168:6           126:6                             122:15
              127:8            170:12          128:23         term 26:13         123:21
            streamlined      Super 57:6        129:17,19        27:14 140:8      124:15
              143:22                           134:24         terminate          132:7
                             supervise         135:13                            133:22
            street 37:8        42:19 44:9                       90:14 141:8,
              66:14                            137:9,18         17               140:14
                               45:21 46:15     139:23                            141:15
            strength           49:13 50:17     140:4 162:1    terminated         142:16
              71:3           supervised        171:17,21        44:10 46:4       147:16,24
            strictly 99:22     47:22 49:20     172:12,15        141:9            149:24
              109:24           50:13 57:4                       162:14           151:18
                                              sustaining
              165:7                            144:16         termination        160:10
                             supervises                                          162:17
            strong 141:7       74:3                             33:23 45:16
                                              sustains          65:24 67:13,     167:13,15
            strongest        supervising       108:20           18,22 68:9       169:22
              131:5 142:6      48:8 85:11     SWAT 41:16        69:6 70:20     thinking
            stuff 30:17      supervision      switch 14:7       90:9 92:18       65:13 81:20
              52:12 54:24      46:23                            93:3,4,5
                                              sworn 5:2         141:7,8        thinks 167:2,
              79:12 110:3    supervisor                                          4
              143:17           33:2 42:17                     terms 14:2
              161:24                            T               35:2 61:9      third-party
                               43:8,17,21                                        88:5 151:12
              162:2            64:17                            63:14 75:3,5
              164:17                          table 93:5        87:3,11,16     Thomas 5:1,
              168:16         supervisor/                        129:11           8
              169:3 172:8    subordinate      tabs 96:24        137:7
                               46:14                            139:21         thought
            subdivision                       tacitly
                                                                140:21           76:16 83:10
              57:19 91:17    supervisory        168:12
                                                                141:23           84:5 122:4
              174:18           48:10 49:9     takes 27:10
                               73:9,13 76:7                     150:14         Thoughtful
            subdivisions                        169:7
                               84:8 115:20                    Terry 107:20,      75:20
              16:22                             175:16
                             supplementa                        21 111:2       thousand
            subject                           taking 87:3,
                             ry 128:9                           112:1            63:17 121:8
              73:17 114:6                       13,23 94:14
                                                              testified          134:17
              118:22         support            95:4,16
                               85:22 86:10      158:5           162:16         threat 59:18
            subjects           128:10                                            79:22 82:2
              14:7                            talk 20:5       testifies 5:2
                                                                                 85:13 86:15
                             supported          61:2 66:20    testify 8:10,
            substantial                                                          87:18 90:2
                               113:20           84:24           14
              26:18 81:1                                                         94:24 99:13,
                               132:22           136:19
                                                                                 20,21 100:8,
                                                161:9 171:5


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 198 of 199 PAGEID #: 1674




              14,21            116:1 117:3,   transcripts     unbecoming       update 63:22
              135:12           19,22 124:3      128:10         120:11,18        74:18
              136:6 137:2,     128:5,7,12     transferred      127:21           126:11
              4,10,22          134:21           55:14,21       175:23           129:8
              139:14           140:17           82:15         unclip           updated
              140:1 142:2      142:17                          154:13           64:11
              143:16           145:3,12,16,   transition
              152:18           17,21 146:5      57:2          understand       updates 63:9
              153:18           148:15,20      treat 26:11      7:7,9,10,16,     98:1
              157:15           150:9            87:19          19,24 9:17      upheld
              158:8            152:13           122:22         13:12 18:7       135:15
              159:21           153:1,8          130:10         27:20 38:8
                               154:4,23                        43:15 52:10     uphold 59:21
            threaten                          treated 26:21    59:16 75:14
              136:23           157:4,10
                               165:6,9          30:18          77:10 79:9,
              137:6 138:5                                                         V
                               167:12         treatment        11 119:6
              139:12                                           120:24
              140:8            172:10,18        140:18,19
                                                               132:24          vacancy
              149:13           174:19,20        160:23
                                                               153:5             107:8
                               177:15
            threatened                        trouble          157:19,22       vacate 162:4
              98:21 100:1    timeframes         132:7 166:8    164:23
                               161:9                                           vaguely
              138:2,6,12                      true 68:5,20    understandin       100:10
              139:13,15      timeline           119:8         g 16:15
              141:21           85:19            120:14                         validation
                                                               22:24 25:5
              151:22                            127:18                           138:15
                             times 5:17                        26:9 55:1
              168:9            6:13 33:2                       73:20           Vardaro 5:5,
                                              truth 88:10
            threatening        39:24 64:3                      119:20            13 97:16
              84:21 90:22      80:15 120:9    truthful         130:1 164:6       123:12
              99:1 139:19      129:24           48:21 119:2    169:24            163:20
              140:20           141:14           120:9                            168:1
                                                158:23        understood
              144:21,23        169:1,20                                          177:17
                                                               7:14 117:8
              148:23         timetable        truthfully                       verbal 124:7
              152:12                            67:16         unfold 88:18
                               81:20                                           Verbally
              153:9,15                        turn 104:4      unfounded
              157:14         timing 80:24                                        129:7
                                                144:16         45:9
              161:13           150:2 171:8                                     verbatim
                                                154:9         unheard
            threats 85:2,    title 15:24        157:17                           121:17
                                                               63:16
              9 87:16,17                                                         128:3,9
                             today 7:6        turned 44:11    unintelligible
              137:14           8:11,15 10:7     67:12                          versa 36:16
              161:21                                           120:13
                               44:2 52:8        156:12                         version
            thrown 167:6       61:4 62:10                     union 146:15
                                              turning 45:8                       144:3
                               97:15 136:1                    unique 110:9
            tighten 54:5       177:12         turns 67:17                      versus 72:9
                                                               115:6
            time 5:19                                                            80:10 97:11
                             told 7:15        Ty 40:19        unit 11:8          127:21
              6:12 8:1 9:2     66:2 67:4,12
              10:12 13:24                     type 31:9       unity 56:14        130:2 133:5
                               68:11,22         32:8 63:22
              14:2 15:16       92:11 94:2                                      vice 36:16
              16:22 17:1,                       132:22        University
                               102:10                          14:17 15:1        39:9,15 43:3
              16 19:21                          134:8
                               127:14           146:14                         video 9:12
              20:2 24:8,       151:7,10                       unjust 169:4
              13,15,23,24                       175:18                         view 93:8
                               156:16                         unopened
              32:1 33:4,8      158:2,23       typical          118:15          violate 25:20
              37:9,11          174:20           63:13,16
                                                              unrelated          26:2 28:2
              39:7,12
              40:23 43:23,   top 60:14        typically        78:2 90:18      violated 30:8
              24 44:11         69:14            26:20 28:19
                                                29:12 70:9    untrue           violates
              45:23 49:23,     154:11                          118:20
                                                72:2 76:9                        25:18 26:1
              24 50:1        totality 65:1                                       27:23
              51:10 52:4,                       98:15 102:7   untruthful
              11 53:23       Totally 66:15      117:18         65:16 70:2      violation
              54:3,6,15,     touches          typing 27:5      114:5 118:3       25:16 26:20
              18,19,24         21:15                          untruthfulne       27:4 28:1
              55:14,17                                        ss 67:14,22        92:24 93:1
              56:1,23 57:1   trained            U                                108:18
                               152:23                          68:1,11,23
              58:23 60:20                                      69:2 74:20        113:19
              62:15 63:2,7   training         ultimately       114:12            132:11
              64:4 65:9        17:12,13        44:10,12        115:5 117:6       133:3,4
              66:13 72:18,     20:6,10,14,     49:14 58:17,    127:19,21         163:7
              19 74:23         24 21:3,5,      22 118:12       143:14            171:22
              77:1 78:14       12,14,17,19,    127:20          144:4,11          173:1,11
              80:4 81:1,5,     23 22:11,14     141:18          175:23          violations
              23 91:7 93:4     25:5 33:8      unacceptable                       25:14 26:11
              95:22 96:1                                      unwise
                             transcript        175:18          123:19            92:24
              97:12,22         121:18,23                                         175:24
              102:19                          unassigned      unwritten
                               136:15          49:18                           violence
              115:15           165:14                          67:20
                                                                                 81:7 137:6



             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
Case: 2:18-cv-00483-JLG-CMV Doc #: 15-11 Filed: 08/15/19 Page: 199 of 199 PAGEID #: 1675




            virtually       Whitney          48:17 53:6
              35:24 36:6     50:15           56:9 58:10       Z
              59:10 65:18    136:18          74:15 80:6
              146:23        whoever's        81:6,22        zone 39:5,8
                             84:5            90:16           176:9
                                             108:22
              W             wide-ranging     130:23
                             123:17          135:1 164:4
            wait 88:9                        171:23
                            Williams
             96:19                           172:5,15,19,
                             47:16 53:2
            waived           83:8 99:6       23 176:2
             177:21          135:12         worked 32:2
            walk 31:17       136:6 138:3,    81:22 170:1
                             6,13 144:22
            walked 22:17     153:17         workflow
                             161:23          72:8
            walking
             145:6           168:21         working 81:4
                             171:16          82:12,16,19
            wanted                           90:12
             45:15          Wilson 47:6,
             111:14          7 136:17       workplace
             112:19          165:2           29:24 81:7,8
             121:20          166:20         works 23:20
             131:5           167:10,14       59:15 70:9
             148:14          168:19          74:17
             149:5           169:5,17
             151:13                         workstation
                            Wilson's         74:5,9
             159:10          166:23
             167:12          167:19         worry 177:1
            wanting          168:6          worth 35:2,
             90:14          windup           19
             141:15          106:23         worthy 86:23
             166:7 176:3
                            wipe 168:8       89:17
            warrant          169:2,21       write 151:23
             69:23
                            withdraw         152:3,7
            watch 82:4       114:19         writing 52:19
            water 96:21     withholding      147:12
             118:14,15       132:11         written 67:20
            Watkins 47:3    witnesses        103:8 109:3,
             53:1,2          31:19 53:16     5,6 138:14
             136:5,10,11,    63:11           143:21
             17 165:3                        144:12
             170:10         Woods 56:22      151:22
                             57:4,7,8,9,
            weapon           20,22 58:1     wrong 7:22
             73:23 145:9     107:24          11:2 12:7
             153:16          108:8           166:15
             157:18          110:24          172:13
            weapons          112:4,7        wrongdoing
             154:1           159:17,18       76:8 92:2
                             160:8,17
            week 9:1                        wrote 10:15,
                            word 85:4        18 122:3
            weekly 93:18     89:6 99:17
            weeks 79:5       115:10
             81:2            124:18           X
                             131:14
            weigh
                             133:17         XXI 105:13
             159:24
                             156:18
            Weiner           158:5 167:6
             125:16,17       170:16           Y
            welcomed         171:3
                                            year 21:8,10,
             174:17         worded           15
            Wes 24:9,11      139:6
                                            years 7:19
             46:7,8,22      wording          19:16,18
             53:4 54:8       98:24           40:24 41:17
             80:19
                            words 65:17      51:23 54:16
             103:14
                             85:15           80:4,16 81:2
             132:5 164:8,
                             131:13          127:10
             23 167:1,3
                            work 6:2,15      131:9
            whatsoever                       132:10,14
                             9:9 30:16
             162:18                          142:2,20
                             31:12 32:8,
            white 165:9      22 36:20,21,    172:11
             176:23          22 37:4,5
                             40:3 41:2,8


             Realtime - Videoconferencing - Trial Presentation - Video
                       Spectrum Reporting LLC | 614-444-1000
